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Tarani-Alike: Johnson: 4 2 _
in care of: 2285 Bryn Mawr Avenue ww AN

Philadelphia, Pennsylvania
[215-778-1405]

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

:Tarani-Alike: Johnson: a living woman ) Case No,

)

TARANI A. JOHNSON, also known as ) APPLICATION FOR ENTRY OF

Tarani Alike Johnson™ ©, ) DEFAULT AGAINST DEFENDANT
)
) CHARLES W. SCHARF

) PURSUANT TO RULE 55(a) OF THE
) FEDERAL RULES OF CIVIL

TARANI ALIKE JOHNSON ESTATE LIVING PROCEDURE

Federal Trademark Serial Number 97615937

(Previous Trademark # 88859594)

TRUST Plaintiffs,
VS.
CHARLES W. SCHARF

Defendants.

Nee Nee Ne ee ee ee ee ee ee a ee ee ee

To the Clerk of the United States District Court for the Eastern District of Pennsylvania:

Plaintiffs, :Tarani-Alike: Johnson: a living woman TARANI A. JOHNSON, also known as
Tarani Alike Johnson™ ©, Federal Trademark Serial Number 97615937 (Previous Trademark #
88859594) and TARANI ALIKE JOHNSON ESTATE LIVING TRUST hereby requests pursuant
to Rule 55(a) of the Federal Rules of Civil Procedure that the Clerk enter the default of the following
Defendant CHARLES W. SCHARF for failure to plead or otherwise defend against this action in a

timely manner.

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Defendant CHARLES W. SCHARF:

(1) As shown by the proof of service previously filed with this Court, the above-named
Defendant was served pursuant to Rule 4 of the Federal Rules of Civil Procedure on October 6, 2020.

(2) The applicable time limit for the above-named Defendant to appear or otherwise respond
to this action under Rule 12 Federal Rules of Civil Procedure expired on October 26, 2020.

The above-named Defendant have failed to plead or otherwise respond to the complaint.

This request is based on the attached Declaration of Plaintiffs :Tarani-Alike: Johnson: a
living woman TARANI A. JOHNSON, also known as Tarani Alike Johnson™ ©, Federal
Trademark Serial Number 97615937 (Previous Trademark # 88859594) and TARANI ALIKE

JOHNSON ESTATE LIVING TRUST

‘JoHnson,/Tarani-Alike:, on behalf of
TARANI A. JOHNSON and
TARANI ALIKE JOHNSON ESTATE LIVING
TRUST.

All rights reserved without Prejudice.

No Recourse.

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Tarani-Alike: Johnson:

in care of: 2285 Bryn Mawr Avenue
Philadelphia, Pennsylvania
[215-778-1405]

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

:Tarani-Alike: Johnson: a living woman Case No.
TARANTI A. JOHNSON, also known as DECLARATION IN SUPPORT
Tarani Alike Johnson™ ©, OF PLAINTIFFS’ APPLICATION
FOR ENTRY OF DEFAULT
Federal Trademark Serial Number 97615937 AGAINST DEFENDANT

CHARLES W. SCHARF,

PURSUANT TO RULE 55(a) OF
THE FEDERAL RULES OF
CIVIL PROCEDURE

(Previous Trademark # 88859594)

TARANI ALIKE JOHNSON ESTATE LIVING
TRUST Plaintiffs,

VS,

CHARLES W. SCHARF,

Defendants.

Nome Nee Nee Nee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee ee es ee

DECLARATION OF PLAINTIFF :Tarani-Alike: Johnson: a living woman TARANI A.
JOHNSON, also known as Tarani Alike Johnson™ ©, Federal Trademark Serial Number
97615937 (Previous Trademark # 88859594) and TARANI ALIKE JOHNSON ESTATE LIVING
TRUST

I, :Tarani-Alike: Johnson:, a Plaintiff, and on behalf of All Plaintiffs, declare as follows:

1. I am :Tarani-Alike: Johnson, a Plaintiff in this action and authorized representative

and Trustee for all other Plaintiffs in this action. I am over the age of 18 years. I have personal

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knowledge of the facts contained in this declaration, and if called as a witness could and would testify
competently to the facts as stated herein.

2. Defendant, CHARLES W,. SCHARE, its agents, successors, and assigns were served
pursuant to Rule 4 of the Federal Rules of Civil Procedure on October 26, 2020, as shown by the
proof of service filed with the court on October 26, 2023, a true and correct copy of which is attached
hereto as Evidence Attachment “A” and incorporated herein by reference.

3. Under Rule 12 of the Federal Rules of Civil Procedure, Defendant, CHARLES W.
SCHARF, was required to plead or otherwise respond to the complaint by October 26, 2020. The
time to plead or otherwise respond to the complaint has not been extended by any agreement of the
parties or any order of the Court.

4. Defendant, CHARLES W. SCHARF, its agents, successors, and assigns has failed to
serve or file a pleading or otherwise respond to the complaint. The applicable time limit for
responding to the complaint has expired.

5, Defendant, CHARLES W. SCHARF, its agents, successors, and assigns are not
minors or incompetent persons.

6. Defendant, CHARLES W. SCHARF, its agents, successors, and assigns are not
currently in the military service, and therefore the Servicemembers Civil Relief Act is not applicable.

I declare under penalty of perjury under the laws of the Commonwealth of Pennsylvania and
the United States of America that the foregoing is true and correct and that this declaration is

executed on October 26, 2023, at Philadelphia, Pennsylvania.

oxy yprCRon, taco, = al (IAG .
‘Johnson, ‘Tarani-Alike:, on behalf of

TARANI A. JOHNSON and

TARANI ALIKE JOHNSON ESTATE LIVING
TRUST.

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recip OCT 26 2028
PROOF OF SERVICE

netny OCT 24 2023

I am over the age of 18 and not a party to this action.
I am domiciled and employed in the county where the mailing occurred; I am located at the
following location: in care of: 2285 Bryn Mawr Avenue

Philadelphia, Pennsylvania

On October 26, 2023 I served the foregoing document(s) described as: APPLICATION
FOR ENTRY OF DEFAULT AGAINST DEFENDANTS CHARLES W. SCHARF,
PURSUANT TO RULE 55(a) OF THE FEDERAL RULES OF CIVIL PROCEDURE;
DECLARATION OF PLAINTIFFS’ IN SUPPORT OF APPLICATION FOR ENTRY OF
DEFAULT AGAINST DEFENDANT CHARLES W. SCHARF PURSUANT TO RULE 55(a)

OF THE FEDERAL RULES OF CIVIL PROCEDURE; EXHIBITS

CHARLES W. SCHARF

420 Montgomery Street, San Francisco, California 94104

[X] (By U.S. Mail) I deposited such envelope in the mail at the United States Postal
Office with postage thereon fully prepaid. I am aware that on motion of the party
served, service is presumed invalid if postal cancellation date or postage meter date is

more than one day after date of deposit for mailing in affidavit.

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I declare under penalty of perjury under the laws of the Commonwealth of Pennsylvania and

the United States of America that the foregoing is true and correct.

DATED: _{o /d¢ laoas Reis Meta, Re ea ili

‘Johnson, :Tarani-Alike:, on behalf of

TARANI A. JOHNSON and

TARANI ALIKE JOHNSON ESTATE LIVING
TRUST.

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CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE
Notice to Agent is Notice to Principal ,
Notice to Principal is Notice to Agent

Claimant

:Tarani-Alike: Johnson:, a living woman; American Freewoman

Private Citizen of the United States of America; American National

Authorized Agent, and Sole Beneficiary of the trust known as

TARANI A. JOHNSON also known as ka 2073
* Tarani Alike Johnson ™! ©, Federal Trademark # 88859594 ” é
also known as: - RECD act 2G
TARANI ALIKE J OHNSON, A PRIVATE TRUST

and Tarani Alike Johnson Estate Living Trust (eTAJI56US)

in care of: = :Tatani-Alike: Johnson:

2285 Bryn Mawr Avenue ‘ REC'D OCT 2 6 2023

Philadelphia [19131] Pennsylvania
Private Case Number: RE 327 506 200 US
September 29, 2020 : '

Respondents: .

i
Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and ’

Harry 8. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 8 Neshaminy Iinterplex, Suite 215, Feasterville Trevose, Pennsylvania
(19053); and :

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville -
Trevose, Pennsylvania {19053}; and .

Sarah E. Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053); and

William M.E. Powers, IEF, Acting as WILLIAM M.E, POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Edward W. Kirn, 1, Acting as EDWARD W. KIRN, I ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and :

Sarah K. McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In oare of 8 Neshaminy Interpiex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and .

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Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule
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Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents; Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Matthew James Mcdonuell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In caro'of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
(08057]; and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In cate of 728 Mame Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successoys, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and -

Edward Kirn, Acting as EDWARD KIRN'ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W, Kirn, II, Acting as EDWARD W. KIRN, I] ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and

Frances M Kel ly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057}; and

Jeanette Jacqueline O’Donnell, Acting as JEANETTE JACQUELINE O°DONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and ,

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, Jn care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and

Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

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William M.E. Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

William M.E. Powers, Jv., Acting as WILLIAM M.E. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care ‘of 728 Mare Highway Moorestown,
New Jersey [08057]; and

William MLE. Powers, Il, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Peansylvania [19103];
and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent. for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Catherine T. Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20°" Floor, Philadelphia, Pennsylvania
[19103]; and

Herbert Bass, Acting as HERBERT BASS ATTORNRY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

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Ryant T. Becker, Acting as RYAN T. BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street! 20" Floor, Philadelphia, Pennsylvania
[19103]; and ‘

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsy!vania
{19103]; and

Michael S. Bookbinder, Acting as MICHAEL S. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and .

Maura L. Burke, Acting as MAURA L. BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylyania [19103]; and .

Jacqueline M. Carolan, Acting as FACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and-Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B. Chovanes, Acting as MARTHA B, CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M, Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Iau M. Comisky, Acting as TAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

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Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SIANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

E. Gerald Donnelly, Jv., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Patrick J. Egan, Acting as PATRICK J, EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and :

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Andrew S. Esler, Acting as ANDREW S, ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and .

Tristram R. Fall, TH, Acting as TRISTRAM R. FALL, If ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L. Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103};
and .

Barbara R. Flacker, Acting as BARBARA R, FLACKER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A..and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNBY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jobn Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS .
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and .

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David M. Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, NA,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street’ 20" Floor, Philadelphia, Pennsylvania
[19103)}; and :

John L. Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

_ Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In caro of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Johns J, Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103};
and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gary A. Hecht, Acting as GARY A, HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kelley B, Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

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Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
_ and -

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, -
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BAN K,N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor, Philadelphia, Pennsylvania
[19103]; and .

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B. Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and -

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103); and. ,

Michael J. Leonard, Acting as MICHAEL J, LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Jane E, Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania [19103];
and

. Bylan J. Levin, Acting as BRIAN J, LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
. Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103);
and

Matthew A. Levitsky, Acting as MATTHEW A, LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Sidney S. Liebesman, Acting as SIDNEY S, LIEBESMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and .

James A. Matthews Ill, Acting as JAMES A. MATTHEWS [Il ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Phi ladelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Lauren P, McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Tan D. Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minfeer, Acting as SARAH K, MINTEER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 40" Floor, Philadelphia, Pennsylvania
(19103); and

Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Carrie B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ramon R, Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and :

Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and ,

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor,
Philadelphia, Pennsylvania [19103]; and .

Brian J. O’Neiil, Acting as BRIAN J. O'NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Strest, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20"" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F, Posillico, Acting as JOSEPH F, POSELLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

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Erte E, Reed, Acting as ERIC E, REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Abraham C. Reich, Acting as ABRAHAM C, REICH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 ‘Floor, Philadelphia, Pennsylvania
[19103]; and

’ Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Pootzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Bradley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michelle S. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

’ Kevin B, Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or .
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Mark L. Sllow, Acting as MARK L, SLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

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Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David B. Snyder, Acting as DAVID B. SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 40" Floor, Philadelphia, Pennsylvania
[19103]; and

David S, Sokotow, Acting as DAVID 8. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A, .
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Shelly A. Solomon, Acting as SHELLY A, SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In. care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and .

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Robert S. Tintner, Acting as ROBERT §. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and :

Peter J. Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and .

Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and :

Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Beth L. Weisser, Acting as BETH L, WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and '

Gregory B. Willlams, Acting as GREGORY B, WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L, Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20"" Floor, Philadelphia, Pennsylvania
(19103); and .

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20"" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 999
Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 321
North Clark Street, Suite 1600, Chicago, Ilinois [60654]; and .

_ ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2501
North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1225
17" Street, Suite 2200, Denver, Colorado [80202]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 747
Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 230
North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [3313 1); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101
Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of BNY
Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 434
Fayetteville Street, Suite 2800, Raleigh, North Carolina (27601); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1001
Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 8300
Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700
Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1030
15" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 777
South 1700 West Tower, West Palm Beach, Florida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 919
North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

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“Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

John R. Shrewsberry, Acting as JOHN R, SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S. Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION and
OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or-Agents, Successors, and/or Assigns, In Care
of 420 Montgomery Street, San Francisco, California [94104]: and

David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Mary T. Mack, Acting as MARY T, MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Amanda G, Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Cate of 420 Montgomery Street, San
Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J, OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104];and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E, POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104}; and

Julie L. Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN, SENIOR
EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

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“Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Michael S. Weinbach, Acting as MICHAEL 8. WEINBACH, SENIOR EVP, CEO OF CONSUMER LENDING,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE & INVESTMENT
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, Califomia [94104]; and

EQUIFAX CORPORATION; AND

EXPERIAN CORPORATION; AND

TRANSUNION CORPORATION; AND

JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

Claimant Hereby Gives The Following Trust Directive Regarding The Delivery Of This Said Notice:

Harry Burnett Reese, and/or Agents, Assigns, and/or Successors, are charged with delivering a true copy to ALL
RESPONDENTs of POWERS KIRN & ASSOCIATES LLC; and

Prince Altee Thomas, and/or Agents, Assigns, and/or Successors are charged with delivering a true copy to ALL
RESPONDENTS FOX ROTHCHILD, LLP ATTORNEYS AT LAW; and

Charles W. Scharf, and/or Agents, Assigns, and/or Successors are charged with delivering a truce copy to ALL
RESPONDENTS of WELLS FARGO BANK, N.A.

Re: WORLD SAVINGS BANK, FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC
33, also known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”), also known as
WACHOVIA BANK, N.A,, also known as WACHOVIA MORTGAGE, also known as WACHOVIA
MORTGAGE CORPORATION, Mortgage Number 4831607, also known as WELLS FARGO BANK, N.A,, also
known as WELLS FARGO MORTGAGE, also known as Civil Action Case No. 100401188 [2010] COURT OF
COMMON PLEASE PHILADELPHIA COUNTY COMMONWEALTH OF PENNSYLVANIA, also known as
Chapter 13 BANKRUPTCY Case No. 12-20451-MDC [2012] UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA, also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC
[2013] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as
Chapter 13 BANKRUPTCY Case No. 18-17342-MDC [2018] UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA, also known as Appeal Case No. 19 CV 3620 UNITED STATES
DISTRICT COURT FOR THE EASTERN OF PENNSYLVANIA in the amount of Eight Hundred Sixteen
Thousand Eight Hundred Ninety-Seven DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Three
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

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*TO: Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and Harry B. Reese, Acting as HARRY B. REESE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns; and Jill
Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and Sarah E. Powers, Acting as SARAH E. POWERS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and
William M.E. Powers, DJ, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and Edward W. Kirn, IU, Acting as EDWARD W.
KIRN, 11 ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns;
and Sarah K. McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and Jolanta M. Peltalska, Acting as JOLANTA M.
PEKALSKA ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; and Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and ALL AGENTS for
POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or Agents Successors, and/or
Assigns; and Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Harry B. Reese, Acting as HARRY B.
REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns;
and Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and.
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Edward W. Kirn, IIT,
Acting as EDWARD W. KIRN, Il] ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns; and Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Jeanette Jacqueline O’Donnell,
Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns; and Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and
Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Sarah Ellis Powers, Acting as SARAH
ELLIS POWERS ATTORNBY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; and Sarah Powers, Acting as SARAH POWERS ATTORNBY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and William Me Shah, Acting as WILLIAM ME SHAH
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and
Willlam M.E. Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and William M.E, Powers, Jr., Acting as WILLIAM
M.E. POWERS, JR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns: and William M.E. Powers, Ill, Acting as WILLIAM M.E, POWERS ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and William Powers, Acting as
WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey,
and/or Agents Successors, and/or Assigns; and Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS

’ ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, and
Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Jerald David August, Acting as JERALD DAVID AUGUST
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Catherine T. Barbieri,
Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or-Assigns; and Michael J. Bassett, Acting as
MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Ryant T. Becker, Acting as RYAN T. BECKER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

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“Brian A, Berkloy, Acting as BRIAN A, BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael S.
Bookbinder, Acting as MICHAEL S. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Nathan M. Buchter, Acting as NATHAN M. BUCHTER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Maura L. Burke, Acting as MAURA L. BURKE ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Kristina Neff
Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agetits, Successors, and/or Assigns; and Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and.
Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Martha B, Choyanes, Acting as MARTHA B. CHOVANES
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Ian M. Comisky, Acting
as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Andrew S, Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Slana Danch, Acting as SSANA DANCH
t Oontd pe and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns; and David A. Doty, Acting as DAVID A. DOTY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael Eidel, Acting as
MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Tristram R, Fall, Di, Acting as TRISTRAM R.
FALL, UI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns,;
and Craig L. Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Barbara R. Flacker, Acting as BARBARA R. FLACKER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Howard R. Flaxman, Acting as HOWARD R, FLAXMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and John Cornell Fuller, Acting as JOHN CORNELL FULLER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and David M. Giles, Acting as DAVID M.
GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and John L. Grossman, Acting as JOHN L, GROSSMAN
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Debra L. Gruenstein, Acting as DEBRA L, GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Robert W. Gundlach Jr., Acting as ROBERT W,
GUNDLACH JR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Johns J. Haggerty, Acting as JOHN J, HAGGERTY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jesse M. Harrls, Acting as JESSE M. HARRIS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Gerald M. Hatfield, Acting as GERALD M. HATFIELD
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns; and Gary A. Hecht, Acting as GARY A. HECHT ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Gabriel B. Herman,

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“Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Phillp L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent
for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Kelley B, Hodgé, Acting as
KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Nathan Huddel, Acting as NATHAN HUDDELL
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Edward J. Kabala, Acting as EDWARD J. KABALA
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jessica Labella Kitain, Acting as
JESSICA LABELLA KITATIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent
for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael J. Kornacki, Acting as
MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Lisa B, Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Holly Lentz
Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Michael J. Leonard, Acting as MICHAEL J. LEONARD
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns; and Jane E, Lessner, Acting as JANE E. LESSNER ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Steven K. Ludwig, Acting as STEVEN K. LUDWIG
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jason C, Manfrey, Acting as JASON C. MANFREY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns; and
Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and James 4. Matthews D0, Acting as JAMES A. MATTHEWS II
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Mark G. McCreary, Acting as MARK. G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Brian McGinnis, Acting as BRIAN MCGINNIS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Lauren P. McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Ian D, Meklinsky, Acting as IAN D. MEKLINSKY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns; and
Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Ryan North Miller, Acting as RYAN NORTH
MILLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns;
and Sarah K. Minteer, Acting as SARAH K, MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Catherine M. Monte, Acting as CATHERINE M. MONTE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Mark
L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Carrie B. Nase-Poust,
Acting as CARRIE B, NASE-POUST ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Ramon R. Obod, Acting as

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“RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Christopher D. Olszyk, Jy., Acting as
CHRISTOPHER D, OLSZYK, JR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Brian J. O’Neill, Acting as BRIAN J. Q’NEILL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Thomas D, Paradise, Acting as
THOMAS D, PARADISE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Joseph F. Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and David S. Rasner, Acting as DAVID S.
RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns;
and Eric E. Reed, Acting as ERIC E, REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Abraham C. Reich, Acting as ABRAHAM C. REICH ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Dan Reitter, Acting as
DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or
Assigns; and Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Kristen Poetzel Ricci, Acting as KRISTEN
POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Bradley S. Rodos, Acting as BRADLEY S. RODOS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Michelle S. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns; and Barnett Satinsky, Acting as BARNETT SATINSKY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns; and Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jacqueline G., Segal,
Acting as JACQUELINE G, SEGAL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successor's, and/or Assigns; and Mark L. Silow, Acting as MARK.
L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns,
and Nevena Simidfiuska, Acting as NEVENA‘SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and David B, Snyder, Acting as DAVID B. SNYDER °
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Shelly A. Solomon, Acting as SHELLY A. SOLOMON
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns; and Trisha B. Stein, Acting as TRISHA B, STEIN ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Paul Straub, Acting
as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Julia Swain, Acting as JULIA SWAIN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael L. Temin,
Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Robert S, Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Craig R. Tractenberg, Acting as
CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Peter J. Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael K. Twersky, Acting as MICHAEL
K. TWERSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Scott L.. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael J, Viscount, Jr., Acting as MICHAEL J.
VISCOUNT, JR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Marviu L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNBY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Beth L. Weisser, Acting as BETH L.
WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns;

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“and Stephen P. Weiss, Acting as STEPHEN P, WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Gregory B. Williams, Acting as GREGORY B. WILLIAMS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns; and
Ronald L, Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Adam R. Young, Acting as ADAM R. YOUNG
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 999
Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
Tn care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422}; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 321
North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2501
North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1225
17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 747
Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 230
North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of .
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101
Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of BNY
Melton Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP. ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 43
Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1001
Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 8300
Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700
Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1030
15" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 777
South 1700 West Tower, West Palm Beach, Florida [33401]; and

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*ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 919
North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and
Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Scott E. Powell, Acting as
SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF OPERATING OFFICE, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and John R. Shrewsberry, Acting as
JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF FINANCIAL OFFICER, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Muneera S, Carr,
Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and William M. Daley, Acting as WILLIAM M.
DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns; and Derek A. Flowers, Acting as DEREK A, FLOWERS, SENIOR EVP,
HEAD OF STRATEGIC EXECUTION and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns: and David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP,
HEAD OF HUMAN RESOURCES, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF. CONSUMER &
SMALL BUSINESS BANKING, and Agent for WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or
Assigns; and Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Lester J. Owens,
Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and Ellen R. Patterson, Acting as ELLEN R. PATTERSON,
SENIOR EVP, GENERAL COUNSEL, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Scott E.
Powell, Acting as SCOTT E, POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for WELLS
FARGO BANK, N.A.,, and/or Agents, Successors, and/or Assigns; and Julie L. Scammahorn, Acting as JULIE L.
SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN, SENIOR EVP, CHIEF AUDITOR, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Barry Sommers, Acting as
BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT MANAGEMENT, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Saul Van Beurden, Acting as
SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for WELLS FARGO BANK,
N.A,, and/or Agents, Successors, and/or Assigns; and Michael S. Weinbach, Acting as MICHAEL S.
WEINBACH, SENIOR EVP, CEO OF CONSUMER LENDING, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns; and Jonathan G, Weiss, Acting as JONATHAN G. WEISS, SENIOR
EVP, CEO OF CORPORATE & INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, ; and ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns; and Jane Doe 1- 50, Acting as JANE DOE 1 —50; and John Doe 1-50, Acting as
JOHN DOE 1 - 50 ; JOINTLY and SEVERALLY, CORPORATELY and PERSONALLY, hereinafter Respondent,
singularly, Respondents, collectively:

:Tarani-Alike: Johnson:, Authorized Agent and Sole Beneficiary of the TARANI ALIKE JOHNSON Trust, a Real
Party in Interest and Plaintiff in this Claim in The Court of Common Pleas Philadelphia Count Commonwealth
of Pennsylvania, hereinafter Claimant is in receipt of Respondent’s Notice of Foreclosure for WORLD SAVINGS
BANK, FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also known as
MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”), also known as WACHOVIA BANK,
N.A,, also known as WACHOVIA MORTGAGE, also known as WACHOVIA MORTGAGE CORPORATION,
Mortgage Number 4831607, also known as WELLS FARGO BANK, N.A., also known as WELLS FARGO
MORTGAGE, also known as Civil Action Case No. 100401188 [2010] COURT OF COMMON PLEAS
PHILADELPHIA COUNTY COMMONWEALTH OF PENNSYLVANIA, also known as Chapter 13
BANKRUPTCY Case No. 12-20451-MDC [2012] UNITED STATES BANKRUPTCY COURT EASTERN
DISTRICT OF PENNSYLVANIA, also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC [2013]
UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as

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“Chapter 13 BANKRUPTCY Case No. 18-17342-MDC [2018] UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA, also known as Appeal Case No. 19 CV 3620 UNITED STATES
DISTRICT COURT FOR THE EASTERN OF PENNSYLVANIA in the amount of Eight Hundred Sixteen
Thousand Eight Hundred Ninety-Seven DOLLARS and Eighty Six CENTS (8 16,897.86). Original Amount of Three
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US), hereinafter Account.

Claimant is accepting Respondent’s Notice of Foreclosure AND Respondent's offer of FORECLOSURE and
SHERIFF SALE upon the condition that Respondents provide the following proof to support Respondent’s claim:

1.

Provide the verified proof and full, whole, and complete accounting, via sworn affidavit, under penalty of
perjury, with full and complete commercial liability, that supports Respondent’s position that a
:real-party-in-interest: among the Respondents who is injured, wronged, harmed, or suffered a loss due
by the Claimant; and

Provide the proof that supports Claimant did NOT place full tender in the amount of One Million
DOLLARS and Zero CENTS ($1,000.000.00US) twice, and an additional full and complete consideration
in the form of 21 Silver DOLLAR Coins of the United States of America Mint, 21 — One DOLLAR Federal
Reserve Notes, 2} DOLLARS in USA Stamps, and 21 USD USPS Postal Money Order as Lawful
Consideration for the purposes of full satisfaction of the claim, all of which was placed into the custody of
the United States Postal Service to settle, setoff, and discharge all claims made by Respondents on or about
April 12, 2018 via Registered Mail Article RE 327463 756 US, on or about April 27, 2018 via Registered
Mail Article RE 475 578 147 US, on September 21, 2020 via Registered Mail Article RE 327 506 160 US
; and

Provide the proof that supports Respondents are NOT subject to the Uniform Commercial Code Article 3
Section 603, Tender of Payment Laws, which states whether Tender is accepted or rejected, there is
discharge of debt; and

Provide the proof that supports Respondent’s position that the instruments of tender are NOT in accordance

‘ with the terms of the contract agreement with Account; and

10.

Provide the proof that supports your position that the Account Holders by contract, are unable to accept
tender from the Claimant and that the Claimant is an unauthorized party under law to settle this alleged
debt; and

Provide the proof that supports Respondent’s position that the instruments of tender are Not Negotiable:
and

Provide the proof that supports Respondent’s position that the instruments of tender do not, in fact, provide
defense of amounts allegedly owed by Claimant; and

Provide the proof that supports Respondent’s position that the instruments of tender do not affect Account
holder’s defense in the dishonor of the presentment of tender; and’

Provide the proof that supports Respondent’s position that the instruments of tender will not eliminate the
claimed alleged debt; and

Provide the proof that supports Respondent’s position that the instruments of tender should continue to
result ina VERDICT of Foreclosure, and foreclosure SHERIFF SALE for an account which has been
settled, setoff and discharged; and

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11.

12.

13

14.

15.

16,

17.

Provide the proof that the instruments of tender are NOT in accordance and compliance with UCC 3-104;
Title IV, Sec 401 (FRA); USC Title 12; USC Title 28, §§1631, 3002; and the Foreign Sovereign Immunity
Act under necessity; and

Provide the proof that the instruments of tender are NOT in fullsaccord with HYR-192 (June 5, 1933),
Public Law 73-10, UCC 3-419, 1-104 and 10-104; and

Provide the proof that pursuant to ‘State and Federal’ TENDER OF PAYMENT statutes; that Respondents
may refuse payment of any property, money, or instrument, while NOT discharging the debt; and

Provide the proof that the Tender Agent has returned the instruments of TENDER and that they are not
holding or withholding instruments valued at One Million DOLLARS and Zero CENTS
($1,000.000.00US) each, or the additional consideration tendered in the form of 21 Silver DOLLAR Coins
of the United States of America Mint, 21 - One DOLLAR Federal Reserve Notes, 21 DOLLARS in USA
Stamps, and 21 USD USPS Postal Money Order; and

Provide the proof that the U.S. Bankruptcy is NOT verified in Senate Report No. 93-549 93" Congress, 1"
Session (1973), “Summary of Emergency Power Statutes,” Executive Orders 6073, 6102, 6111 and by
Executive Order 6260 on March 9, 1933, under the “Trading With The Enemy Act (Sixty-Fifth Congress,
Session I, Chapters 105, 106, October 6, 1917), and as further codified at 12 U.S.C.A, 95(a) and (b) as
amended; and

Provide the proof that the Claimant has not been estopped from using or that he has access to ‘lawful
constitutional money of exchange’ (See U.S. Constitution — Art. I § X) to ‘PAY DEBTS AT LAW’, and
pursuant to HJR-192, can only discharge fines, fees, debts, and judgments ‘dollar for dollar’ via
commercial paper or upon Affiant’s exemption; and

Provide the proof that :Tarani-Alike: Johnson:, a Real Party in Interests, a living woman and Authorized
Agent and Sole Beneficiary of the trust known as TARANI ALIKE JOHNSON Trust is NOT “Holder in

. Due Course” of the Preferred Stock of the federal Corporation (United States - February 21, 1871; 16 Stat

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T. 419); and holds a prior, superior, security interest and claim on the alleged DEBTOR and Debtor’s
property; AND

Provide the proof that Respondent’s provided Claimant oaths of all parties, title, and statutes, written in the
Correct-Sentence-Structure-Parse-Syntax-Grammar-Performance pursuant 18 USC 1001 and 1002, and 18
USC 1341 and 1342 for the voidance of perjury; and

Provide Respondent's evidence that ALL law is based upon :adverb-verb:, descriptive or rhetorical verses
factual, and that Respondents are NOT using deceptive practices for the voidance of perjury, while being
paid is not a violation of 18 USC 1001 and 1002, and 18 USC 1341 and 1342; and

Provide Respondent's evidence that Respondents are NOT using the NOM DE GURERRE names pursuant
to 18 USC 1001 and 1002, and 18 USC 1341 and 1342; and

Provide Party Respondent’s evidence that Respondents are NOT using false advertising, fictitious use of
language, pertaining to Title 18, 1001 Fraud Act by the use of closed brackets and vectors violating the four
corner rules, pursuant to Black’s Law Dictionary 5th ed, Page 591; and

Provide Respondent’s evidence that Respondents are NOT using fraudulent conveyance of language to
force the Claimant to forfeit and abandon Collateral Property known as 2285 Bryn Mawr Avenue
Philadelphia, Pennsylvania [near 19131]; and

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23. Provide Respondent’s evidence with a Justice of the Peace under penalty of perjury that Respondents are

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NOT using Fictitious Conveyance of Language as a device for unjust gain against the Claimant; and

Provide Respondent’s evidence as to what specie Respondents will accept or lawfully require as payment
of the alleged debt known as Account Holder and pursuant to 18 USC § 8 and then 31 USC § 3124 and
Attachment A, Respondents are NOT forcing Claimant to break the law if Respondents are demanding
Federal Reserve Notes: and

Provide Respondent's evidence as to which dictionary or styles manual Respondents are writing from in
their Offers of Obligation, whereby Claimant can easily refer to and understand the referenced Offers of
Obligation; and

Provide Respondent’s evidence that Respondents have a copy-right release from the Post-Master-General
to copy Post-Master-General’s 1“ class-postage stamps and/or 2"4 class-postage stamps and/or metered
stamps; and

Provide Respondent’s evidence that Respondents are NOT using false conveyance of language and
violating The Deceptive Trade Practices Act for ifl-gotten-gain against the Claimant; and

Provide Respondent’s evidence that Respondents are NOT violatIng The Americans With Disabilities Act
and the Antitrust with the Federal Trade Commission and the Fair Debt Collection Practices Act and 18
USC 1001 and 18 USC 1341 and 18 USC 1342 for Respondent's profit without the expressed written
authorization of the Claimant; and

Provide Respondent’s evidence that Respondents provided Claimant an interpreter to the conveyance of
language, Correct-Sentence-Structure-Communication-Parse-Syntax-Grammar, pursuant to the 1964
Discrimination Act; and

Provide Respondent’s evidence of all parties receiving this Constructive Notice of Conditional Acceptance
and Commercial Affidavit and Fee Schedule of Respondent’s full given names using no abbreviations nor

‘ all capitalized names nor fictitious titles; and

Provide Respondent's evidence of Respondent's qualifications and/or official capacities along with letters
of appointments and/or letters of delegation of authorities; and

Provide Respondent’s evidence and proof of Respondent’s mandate or authority and bond and actual state
license and not merely a BAR Union Membership Card as an attorney; and

Provide Respondent’s evidence of Respondent’s Oaths of Office true copies along with the proper
autographs whereby the Respondents are accepting full commercial liability; and

Provide Respondent's evidence of Respondent’s Anti Bribery statement as directed by the Foreign Corrupt
Practices Act ~ Anti-Bribery Provisions, as was required when Respondent’s took their oath, and require
Respondents foreign registration statement which must be on file, as all those who take oaths become
foreign at the time of the oath, per Title 22 USC Code 612; and

Provide Respondent's evidence of the correction of syntax-ed documentation from all parties participating
in Civil Action CASE No. 100401188 In the COURT OF COMMON PLEAS PHILADELPHIA
COUNTY and SUM in the event of a harm by those parties and their sworn evidence that Respondents are
acting within their official capacity, including personal addresses of those parties who are found to be

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acting outside their authority plus their sworn evidence that they are acting within their official capacity;
and

36. Provide Respondent’s evidence by copies of all tax forms for all named Respondents resulting from profits
derived from the securities generated for Account to prevent suspicious activity of unreported tax
liabilities: and

37. Respondents provide evidence that the alleged obligation/claim against Claimant does not constitute a false
and deceptive and misleading representation in connection with the collection of any debt including the
false representation of the character or legal status of any debt and further makes a threat to take any action
that cannot legal be taken a deceptive practice congruent with 15 U.S.C. § 1692 (e); and

38. Respondents provide evidence that any further foreclosure action is vexatious litigation and a waste of
taxpayer dollars; and

39. Respondents provide evidence that any and all named Respondents have a letter of delegation of authority
to attack the trust known as The TARANI ALIKE JOHNSON Trust, which is duly recorded in the public
record; and

40. Respondents provide evidence that incorrect Sentence-Structure-Parse-Syntax-Grammar submitted into
CASE No. 100401188 COURT OF COMMON PLEAS PHILADELPHIA COUNTY by Respondents, also
known as Plaintiffs, and their attorneys, in their complaint is NOT void of perjury and is NOT a valid
claim; and

Respondents have ten (10) days from receipt of this Constructive Notice of Conditional Acceptance and the
enclosed Commercial Affidavit; labeled herein as Private Case No. RE 327 506 200 US; to respond ona _
point-by-point basis, via sworn affidavit, under Respondent’s full commercial liability, signing under penalty of
perjury, that the facts contained therein are.true, correct, complete and not misleading. Mere declarations are an
insufficient response. All responses that are not sentto § :Claimant-and-Affiant:, as required by this
agreement, shall be deemed an insufficient response. Ifan extension of time is needed to properly answer,
please request it in writing. Failure to respond will be deomed agreement with the facts stated in the enclosed
Commercial Affidavit and an inability to prove Respondent’s claim, upon which any liabilities incurred
pursuant the enclosed “Fee Schedule’ regarding any further action in this matter, shall be deemed accepted by
the parties named as Respondents, JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY,
and any agents or assigns thereof, jointly and severally.

Demand

Claimant hereby demands that ALL actions against TARANI A. JOHNSON, also known as TARANI ALIKE
JOHNSON; a Cestui Qui trust, also known as TARANI ALIKE JOHNSON TRUST, also known as Tarani Alike
Johnson Estate Living Trust, and real property of Claimant as described within this Complaint herein, known as
2285 Bryn Mawr Avenue, Philadelphia Pennsylvania, cease and desist until the required proof has been provided
by Respondent. Any further action in this matter, without FIRST, the requirements of Proof of Claim by a ‘Real

Party’ representing the Respondent constitutes Defendant's waiver of any and all immunities from all sources,

Tacit Acquiescence by non-response within Ten (10) days of receipt of this presentment with any contract allegedly-
signed by Claimant’s hand, as required above, shall hereby verify Defendant’s claim of debt as being invalid, and

that Respondent shall owe Claimant One-hundred Thousand DOLLARS and Zero CENTS ($100,000.00US) per
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attempt to collect for presentment to Claimant of claim(s) made in gross negligence; Failure to speak now to present
aclaim upon which relief can be granted within the time specified shall hereby establish agreement to this res
judicata; stare decisis; and permanent estoppel thereby barring any further actions in the matter and establish

judgment against all such false; invalid claims. ’

Failure to establish as required the proofs by contract shall further agree that :Tarani-Alike: Johnson: a living woman
is the heir to a private trust, to which the Private American National is beneficiary, and by no means any Enemy; and
shall never be tried for such claims in any Open Adversarial Public Court; and if any claim is sought by any party,
that it shall be seen through the eye of exclusive-equity to view only that cause that is fair; just; equal; noble; and
righteous, as hereby stipulated by this express intent to create special trust; govern yourselves therefore with peace,

x

and in accord with the highest trust and treaty in the land.

SILENCE IS ACQUIESCENCE - SPEAK NOW OR FOREVER HOLD YOUR PEACE

Failure to respond or responding with other than the demanded verified proof and full, whole and complete

accounting, via sworn affidavit, under Defendant’s full and complete commercial liability, signing under penalty of
perjury, will be documented with an Affidavit of Non-Response and an Affidavit of Non-Performance and
constitutes an agreement between ALL Respondent, Jointly and Severally, Corporately and Personally, and their
Agents, Successors, and/or Assigns, and The Claimant that:

1, ALL Respondent do NOT have a valid claim against Claimant, Defendant, Plaintiff, nor against the
Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131}
therefore having no past, present or future claim against Claimant; and

2, All Respondent consent to a Zero Balance Judgment against Claimant, Defendant, Plaintiff, and a Zero
* Balance Claim against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia,
Pennsylvania [near 19131] therefore having no past, present or future claim against Claimant, leaving
:‘Tarani-Alike: Johnson:, a living woman and Authorized Agent and Sole Beneficiary for TARANI ALIKE
JOHNSON, A PRIVATE TRUST unencumbered, resulting in full and complete settlement, past, present
and future between all parties.; and

3. ALL Respondent grant Claimant specific power of attorney to sign any and all documents deemed
necessary to mark the alleged account to a zero balance, cancel Jien against collateral, re-convey title, and
cancel the trust which holds the alleged mortgage, signed by Claimant on behalf of ALL Respondent.

Ledgering:
The execution of any action without first providing proof and the required rebuttal of the affidavit herein, constitutes
injury and harm and does make ALL Respondent, their Agents, Successors, and/or Assigns thereof, jointly and
severally, corporately and personally liable on a claim that may be liquidated against Defendant’s public hazard
bond, wages, earnings, rents, accounts, property, assets, and income from every source. Any insufficient response
shall incur a liability payable to Claimant upon demand for One-hundred Thousand DOLLARS and Zero CENTS
($100,000.00US) per count. Failure to comply or willfully ignoring this notice by your action(s) does constitute
harm, injury, and infringes upon Claimant’s Rights, The execution of any action thereby causing injury or harm
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without first providing the required proof or response makes you liable for One-hundred Thousand DOLLARS and
Zero CENTS ($100,000.00US) for each provision that was not satisfied including but not limited to each and every
negative credit reporting with Credit Bureaus, including but not limited to EXPERIAN, EQUIFAX, and
TRANSUNION.

WARNING:
Respondent are doing business as a lawyer, law firm, collection agency, and banks in the United States, Respondent’

ignorance of the LAW is not an excuse. Respondent are required to rebut the statements in this affidavit with a ‘Real
Party’ signing in an affidavit format, swearing under penalty of perjury, with full and unlimited commercial liability,

on a point by point basis certified by Affiant’s signature.

This Constructive Notice of Conditional Acceptance constitutes constructive notice to the Respondent. 3

Govern Yourselves Accordingly,

Respectfully submitted September 29, 2020, AD

By: —pehason dea oarn. —al, eg BS

:Tarani-Alike: Johnson:, American ‘Freewoman

Private Civilian of the United States of America’ “American National
Private Civilian of the Commonweaithof Pennsylvania

Special and Private Inhabitant, domicifed ‘in Philade{phie Gaunty
All Rights — Without Prajudtag

Please direct responses to: Bayrsaly Reserving Ai Lows,
:Tarani-Alike: Johnson:, Sole Beneficiary and Authorized Agent for | ereanereas. i
TARANI ALIKE JOHNSON Trust . ag = fo
In care of :Tarani-Alike: Johnson: 2285 Bryn ‘Mawr Avenue, Philadeiphia Pennsylvania btpe 19137] # ptt

S “oa, * ww wy wee
Copies to: mt

The Honorable Governor, Tom Wolf, in care of 225 Main Capitol Building Harrisburg, Penna tia,
and whe

The Honorable Attorney General of Pennsylvania, Josh Shapiro, in care of Strawberry Square, Harrisburg
Pennsylvania 17120; and

The Honorable Governor, Andrew M. Cuomo in care of New York State, State Capito! Building, Albany,
New York 12224; and

The Honorable Attorney General of New York, Letitia James, in care of The Capitol, Albany, New York
12224; and

The Honorable Governor of California, Gavin Newsom, in care of 1303 10" Street, Suite 1173, Sacramento,
California, 95814, Harrisburg Pennsylvania 17120; and

The Honorable Attorney General of California, Xavier Becerra, in care of 1300 “I” Street, Sacramento
California 95814,

Notice to Agent is notice to Principal. Notice to Principal is notice to Agent.

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so COMMERCIAL AFFIDAVIT

The undersigned Affiant, :Tarani-Alike: Johnson: hereinafter “A ffiant,” does solemnly swear, declare and state as
follows:

1 Affiant is competent to state the matters set forth herein, \
2. Affiant has knowledge of the facts stated herein.
3. All the facts herein are true, correct and complete, admissible as evidence and if called upon as a witness,

Affiant will testify to their veracity.
Plain Statement of Facts
1. There is no evidence of verified proof and full, whole, and complete accounting, via sworn affidavit, under

penalty of perjury, with full and complete commercial liability, that supports Defendant's position that a
sreal-party-in-interest: among the Respondent who is injured, wronged, harmed, or suffered a loss due by
the Claimant, and the A ffiant believes no such evidence exists; and

2. There is no evidence that supports Claimant did NOT place full tender in the amount of One Million
DOLLARS and Zero CENTS ($1,000.000.00US) into the custody of the United States Postal Service to
settle, setoff, and discharge all claims made by Respondent on or about April 12, 2018 via Registered Mail
Article RE 327 463.756 US, and on or about April 27, 2018 via Registered Mail Article RE 475 878 147
US, as well as an additional full and complete consideration on September 21, 2020 via Restricted
Registered Mail Article RE 327 506 160 US in the form of 21 Silver DOLLAR Coins of the United States
of America Mint, 21 --One DOLLAR Federal Reserve Notes, 21 DOLLARS in USA Stamps, and 21 USD
USPS Postal Money Order as Lawfu! Consideration for the purposes of full satisfaction of the claim; and
the A ffiant believes no such evidence exists; and

3. There is no evidence that supports Respondent are NOT subject to the Uniform Commercial Code Article 3
Section 603, Tender of Payment Laws, which states whether Tender is accepted or rejected, there is
discharge of debt, and the Affiant believes no such evidence exists; and

4, There is no evidence that supports Defendant's position that the instruments of tender are NOT in
accordance with the terms of the contract agreement with Account, and the Affiant believes no such
* evidence exists; and

5. There is no evidence that supports that the Account Holders by contract, are unable to accept tender from
the Claimant and that the Claimant is an unauthorized party under law to settle this alleged debt, and the
Affiant believes no such evidence exists; and

6. There is no evidence that supports Defendant's position that the instruments of tender are Not Negotiable,
and the Affiant believes no such evidence exists; and

7, There is no evidence that supports Defendant's position that the instruments of tender do not, in fact,
provide defense of amounts allegedly owed by Claimant, and the Affiant believes no such evidence exists;
and ,

8. There is no evidence that supports Defendant’s position that the instruments of tender do not affect
Account holder’s defense in the dishonor of the presentment of tender, and the Affiant believes no such
evidence exists; and

9, There is no evidence that supports Defendants position that the instruments of tender will not eliminate the
claimed alleged debt, and the Affiant believes no such evidence exists; and

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There is no evidence that supports Defendant’s position that the instruments of tender will result in default,
a VERDICT of Foreclosure, and Foreclosure SHERIFF SALE for an account which has been settled, setoff
and discharged, and the Affiant believes no such evidence exists; and

There is no evidence that the instruments of tender are NOT in accordance and compliance with UCC 3-
104; Title IV, Sec 40} (FRA); USC Title 12; USC Title 28, §§1631, 3002; and the Foreign Sovereign
Immunity Act under necessity, and the Affiant believes no such evidence exists; and

There is no evidence that the instruments of tender are NOT in full accord with HIR-192 (June 5, 1933),
Public Law 73-10, UCC 3-419, 1-104 and 10-104, and the Affiant believes no such evidence exists; and

There is no evidence that pursuant to ‘State and Federal’ TENDER OF PAYMENT statutes; that
Respondent may refuse payment of any property, money, or instrument, while NOT discharging the debt,
and the Affiant believes no such evidence exists; and

There is no evidence that the Tender Agent has returned the instruments of TENDER and that they are not
holding or withholding two instruments valued at One Million DOLLARS and Zero CENTS
($1,000,000,00US), and the Affiant believes no such evidence exists; and

There is no evidence that the U.S. Bankruptcy is NOT verified in Senate Report No. 93-549 93" Congress,
1° Session (1973), “Summary of Emergency Power Statutes,” Executive Orders 6073, 6102, 6111 and by
Executive Order 6260 on March 9, 1933, under the “Trading With The Enemy Act (Sixty-Fifth Congress,
Session I, Chapters 105, 106, October 6, 1917), and as further codified at 12 U.S.C.A. 95(a) and (b) as
amended, and the Affiant believes no such evidence exists; and

There is no evidence that the Claimant has not been estopped from using or that he has access to ‘lawful
constitutional money of exchange’ (See U.S. Constitution — Art. I § X) to ‘PAY DEBTS AT LAW’, and
pursuant to HJR-192, can only discharge fines, fees, debts, and judgments ‘dollar for dollar’ via
commercial paper or upon Affiant’s exemption, and the Affiant belioves no such evidence exists; and

There is no evidence that :Tarani-Alike: Johnson:, a Real Party in Interests, a living woman and
Authorized Agent and Sole Beneficiary of the trust known as TARANI ALIKE JOHNSON Trust is NOT
“Holder in Due Course” of the Preferred Stock of the federal Corporation (United States -- February 21,
1871; 16 Stat I. 419): and holds a prior, superior, security interest and claim on the alleged DEBTOR and
Debtor’s property, and the Affiant believes no such evidence exists, AND

There is no evidence that Defendant’s provided Claimant oaths of all parties, title, and statutes, written in
the Correct-Sentence-Structure-Parse-Syntax-Grammar-Porformance pursuant 18 USC 1001 and 1002, and
18 USC 1341 and 1342 for the voidance of perjury, and the Affiant believes no such evidence exists; and

. There is no Defendant's evidence that ALL law is NOT based upon :adverb-verb:, descriptive or rhetorical

verses factual, and that Respondent are NOT using deceptive practices for the voidance of perjury, while
being paid is not a violation of 18 USC 1001 and 1002, and 18 USC 1341 and 1342, and the Affiant
believes no such evidence exists; and

There is no Defendant's evidence that Respondent are NOT using the NOM DE GURERRE names
pursuant to 18 USC 1001 and 1002, and 18 USC 1341 and 1342, and the A ffiant believes no such evidence
exists; and

There is no Defendant’s evidence that Respondent are NOT using false advertising, fictitious use of
language, pertaining to Title 18, 1001 Fraud Act by the use of closed brackets and vectors violating the four

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corner rules, pursuant to Black’s Law Dictionary 5" ed, Page 591, and the A ffiant believes no such
evidence exists; and

There is no Defendant’s evidence that Respondent are NOT using fraudulent conveyance of language to
force the Claimant to forfeit and abandon Collateral Property known as

2285 Bryn Mawr Avenue Philadelphia, Pennsylvania {near 19131], and the Affiant believes no such
evidence exists; and

There ig no Defendant's evidence with a Justice of the Peace under penalty of perjury that Respondent are
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There is no Defendant’s evidence as to what specie Respondent will accept or lawfully require as payment
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Attachment A, Respondent are NOT forcing Claimant to break the law if Respondent are demanding
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There is no Defendant's evidence as to which dictionary or styles manual Respondent are writing from in
their Offers of Obligation, whereby Claimant can easily refer to and understand the referenced Offers of
Obligation, and the Affiant believes no such evidence exists; and

There is no Defendant’s evidence that Respondent have a copy-right release from the Post-Master-General
to copy Post-Master-General’s 1 class-postage stamps and/or 2"! class-postage stamps and/or metered
stamps, and the Affiant believes no such evidence exists; and

There is no Defendant’s evidence that Respondent are NOT using false conveyance of language and
violating The Deceptive Trade Practices Act for ill-gotten-gain against the Claimant, and the Affiant
believes no such evidence exists; and

There is no Defendant’s evidence that Respondent are NOT violating The Americans With Disabilities Act
and the Antitrust with the Federal Trade Commission and the Fair Debt Collection Practices Act and 18
USC 1001 and 18 USC 1341 and 18 USC 1342 for Defendant's profit without the expressed written
authorization of the Claimant, and the A ffiant believes no such evidence exists; and

There is no Defendant’s evidence that Respondent provided Claimant an interpreter to the conveyance of
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Thore is no Defendant’s evidence of all parties receiving this Constructive Notice of Conditional
Acceptance and Commercial Affidavit and Fee Schedule of Defendant’s full given names using no
abbreviations nor all capitalized names nor fictitious titles, and the Affiant believes no such evidence
exists; and

There is no Defendant’s evidence of Defendant’s qualifications and/or official capacities along with letters
of appointments and/or letters of delegation of authorities, and the Affiant believes no such evidence exists;
and

There is no Defendant’s evidence and proof of Defendant’s mandate or authority and bond and actual state
license and not merely a BAR Union Membership Card as an attorney, and the Affiant believes no such
evidence exists; and

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There is no Defendant’s evidence of Defendant’s Oaths of Office true copies along with the proper
autographs whereby the Respondent are accepting full commercial liability, and the Afflant believes no
such evidence exists; and

There is no Defendant's evidence of Defendant’s Anti Bribery statement as directed by the Foreign Corrupt
Practices Act ~ Anti-Bribery Provisions, as was required when Defendant’s took their oath, and require
Respondent foreign registration statement which must be on file, as all those who take oaths become
foreign at the time of the oath, per Title 22 USC Code 612, and the Affiant believes no such evidence
exists; and

There is no Defendant’s evidence of the correction of syntax-ed documentation from all parties
participating in Civil Action 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131] and
SUM in the event of a harm by those parties and their sworn evidence that Respondent are acting within
their official capacity, including personal addresses of those parties who are found to be acting outside their
authority plus their sworn evidence that they are acting within their official capacity, and the Affiant
believes no such evidence exists; and

There is no Defendant’s evidence by copies of all tax forms for all named Respondent resulting from
profits derived from the securities generated for Account to prevent suspicious activity of unreported tax
liabilities, and the Affiant believes no such evidence exists; and

There is no Respondent evidence that the alleged obligation/claim against Claimant does not constitute a

faise and deceptive and misleading representation in connection with the collection of any debt including

the false representation of the character or legal status of any debt and further makes a threat to take any

action that cannot legal be taken a deceptive practice congruent with 15 U.S.C. § 1692 (e), and the Affiant > uy
believes no such evidence exists; and

There is no Respondent evidence that any further foreclosure action is vexatious litigation and a waste of
taxpayer dollars, and the Affiant believes no such evidence exists; and

There is no Respondent evidence that any and all nained Respondent have a letter of delegation of authority
to attack the trust known as The TARANI ALIKE JOHNSON Trust, which is duly recorded in the public
record, and the Affiant believes no such evidence exists; and

There is no Respondent evidence that incorrect Sentence-Structure-Parse-Syntax-Grammar submitted into
2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131] by Respondent, also known as
Plaintiffs, and their attorneys, in their complaint is NOT void of perjury and is NOT a valid claim, and the
Affiant believes no such evidence exists; and

There is no evidence that exists, that in the event a ‘Real Party’ representing the POWER KIRNS and
ASSOCIATES, LLC of Feasterville Trevose, Pennsylvania, their Agents, Successors, and/or Assigns does
not provide Proof of Claim in the above Averments, on a Point by Point Basis, in Affidavit format,
swearing under penalty of perjury, with full and unlimited commercial liability, within 10 days of receipt
by the Respondent, that it will nullify Defendant’s obligation of any liabilities incurred pursuant to the Fee
Schedule regarding any further action in this matter, and the Affiant believes that no such evidence exists;
and

There is no evidence that exists, that in the event a ‘Real Party’ representing the POWER KIRNS and

ASSOCIATES, LLC of Moorestown, New Jersey, their Agents, Successors, and/or Assigns does not

provide Proof of Claim in the above Averments, on a Point by Point Basis, in Affidavit format, swearing

under penalty of perjury, with full and unlimited commercial liability, within 10 days of receipt by the
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‘ Respondent, that it will nullify Defendant’s obligation of any liabilities incurred pursuant to the Fee
Schedule regarding any further action in this matter, and the Affiant believes that no such evidence exists;
and

43. There is no evidence that exists, that in the event a ‘Real Party’ representing the WELLS FARGO BANK,
N.A., their Agents, Successors, aud/or Assigns does not provide Proof of Claim in the above Averments,
on a Point by Point Basis, in Affidavit format, swearing under penalty of perjury, with full and unlimited
commercial liability, within 10 days of receipt by the Respondent, that it will nullify Defendant’s
obligation of any liabilities incurred pursuant to the Fee Schedule regarding any further action in thig,. cite

matter, and the Afftant believes that no such evidence exists; and
on eens ake

IN WITNESS WHEREOF [ hereunto set my hand and seal on this QlA__ day of September, 2020 ail hereby v
certify all the statements made above are true, correct and complete, ‘
[arte

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Sy Ww palhsyaen Posen < oaks Bg # na, a ree JN
‘ “Parani-Alike! Johnson:, Americgn Freewoman’ °
Private Civilian of the United States of America: Amerfgan National
Private Civilian of the Commonwealth of Petfhaylvania ar
Special and Private Inhabitant, domiciled i in Philadelphia Cou

United States of America )

Commonwealth of Pennsylvania ) S. &
Philadeiphia County )

Subscribed and sworn (or affirmed) before me on this \_day of September, 2020.

By: :Tarani-Alike: Johnson:
Personally known to me.

Witness 1 Witness 2

~ ™ MT TR TTS

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~ FEE SCHEDULE

Claimant: :Tarant-Alike: Johnson:, a living woman and Authorized Agent and Sole Beneficiary of the trust
known as TARANI ALIKE JOHNSON, A PRIVATE TRUST In care of TARANI ALIKE JOHNSON Trust
2285 Bryn Mawr Avenue Philadelphia [near 19131] Pennsylvania

Respondents: Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Harry B. Reese, Acting as HARRY B.
REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns;
and Jill Manuel-Coughtin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and Sarah E. Powers, Acting as SARAH E. POWERS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and
William M.E. Powers, II, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and Edward W. Kirn, ITE, Acting as EDWARD W.
KIRN, !Il ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; .
and Sarah K. McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A,, and/or Agents, Successors, and/or Assigns; and Jolanta M. Pekalska, Acting as JOLANTA M.
PEKALSKA ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; and Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and ALL AGENTS for
POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or Agents Successors, and/or
Assigns; and Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Harry B, Reese, Acting as HARRY B.
REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns;
and Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Edward W. Kirn, YI,
Acting as EDWARD W. KIRN, II ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns; and Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Jeanette Jacqueline O'Donnell,
Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A,,
and/or Agents, Successors, and/or Assigns; and Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and
Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Sarah Ellls Powers, Acting as SARAH
ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; and Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and William Me Shah, Acting as WILLIAM ME SHAH
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and
William M.E. Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns; and William MLE. Powers, Jr., Acting as WILLIAM
MLE. POWERS, IR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; and William M.E. Powers, It, Acting as WILLIAM MLE. POWERS ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and William Powers, Acting as
WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and ALL AGENT'S for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey,
and/or Agents Successors, and/or Assigns; and Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, and
Gerald W. Arth, Acting as GERALD BE. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or,
Agents, Successors, and/or Assigns; and Jerald David August, Acting as JERALD DAVID AUGUST
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Catherine T. Barbieri,
Acting as CATHERINE T. BARBIERY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael J. Bassett, Acting as
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MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Ryant T. Becker, Acting as RYAN T. BECKER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Brett A. Berman, Acting 4s BRETT A. BERMAN ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael 8.
Bookbinder, Acting as MICHAEL S. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Nathan M. Buchter, Acting as NATHAN M. BUCHTER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Peter C, Bueldey, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, NLA.
and/or Agents, Successors, and/or Assigns; and Maura L. Burke, Acting as MAURA L. BURKE ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Kristina Neff
Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Martha B, Chovanes, Acting as MARTHA B. CHOVANES
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Tan M, Comisky, Acting
as [AN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Andrew S, Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Siana Danch, Acting as SIANA DANCH
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

E. Gerald Donnelly, Jr., Acting as E, GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and David A. Doty, Acting as DAVID A. DOTY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael Eidel, Acting as
MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Tristram R. Fall, 1H, Acting as TRISTRAM R.
FALL, II ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns,;
and Craig L. Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Barbara R. Flacker, Acting as BARBARA R. FLACKER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and John Cornell Fuller, Acting as JOHN CORNELL FULLER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and David M. Giles, Acting as DAVID M.
GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns; and
Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and John L. Grossman, Acting as JOHN L. GROSSMAN
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Robert W. Gundlach Jr., Acting as ROBERT W.
GUNDLACH JR. ATTORNBY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jesse M. Harris, Acting as JESSE M. HARRIS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

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Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Gerald M. Hatfield, Acting as GERALD M. HATFIELD
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Gary A. Hecht, Acting as GARY A. HECHT ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Gabriet B, Herman,
Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Philip L. Hinerman, Acting as PHILIP L, HINERMAN ATTORNEY, and Agent
for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Kelley B. Hodge, Acting as
KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Joshua Horna, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Nathan Huddel, Acting as NATHAN HUDDELL
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Edward J. Kabala, Acting as EDWARD J. KABALA
ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns; and

Odia Kagan, Acting as ODJA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jessica Labella Kitain, Acting as
JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent
for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael J. Kornacki, Acting as
MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Lisa B. Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Holly Lentz
Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Michael J. Leonard, Acting as MICHAEL J. LEONARD
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns; and Jane E. Lessner, Acting as JANE E. LESSNER ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Sidney S, Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Steven K. Ludwig, Acting as STEVEN K. LUDWIG
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jason C. Manfrey, Acting as JASON C, MANFREY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and James A. Matthews IL, Acting as JAMES A. MATTHEWS III
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Brian McGinnis, Acting as BRIAN MCGINNIS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Lauren P, McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Ian D. Meklinsky, Acting as IAN D. MEKLINSKY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Ryan North Miller, Acting as RYAN NORTH
MILLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns;
and Sarah K, Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Catherine M. Monte, Acting as CATHERINE M. MONTE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Mark

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L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Carrie B. Nase-Poust,
Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Mare E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns’ and Ramon R. Obod, Acting as
RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNBY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Christopher D. Olszyk, Jr., Acting as
CHRISTOPHER D, OLSZYK, JR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Brian J. ONeill, Acting as BRIAN J. O’NEILL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Thomas D. Paradise, Acting as
THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; and Joseph F. Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and David S. Rasner, Acting as DAVID S.
RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns;
and Eric E, Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; and Abraham C, Reich, Acting as ABRAHAM C. REICH ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Dan Reitter, Acting as
DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Kristen Poetzel Ricci, Acting as KRISTEN
POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Bradiey S. Rodos, Acting as BRADLEY S. RODOS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Michelle S.. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
‘BANK, N.A, and/or Agents, Successors, and/or Assigns; and Barnett Satinsky, Acting as BARNETT SATINSKY
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns;.and Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY,
and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Jacqueline G. Segal,
Acting gs JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Mark L. Silow, Acting as MARK
L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns,
and Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and David B, Snyder, Acting as DAVID B. SNYDER
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Shelly A. Solomon, Acting as SHELLY A. SOLOMON
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Trisha B, Stein, Acting as TRISHA B, STEIN ATTORNEY,
and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns; and Paul Straub, Acting
as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and John J, Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Julia Swain, Acting as JULIA SWAIN ATTORNEY, and
Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael L. Temin,
Acting as MICHAEL L, TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns; and Robert S. Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for
WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Craig R. Tractenberg, Acting as
CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,

- Successors, and/or Assigns; and Peter J, Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael K. Twersky, Acting as MICHAEL
K. TWERSKY ATTORNBY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or

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Assigns; and Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns; and Michael J. Viscount, Jr., Acting as MICHAEL J.
VISCOUNT, IR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or
Assigns; and Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and Beth L. Weisser, Acting as BETH L.
WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns;
and Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns; and Gregory B, Williams, Acting as GREGORY B, WILLIAMS
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and
Ronald L. Williams, Acting as RONALD L, WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns; and Adam R. Young, Acting as ADAM R, YOUNG
ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 999
Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atiantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 321
North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2501
North Harwood Street, Suite 1800, Dallas, Texas [75201]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1225

17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 747
Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 230
North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101
Park Avenue, 17" Floor, New York, New York [10178]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of BNY
Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 434
Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1001
Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 8300
Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700
Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1030
15 Street North West, Suite 380 East, Washington, District of Columbia [20005); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 777
South 1700 West Tower, West Palm Beach, Florida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 919
North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Scott E. Powell, Acting as
SCOTT E, POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF OPERATING OFFICE, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and John R. Shrewsberry, Acting as
JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF FINANCIAL OFFICER, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Muneera S. Carr,
Acting as MUNBERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and William M. Daley, Acting as WILLIAM M.
DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns; and Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP,
HEAD OF STRATEGIC EXECUTION and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns: and David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP,
HEAD OF HUMAN RESOURCES, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER &
SMALL BUSINESS BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; and Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Lester J. Owens,
Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and Ellen R. Patterson, Acting as ELLEN R. PATTERSON,
SENIOR EVP, GENERAL COUNSEL, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns; and Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Scott E.
Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for WELLS
FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns; and Julie L. Scammahorn, Acting as JULIE L.
SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN, SENIOR EVP, CHIEF AUDITOR, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Barry Sommers, Acting as
BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT MANAGEMENT, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns; and Saul Van Beurden, Acting as
SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns; and Michael S. Weinbach, Acting as MICHAEL S.
WEINBACH, SENIOR EVP, CEO OF CONSUMER LENDING, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns; and Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR
EVP, CEO OF CORPORATE & INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, ; and ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns; and Jane Doe 1- 50, Acting as JANE DOE 1 — 50; and Jolm Doe 1-50, Acting as
JOHN DOE 1 - 50 ; JOINTLY and SEVERALLY, CORPORATELY and PERSONALLY, hereinafter Respondent,
singularly, Respondents, collectively:

September 29, 2020

The following schedule of fees is effective September 29, 2020; These fees are subject to change upon written notice
by the Claimant to the Respondent(s):

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‘Section i

Notice: Section 1 is a schedule of fees that are to be prepaid by the Respondent(s) to the Claimant before the
execution of any of the following acts by the Claimant or the Claimant’s agents, or assigns; and

| Description

| Rate

Arbitration hearing(s) re: Notice of Foreclosure for WORLD SAVINGS BANK, FSB,
Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also
known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”),
also known as WACHOVIA BANK, N.A., also known as WACHOVIA MORTGAGE,
also known as WACHOVIA MORTGAGE CORPORATION, Mortgage Number
4831607, also known as WELLS FARGO BANK, N.A., also known as WELLS FARGO
MORTGAGE, also known as Civil Action Case No, 100401188 [2010] COURT OF
COMMON PLEASE PHILADELPHIA COUNTY COMMONWEALTH OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No, 12-20451-MDC
(2012] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC
(2013] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No, 18-17342-MDC
[2018} UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, in the amount of Eight Hundred Sixteen Thousand Eight Hundred
Ninety-Seven DOLLARS and Bighty Six CENTS (816,897.86). Original Amount of Three
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

$25,000/hearing*

Court hearing(s) re: Notice of Foreclosure for WORLD SAVINGS BANK, FSB,

. Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also
known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”),
also known as WACHOVIA BANK, N.A., algo known as WACHOVIA MORTGAGE,
also known as WACHOVIA MORTGAGE CORPORATION, Mortgage Number
4831607, also known as WELLS FARGO BANK, N.A., also known as WELLS FARGO
MORTGAGE, also known as Civil Action Case No. 100401188 [2010] COURT OF
COMMON PLEASE PHILADELPHIA COUNTY COMMONWEALTH OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Cass No. 12-20451-MDC
[2012] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC
[2013] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC
(2018] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, in the amount of Eight Hundred Sixteen Thousand Eight Hundred
Ninety-Seven DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Three

Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

$50,000/hearing*

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Mediation hearing(s) re; Notice of Foreclosure for WORLD SAVINGS BANK, FSB,
Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also
known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”),
also known as WACHOVIA BANK, N.A., also known as WACHOVIA MORTGAGE,
also known as WACHOVIA MORTGAGE CORPORATION, Mortgage Number

$25,000/hearing*

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4831607, also known as WELLS FARGO BANK, N.A., also known as WELLS FARGO
MORTGAGE, also known as Civil Action Case No. 100401188 [2010] COURT OF
COMMON PLEASE PHILADELPHIA COUNTY COMMONWEALTH OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No. 12-20451-MDC
[2012] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC
[2013] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC
{2018] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, in the amount of Eight Hundred Sixteen Thousand Eight Hundred
Ninety-Seven DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Three
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

Formal/informal meeting(s) re: Notice of Foreclosure for WORLD SAVINGS BANK, $25,000/meeting*
FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also
known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”),
also known as WACHOVIA BANK, N.A., also known as WACHOVIA MORTGAGE,
also known as WACHOVIA MORTGAGE CORPORATION, Mortgage Number

| 4831607, also known as WELLS FARGO BANK, N.A., also known as WELLS FARGO
MORTGAGE, also known as Civil Action Case No. 100401188 [2010] COURT OF
COMMON PLEASE PHILADELPHIA COUNTY COMMONWEALTH OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No. 12-20451-MDC
[2012] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 7 BANKRUPTCY Case No, 12-20451-MDC
{2013] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC
[2018] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, in the amount of Eight Hundred Sixteen Thousand Eight Hundred
Ninety-Seven DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Three
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

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~ Section 2

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Notice: Section 2 is a schedule of fees that are to be paid by the Recipient(s) within three (3) days from receipt of
any invoices issued by the Principal to the Recipient(s) for the execution of any of the following acts by the

Principal or the Principal’s agents or assigns. ,

| Description

| Rate

Written communications re: Notice of Foreclosure for WORLD SAVINGS BANK,
FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33,
also known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
(“MERS”), also known as WACHOVIA BANK, N.A., also known as WACHOVIA
MORTGAGE, also known as WACHOVIA MORTGAGE CORPORATION,
Mortgage Number 4831607, also known as WELLS FARGO BANK, N.A., also
known as WELLS FARGO MORTGAGE, also known as Civil Action Case No.
100401188 [2010] COURT OF COMMON PLEASE PHILADELPHIA COUNTY
COMMONWEALTH OF PENNSYLVANIA, also known as Chapter'13
BANKRUPTCY Case No. 12-20451-MDC [2012] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known
as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC [2013] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known
as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC [2018] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, in the
amount of Eight Hundred Sixteen Thousand Eight Hundred Ninety-Seven DOLLARS
and Highty Six CENTS (816,897.86). Original Amount of Three Hundred Ninety-Two
Thousand DOLLARS and Zero CENTS (392,000.00US).

$5,000/page*

Telephone communications re: Notice of Foreclosure for WORLD SAVINGS
BANK, FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS
REMIC 33, also known as MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC. (“MERS”), also known as WACHOVIA BANK, N.A., also known
as WACHOVIA MORTGAGE, also known as WACHOVIA MORTGAGE
CORPORATION, Mortgage Number 4831607, also known as WELLS FARGO
BANK, N.A., also known as WELLS FARGO MORTGAGE, also known as Civil
Action Case No. 100401188 [2010] COURT OF COMMON PLEASE
PHILADELPHIA COUNTY COMMONWEALTH OF PENNSYLVANIA, also
known as Chapter 13 BANKRUPTCY Case No. 12-20451-MDC [2012] UNITED
STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA,
also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC [2013] UNITED
STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA,
also known as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC [2018] UNITED
STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, in
the amount of Bight Hundred Sixteen Thousand Eight Hundred Ninety-Seven
DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Three Hundred
Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

x

$500/minute

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‘y Electronic communications re: Notice of Foreclosure for WORLD SAVINGS

BANK, FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS
REMIC 33, also known as MORTGAGE ELECTRONIC REGISTRATION
SYSTEMS, INC, (“MERS”), also known as WACHOVIA BANK, N.A.,, also known
as WACHOVIA MORTGAGE, also known as WACHOVIA MORTGAGE
CORPORATION, Mortgage Number 4831607, also known as WELLS FARGO
BANK, N.A., also known as WELLS FARGO MORTGAGE, also known as Civil

‘| Action Case No, 100401188 [2010] COURT OF COMMON PLEASE

PHILADELPHIA COUNTY COMMONWEALTH OF PENNSYLVANIA, also
known as Chapter 13 BANKRUPTCY Case No. 12-20451-MDC [2012] UNITED
STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA,
also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC [2013] UNITED
STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA,
also known as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC [2018] UNITED
STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, in
the amount of Eight Hundred Sixteen Thousand Eight Hundred Ninety-Seven
DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Three Hundred
Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

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$7,000.00/Transmission

Time expended re: Notice of Foreclosure for WORLD SAVINGS BANK, FSB,

: Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also

known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC.
(“MERS”), also known as WACHOVIA BANK, N.A., also known as WACHOVIA
MORTGAGE, also known as WACHOVIA MORTGAGE CORPORATION,
Mortgage Number 4831607, also known as WELLS FARGO BANK, N.A., also
known as, WELLS FARGO MORTGAGE, also known as Civil Action Case No.
100401188 [2010] COURT OF COMMON PLEASE PHILADELPHIA COUNTY
COMMONWEALTH OF PENNSYLVANIA, also known as Chapter 13
BANKRUPTCY Case No. 12-20451-MDC [2012] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known
as Chapter 7 BANIKRUPTCY Case No. 12-20451-MDC [2013] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known
as Chapter 13 BANKRUPTCY Case No. 18-17342-MDC [2018] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, in the
amount of Bight Hundred Sixteen Thousand Eight Hundred Ninety-Seven DOLLARS
and Eighty Six CENTS (816,897.86). Original Amount of Three Hundred Ninety-Two
Thousand DOLLARS and Zero CENTS (392,000.00US).

$7,000/hour

*

The fees for the acts described accrue in addition to the hourly rate for time expended...

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VERIFICATION

i, starani-alike: johnson:, Real Party of Interest; Agent for and Sole Beneficiary Owner of the TARANI
ALIKE JOHNSON TRUST, a Cestui Qui Trust, also known as TARANI A. JOHNSON, Plaintiff herein; states
that i am duly authorized to make this Verification on behalf of Plaintiff and verifies that the statements made in the
foregoing COMPLAINT — NOTICE OF CLAIM, CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE are true and correct to the best of my
knowledge, information and belief.

- i verify under penalty of perjury under the laws of the United States of America that the foregoing is true and

correct,
28 U.S. Code 1746.

vies
Respectfully Executed on September 249, 2020

By: —pasiennen . Aasami+ aia  Canecod Eyaeuben
_ joimson, tarani-alike; Grantor/Attorney-in-Fact/Real Party of Interest,
General Executrix, Agent and Sole Beneficiary Owner for PLAINTIFF,
TARANI ALIKE JOHNSON, a Cestui Qui Trust and Estate established in
The City of New York at the DEPARTMENT OF HEALTH AND MENTAL
HYGIENE; File no,: 156-76-416831, aka Tarant Alike Johnson™ ©,
Federal Trademark # 88859594
All Rights Reseryed Without Prejudice, Without Recourse.
: Amicus Curiae, Sui Juris, No Pro Se, In Propria Persona

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This document is to take the place of the previously
sent document bearing the specified name and title:.
“NOTICE OF FAULT and CONSENT TO
JUDGEMENT”

(AMENDMENT TO NOTICE OF DEFAULT and CONSENT TO JUDGEMENT)

Notice to Agent is Notice to Principal
Notice te Principal is Notice to Agent

Claimant

:Tarani-Alike: Johnson:, a living woman; American Freewoman
Private Civilian of the United States of America; American National
Authorized Agent, and Sole Beneficiary of the trust known as
TARANI A, JOHNSON also known as

Tarani Alike Johnson ™ ©, Federal Trademark # 88859594
also known as TARANI ALIKE JOHNSON, A PRIVATE TRUST
and Tarani Alike Johnson Estate Living Trust (eTAJi56US)

in care of: Tarani-Alike: Johnson:

2285 Bryn Mawr Avenue

Philadelphia [19131] Pennsylvania

RE: Private Case Number; RE 327 506 200 US .
Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule dated
September 29, 2020, executed by :Tarani-Alike: Johnson:, sent to [:"*RESPONDENTS”:] on September 30,
2020 via USPS Certified Mail Receipt No.(s) 7017 3380 0000 9203 2296, 7017 3380 0000 9203 2302, and
7017 3380 6060 9203 2319

- SENT VIA USPS CERTIFIED MAIL RECEIPT No. (s) 7019 0700 0000 6633 7966,
7019 0700 0000 6633 7973, and 7019.0700 0000 6633 7980

ORIGINAL DOCUMENT SENT VIA REGISTERED MAIL; RE 327 506 227 US; RE 327 506 235 US; and
RE 327 506 244 US

ORIGINAL SENT VIA FED EX TRACKING Na.(s) 399007148543, 399007290388, and 399007088544

ORIGINAL SENT VIA USPS CERTIFIED MAIL RECEIPT No.(s) 7019 0700 0000 6633 7874,
7019 0700 0000 6633 7898, and 7019 0700 0000 6633 7881

November 25, 2020
[:*RESPONDENTS”:]

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and ‘

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

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Sarah E, Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

William M.E. Powers, II, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville

Trevose, Pennsylvania [19053]; and
Edward W. Kirn, IMI, Acting as EDWARD W. KIRN, II ATTORNEY, and Agent for WELLS FARGO BANK,

N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Sarah K. McCaffery, Acting as SARAH K, MCCAFFERY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jolanta M. Pekalska, Acting as JOLANTA M, PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
[08057]; and

Harry B, Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and

Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, III, Acting as EDWARD W. KIRN, If ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057];
and

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, NA,
and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057]; and

Jeauctte Jacqueline O'Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and

Jill Manuel-Coughiin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

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Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mare Highway Moorestown, New Jersey [08057];

and
Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or

Agents, Successors, and/or Assigns, In cate of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William M.E, Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successoss, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
[08057]; and

William MLE. Powers, Jr., Acting as WILLIAM ME. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

William MLE. Powers, IMI, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
[08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E, ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];

and

Catherine T. Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and
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Michael J. Bassett, Acting as MICHAEL J, BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania [19103];
and

Ryant T. Becker, Acting as RYAN T. BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Matket Street, 20 Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS F. ARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20“ Floor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL S, BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C, Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Maura L, Burke, Acting as MAURA L, BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
[19103]; and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20Floor, Philadelphia,
Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T, CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B, Chovanes, Acting as MARTHA B, CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

fan M. Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, in care of 2000 Market Street, 20% Floor, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David A, Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jean A, Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In cate of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Tristram R. Fall, If, Acting as TRISTRAM R. FALL, II ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103}; and

Craig L, Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floot, Philadelphia, Pennsylvania [19103];
and

Barbara R. Flacker, Acting as BARBARA R. FLACKER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20‘ Floor, Philadelphia,
Pennsy!vania [19103]; and

Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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NOTICE OF [:"DE”: [FAULT and CONSENT TO JUDGMENT
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John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David M. Giles, Acting as DAVID M, GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania [19103];
and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103], and

John L, Grossman, Acting as JOHN L, GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor, Philadelphia,
Pennsylvania [19103]; and

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In cate of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Matket Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gerald M, Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gary A. Hecht, Acting as GARY A, HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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NOTICE OF [:°DE”:]FAULT and CONSENT TO JUDGMENT
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Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In cate of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and.

Kelley B. Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania

[19103]; and

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20'" Floor, Philadelphia, Pennsylvania [19103];
and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor, Philadelphia,
Pennsylvania (19103); and

Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania {19103}; and

Lisa.B. Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J. Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and
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Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and
Jane E, Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];

and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania [19103];

and

Matthew A, Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania {19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K, Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20' Floor, Philadelphia,
Pennsylvania [19103]; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK, NA,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Robin B, Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

James A. Matthews I, Acting as JAMES A, MATTHEWS III ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G, McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Lauren P. McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania (19103); and

Tan D. Meklinsky, Acting as IAN D, MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, NLA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania

[19103]; and.

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK, NLA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor, Philadelphia, Pennsylvania
[19103]; and

Carrie B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E, Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
[19103]; and

Ramon R. Obed, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor,
Philadelphia, Pennsylvania [19103]; and

Brian J. O'Neill, Acting as BRIAN J, O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

‘Thomas D. Paradise, Acting as THOMAS D, PARADISE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F. Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania {19103}; and

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David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Eric E. Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Abraham C, Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsyivania
{19103}; and

Bradley S. Rodos, Acting as BRADLEY S$. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michelle S. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20% Floor, Philadelphia, Pennsylvania

[19103]; and

Mark L. Silow, Acting as MARK L, SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];

and

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NOTICE OF [:°DE”:]FAULT and CONSENT TO JUDGMENT
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Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania {19103}; and

David B. Snyder, Acting as DAVID B, SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

David §. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B, Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

John J. Stubbs, Acting as JOHN J, STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Julia Swain, Acting as SULLA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
{19103); and

Robert S. Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103], and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter J. Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania [19103];

and

Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and
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NOTICE GF [:°DE”:]FAULT and CONSENT TO JUDGMENT
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Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ,

Marvin L, Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Beth L. Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
(19103); and

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

' Gregory B. Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L, Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In cate of 999
Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 321
North Clark Street, Suite 1600, Chicago, Iinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2501
North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1225
17 Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 747
Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 230
North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and
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NOTICE OF [:°DE”:|FAULT and CONSENT TO JUDGMENT
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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbetl Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101
Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of BNY
Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Cozporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 434
Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1001
Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 8300
Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700
Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1030
15' Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successoss, and/or Assigns, In care of 777
South 1700 West Tower, West Palm Beach, Florida [33401]; and .

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 919
North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Scott E, Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

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NOTICE OF [:°DE”:|FAULT and CONSENT TO JUDGMENT
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John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S. Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104], and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION and
OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care
of 420 Montgomery Street, San Francisco, California [94104]: and

David C, Gallorecs, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Mary T, Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Sireet, San
Francisco, California [94104);and.

Ellen R. Patterson, Acting as ELLEN R, PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E, POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Julie L. Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN, SENIOR
EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and ~

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and.

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NOTICE OF [:°DE”:|FAULT and CONSENT TO JUDGMENT
Private Case Number: RE 327 506 200 US

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Michael S. Weinbach, Acting as MICHAEL S. WEINBACH, SENIOR EVP, CEO OF CONSUMER LENDING,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE & INVESTMENT
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; AND

EXPERIAN CORPORATION; AND

TRANSUNION CORPORATION; AND

JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

In care of:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A,, and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Intexplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053] — Sent via FEDEX and USPS Certified Mail Receipt No. 7019 0700 0000 6633 7874

Martha B, Choyaues, Acting as MARTHA B, CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103] — Sent via FEDEX and USPS Certified Mail Receipt No, 7019 0700 0000 6633 7881

John R. Shrewsberry, Acting as JOHN R, SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF

FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104] Sent via FEDEX and USPS Certified Mail

Receipt No, 7019 0700 0000 6633 7898

Claimant Hereby Gives The Following Trust Directive Regarding The Delivery Of This Said Notice:

Harry Burnett Reese, and/or Agents, Assigns, and/or Successors, are charged with delivering a true copy to ALL
["RESPONDENTS”:] of POWERS KIRN & ASSOCIATES LLC; and

Martha B. Chovanes, and/or Agents, Assigns, and/or Successors are charged with delivering a true copy to ALL
[:"RESPONDENTS”:] FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and a true copy to ALL
[°RESPONDENTS”™:] of WELLS FARGO BANK, NA.

(as so requested by notice of expressed representation in response dated October 19% 2020)

STATEMENT OF FACTS

1. On or about October 15, 2020 at 5:10 p.m., “[:">RESPONDENTS”:]” of POWERS KIRN & ASSOCIATES
LLC received a true and correct copy of Constructive Notice of Conditional Acceptance with
Commercial Affidavit and Fee Schedule; Private Case Number: RE 327 506 200 US dated September
29, 2020, by USPS Certified Mail No. 7017 3380 0000 9203 2296 from the Claimant for
[:"°RESPONDENTS”:] attention, AND

2. On or about October 6, 2020 at 1:04 p.m., “[:"RESPONDENTS”:]” of FOX ROTHSCHILD, LLP received
a true and correct copy of Constructive Notice of Conditional Acceptance with Commercial Affidavit
and Fee Schedule; Private Case Number: RE 327 506 200 US dated September 29, 2020, by USPS
Certified Mail No. 7017 3380 0000 9203 2302 from the Claimant for [:"RESPONDENTS”:] attention,
AND

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NOTICE OF [:"DE”:]FAULT and CONSENT TO JUDGMENT
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“[:"RESPONDENTS”:]” of FOX ROTHSCHILD, LLP has agreed to accept notice for and respond on
behalf of “{:"RESPONDENTS”:]” WELLS FARGO BANK, N. A. by way of written expressed notice as a
response dated October 19, 2020 that “(:”">RESPONDENTS”:}” of FOX ROTHSCHILD, LLP is
representing “[:”RESPONDENTS”:]” of WELLS FARGO BANK, N.A.,;

AND

As of the 26 day of October, 2020, “[:"RESPONDENTS”:}” have not sufficiently responded to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29,
2020,

AND

On or about November 2, 2020 at 11:28 a.m., “[:"RESPONDENTS”:]” of POWERS KIRN &
ASSOCIATES LLC received via FEDEX PRIORITY OVERNIGHT NO, 398401054737; signed for by
*§ Gonzales” at the “Receptionist/Front Desk”, and via Certified Mail U.S. Postal Service NO, 7020 1290
0000 6327 2568 on or about November 2, 2020 at 11:16 a.m., a true and correct copy of the Notice of
Fault Opportunity to Cure; Re: Private Case Number: RE 327 506 200 US along with the following
additional Enclosures were sent as a reminder and second chance to sufficiently respond and/or sufficiently
perform to cure their dishonor : ’

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2296),

b) Proof of Delivery for the above stated document from U.S, Postal Service

c) Affidavit of Non-Performance

d) Affidavit of Non- Response; and

e) Fox Rothschild LLP Insufficient Response from the Claimant for [:"RESPONDENTS” |] attention;
AND

On or about November 2, 2020 at 8:44 a.m, “[:"RESPONDENTS”:}” of WELLS FARGO BANK N.A.
received via FEDEX PRIORITY OVERNIGHT NO. 398400946049; signed for by “T. Wilson” of the
“Shipping/Receiving” department, and via Certified Mail U.S. Postal Service NO, 7020 1290 0000 6327
2582 on or about November 2, 2020 at 9:47 a.m., a true and correct copy of the Notice of Fault
Opportunity to Cure; Re: Private Case Number: RE 327 506 200 US along with the following additional
Enclosures:

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2302),

b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service

c) Affidavit of Non-Performance

da) Affidavit of Non- Response; and

e) Fox Rothschild LLP Insufficient Response from the Claimant for [?7RESPONDENTS”:] attention;
AND

On or about November 2, 2020 at 9:34 a.m., “[:"RESPONDENTS”:]” of FOX ROTHSCHILD LLP.
received via FEDEX PRIORITY OVERNIGHT NO. 398401207120; signed for by “A. Rosario” of the
“Mailroom”, and via Certified Mail U.S. Postal Service NO. 7020 1290 0000 6327 2582 on or about
November 2, 2020 at 2:19 p.m., a true and correct copy of the Notice of Fault Opportunity to Cure; Re:
Private Case Number: RE 327 506 200 US along with the following additional Enclosures:

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule,
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2302),

b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service

c) Affidavit of Non-Performance

d) Affidavit of Non- Response; and

e) Fox Rothschild LLP Insufficient Response from the Claimant for (:"-RESPONDENTS”:] attention;
AND

As of today’s date, the 25" day of November, 2020, A.D., ALL “I:"RESPONDENTS”:]” have failed to
sufficiently respond to the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated

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NOTICE OF }[:"DE”:|FAULT and CONSENT TO JUDGMENT
Private Case Numbet: RE 327 506 200 US

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September 29, 2020, and the NOTICE OF FAULT AND OPPORTUNITY TO CURE dated October 26,

2020,
AND
9. ALL “[:"°RESPONDENTS”:]”, Agents, Successors, and/or Agents, Successors, and/or Assigns, Jointly,

Severely, Corporately, and Personally are at Fault in this matter,
AND

10. As an operation of law, “[:”"-RESPONDENTS”:]” by dishonor of the CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE;
Private Case Number: RE 327 506 200 US dated September 29, 2020, and the NOTICE OF FAULT
AND OPPORTUNITY TO CURE dated October 26, 2020, have created a FAULT.

This failure to respond, and now [:”DE”:]F AULT, is as an operation of law, Respondent’s FINAL admission and
agreement to all statements and claims made by Claimant through tacit procuration pextaining to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and
FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29, 2020, and the NOTICE OF
FAULT AND OPPORTUNITY TO CURE dated October 26, 2020 executed by :Tarani-Alike: Johnson,

the entire whole matter is res judicata and stare decisis and [:"RESPONDENTS”:] are in estoppel by

[:"RESPONDENTS”:]’ failure to respond.

SILENCE IS ACQUIESCENCE - SPEAK NOW OR FOREVER HOLD YOUR PEACE

Failure to respond or responding with other than the demanded verified proof and full, whole and complete
accounting, via sworn affidavit, under [:"RESPONDENTS”:]’ full and complete commercial liability, signing under
penalty of perjury, will be documented and memorialized with an Affidavit of Non-Response and an Affidavit of
Non-Performance and constitutes an agreement between ALL “[;"RESPONDENTS”:)”, Jointly and Severally,
Corporately and Personally, and their Agents, Successors, and/or Assigns, and The Claimant that:

1, ALL [2"RESPONDENTS”:] DO NOT have a valid claim against Claimant, ‘Tarani-Alike: Johnson:, a
living woman; American Freewoman, Private Citizen of the United States of America; American National,
Authorized Agent, and Sole Beneficiary of the trust known as TARANI A, JOHNSON also known as
Tarani Alike Johnson ™ ©, Federal Trademark # 88859594 also known as TARANI ALIKE

JOHNSON nor against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia,
Pennsylvania {near 19131) therefore having no past, present or future claims against Claimant; and

2. All [;"*RESPONDENTS”:] consent to a Zero Balance Judgment against Claimant, Defendant, Plaintiff, and
a Zero Balance Claim against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia,
Pennsylvania {near 19131] therefore having no past, present or future claim against Claimant, leaving
‘Tarani-Alike: Johnson:, a living woman and Authorized Agent and Sole Beneficiary for TARANI ALIKE
JOHNSON, A PRIVATE TRUST unencumbered, resulting in full and complete settlement, past, present
and future between all parties,; and

3, ALL [."RESPONDENTS”:] gant Claimant specific Power of Attorney to sign any and all documents
deemed necessary to mark the alleged account to a zero balance, remove any outstanding judgments, cancel
lien against collateral, re-convey title, and cancel the trust which holds the alleged mortgage, signed by
Claimant on behalf of ALL [:"RESPONDENTS”:].

4, ALL [;*RESPONDENTS”:] grant Administrative Judgment for Theft against All [:"RESPONDENTS”:],
jointly, severally, corporately and personally, in Claimants’ favor, and award Plaintiff and Real Party in
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NOTICE OF [:"DE”: FAULT and CONSENT TO JUDGMENT
Private Case Number: RE 327 506 200 US

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9,

10.

Interest compensatory damages in the amount of One-million DOLLARS and Zero CENTS
($1,000,000.00US) for the unreturned tender of payment that was issued to [:°RESPONDENTS”:] on or
about April 12, 2018, and an additional amount of One-million DOLLARS and Zero CENTS
($1,000,000,00US) for the unreturned tender of payment that was issued to [:"RESPONDENTS”:] on or
about April 27, 2018; for a sum total of Two-million DOLLARS and Zero CENTS ($2,000,000.00US) in

compensatory damages, plus costs and interest.

An Agreement between ALL [:"RESPONDENTS”:] and Claimant will be enforced to grant Administrative
Judgment for Fraudulent Misrepresentation and Unjust Enrichment against All ["RESPONDENTS”:],
jointly, severally, corporately and personally, in Claimants’ favor, and award Claimant treble-damages for
antitrust violations in the amount of Six-million DOLLARS and Zero CENTS ($6,000,000,00US) in

Punitive Damages, plus costs and interest.

An Agreement between ALL [:"RESPONDENTS”:] and Claimant will be enforced that invokes the
Clayton Antitrust Act of 1914 and grants judgment to Plaintiff for the fraudulent conveyance of language
and conspiracy to commit fraudulent conveyance of language for Defendant’s own profit by unlawfully
demanding Three-hundred Ninety-two Thousand DOLLARS and Zero CENTS ($392,000.00US) or by
taking Plaintiff’s collateral property described within; and award Plaintiff treble-damages for antitrust
violations in the amount of One-million Five-hundred Sixty-Eight DOLLARS and Zero CENTS
($1,568,000,00) in punitive damages, plus costs and interest.

ALL “[:"*RESPONDENTS”:]” consent fo a commercial lien against “[:"RESPONDENTS”:]” personal
assets including but not limited to all real property, all personal property (excluding wedding photos and
rings), “[:" RESPONDENTS”:}” Errors and Omissions Insurance Policy, “{:”RESPONDENT: ”-]” Liability
Insurance Policy, “[:"RESPONDENTS”:]” Public Bond; and

ALL “{:">RESPONDENTS”:]” consent to garnishments of Wages, Fees, Commissions, Bank Accounts, and
Retirement Accounts; and

ALL “[:"RESPONDENTS”:}” consent to interest charges and adjustments until full balance is paid; and
ALL “{:"RESPONDENTS”:}” consent to an adjusted balance to be paid to Claimant in the amount totaling
Nine-million Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS ($9,568,000.00).

“{, a woman commonly known as :Tarani-Alike: Johnson:, (Claimant), on my own unlimited commercial
liability, certify that I have read the above and do know that the facts contained are true, correct and
complete, not misleading, the truth, the whole truth and nothing but the truth.”

Govern Yourselves Accordingly,

IN WITNESS WHEREOF i hereunto set my hand and seal on this day of November, 2020 and hereby
certify all the statements made above are true, correct and complete,

By:

:Tarani-Alike: Johnson:, American Freewoman

Private Civilian of the United States of America: American National
Private Civilian of the Commonwealth of Pennsylvania

Special and Private Inhabitant, domiciled in Philadelphia County
All Rights Reserved Without Prejudice

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NOTICE OF {:"DE”:|FAULT and CONSENT TO JUDGMENT
Private Case Nunber: RE 327 506 200 US

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Enclosures:

1.

True Certified Copy of CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT aud FEE SCHEDULE dated September 29", 2020; AND

Copy of Proof of Delivery of CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE
WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE via USPS Certified Mail 7017 3380 0000
9203 2296 and USPS Certified Mail 7017 3380 0000 9203 2302; AND

True Certified Copics of AFFIDAVIT OF NON-PERFORMANCE and AFFIDAVIT OF

NON- RESPONSE dated October 26", 2020; AND

Copy of FOX ROTHSCHILD LLP INSUFFICIENT RESPONSE dated October 19", 2020

(2 Original Insufficient Responses from FOX ROTHSCHILD LLP returned directly back to sender); AND
True Certified Copy of NOTICE OF FAULT and OPPORTUNITY TO CURE dated October 26",
2020; AND

Copies of Proof of Delivery of true certified copies of CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE, NOTICE OF FAULT
and OPPORTUNITY TO CURE, AFFIDAVITS OF NON-PREFORMANCE and NON-RESPONSE
dated October 26" 2020, and FOX ROTHSCHILD LLP INSUFFICIENT RESPONSE dated

October 19, 2020 via USPS Certified Mail 7020 1290 0000 6327 2568, 7020 1290 0000 6327 2582, and
7020 1290 0000 6327 2575; AND

Copies of Proof of Delivery of the true certified copies of CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE,
NOTICE OF FAULT and OPPORTUNITY TO CURE, AFFIDAVITS OF NON-PREFORMANCE
and NON-RESPONSE dated October 26" 2020, and FOX ROTHSCHILD LLP INSUFFICIENT
RESPONSE dated October 19", 2020 via FEDEX PRIORITY OVERNIGHT personal delivery No.
398400946049, No. 398401054737, and No. 398401207120; AND

True Certified Copies of AFFIDAVIT OF NON-PERFORMANCE and AFFIDAVIT OF NON-
RESPONSE dated November 10, 2020

Invoice for Financial Injury due and payable by WELLS FARGO BANK, N.A., POWERS KIRN &
ASSOCIATES LLC, and FOX ROTHSCHILD LLP et al to Tarani-Alike Johnson, Invoice No, WFB2285-1

10. True Certified Copy of ESTOPPEL BY ACQUIESCENCE

Notice to Agent is notice to Principal. Notice to Principal is notice to Agent.

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NOT ICE OF [:°DE”:|FAULT and CONSENT TO JUDGMENT
Private Case Number: RE 327 506 200 US

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Copies to:
The Honorable Governor, Tom Wolf, in care of 225 Main Capitol Bullding Harrisburg, Pennsylvania 17120,

and

The Honorable Attorney General of Pennsylvania, Josh Shaplro, in care of Strawberry Square, Harrisburg
Pennsylvania 17120; and

The Honorable Governor, Andrew M. Cuomo in care of New York State, State Capito! Building, Albany,
New York 12224; and

The Honorable Attorney General of New York, Letitia James, in care of The Capitol, Albany, New York
12224; and

The Honorable Governor of California, Gavin Newsom, in care of 1303 10" Street, Suite 1173, Sacramento,
California, 95814, Harrisburg Pennsylvania 17120; and

The Honorable Attorney General of California, Xavier Becerra, in care of 1300 “I” Street, Sacramento
California 95814.

Verification and Acknowledgement
United States of America . )
Commonwealth of Pennsylvania ) S, a.
Philadelphia County )
ay)
Subscribed and sworn (or affirmed) before me on this gt day of November, 2020.
By: :Tarani-Alike: Johnson:

Personally known to me.

Witness 1

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Res ‘

x

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NOTICE OF [?"DE":]FAULT and CONSENT TO JUDGMENT
Private Case Number: RE 327 506 200 US

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Claimant .

:Taroni-Alike: Johnson, a living woman; American Freewoman
Private Civilion of the United Stutos of America; American National
but not a Citizen of the United States .
tn care: 2285 Bryn Mawr Avenue vat
Philadelphia [19131) Pennsylvania

[:"Respondents”s]
Horry Burnett Reese, Acting as HARRY BURNBIT REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns, Ja care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

All Agents for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or Successors, and/or Assigns, In care of 8
Noshaminy Interplex, Sulto 215, Feasterville Trevose, Pennsylvania [19053}; and

Martha B. Chovanes, Acting as MARTHA B, CHOVANES ATTORNEY, and Agont for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Philudolphin, Pennsylvania [19403]; ond

All Agents for FOX ROTHCHILD, LLP ATTORNEYS AT LAV, and/or Assigns, In cate of 2000 Market Strect, 20"-Floor, Philadelphia,
Pennsylvania [19103]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXRCUTIVE OFFICER, PRESIDENT, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Strect, San Francisco, California [94 104]; and

All Agents for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San Francisco,
California [94104}; and “

RE: Private Case Number: RE 327 406 200 US
CLAIM [:"AFFIDAVIT”:] OF TRUTH

i, a woman commonly known as ;Tarani-Alike: Johnson:, Claimant, certify that I have read the following and do know that
the facts contained are true, correct and complete, not misleading, the truth, the whole truth and nothing but the truth.

This Claim (:"Affidavit”:] of Truth pertains to an Agrcemont met between the parties for the consent to judgment against
[:"Respondents”:] and the settlement, closure, and dismissal of All Matters, including but not limited to outstanding past
claims, present claims, and future claims against me, Claimant :Tarani-Alike: Johnson:, in regards to Any and All
accounts relating to, but not limited to: ,

WORLD SAVINGS BANK, FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC 33, also
known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC, (“MERS”), also known as WACHOVIA
BANK, N.A,, also known as WACHOVIA MORTGAGE, also known as WACHOVIA MORTGAGE CORPORATION,
Mortgage Number 4831607, also known as WELLS FARGO BANK, W.A., also known as WELLS FARGO MORTGAGE,
also known as Civil Action Case No. 100401188 [2010] COURT OF COMMON PLEAS PHILADELPHIA COUNTY
COMMONWEALTH OF PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No, 12-20451-MDC [2012]
UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as Chapter 7
BANKRUPTCY Case No. 12-20451-MDC [2013] UNITED STATBS BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No. [8-17342-MDC [2018] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as Appeal Case No. 19 CV 3620
UNITED STATES DISTRICT COURT FOR THE EASTERN OF PENNSYLVANIA in the amount of Eight Hundred
Sixteen Thousand Eight Hundred Ninety-Seven DOLLARS and Eighty Six CENTS (816,897.86). Original Amount of Threa
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US),

1. On or about October 15, 2020 at 5:10 p.tn., [:"Respondents”:] of POWERS KIRN & ASSOCIATES LLC received a true and
correct copy of Constructive Notice of Conditional Acceptance with Commercial Affidavit and-Fee Schedule; Private

5,

10.

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Case Number: RE 327 806 200 US dated September 29, 2020, by USPS Certified Mail No, 7017 3380 0000 9203 2296 from
the Claimant for [:"Respondents™:] attention; AND

On or about October 6, 2020 at 1:04 p.m., [*Respondents":] of FOX ROTHSCHILD, LLP received a true and correct copy
of Constructive Notice of Conditional Acceptance with Commorcial Affidavit and Feo Schedule; Private Case Number:
RE 327 S06 280 US dated September 29, 2020, by USPS Certified Mail No. 7017 3380 0000 9203 2302 from tho Claimant
for [:"Respondents”:] attention; AND

a
[:"Respondents”:] of FOX ROTHSCHILD, LLP has agreed to accept notice for and respond on behalf of [:"Respondents”:]
WELLS FARGO BANK, N. A. by way of written expressed notice as a response dated October 19, 2020 that
“[:"Respondents”:]” of FOX ROTHSCHILD, LLP is representing “[:"Respondents”:]" of WELLS FARGO BANK, N.A.;
AND

As of the 26" day of October, 2020, [:Respondents”:] have not sufficiently responded to the CONSTRUCTIVE NOTICE
OF CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case
Number: RE 327 $06 266 US dated September 29, 2020; AND

On or about November 2, 2020 at 11:28 a.m., [!"Respondents”:] of POWERS KIRN & ASSOCIATES LLC received via
FEDEX PRIORITY OVERNIGHT NO. 398401054737; signed for by “S. Gonzales” at the “Receptionist/Front Desk”, and
via Certified Mail U.S. Postal Service NO. 7020 1290 0000 6327 2568 on or about November 2, 2020 at 11:16 a.m,, a true
and correct copy of the Notice of Fault Opportunity to Cure; Re: Private Case Number: RE 327 406 200 US along with the
following additional Enclosures wero sent as a reminder and second chance to sufficiently respond and/or sufficiently
perform to cure their dishonor : .

a) Constructive Notice of Conditional Acceptance with Commeretal Affidavit and Fee Schedule;

Private Case Number: RE 327 Sts 200 US dated September 29, 2020 (original sent by USPS Certified Mail No, 7017 3380
0000 9203 2296), b) Proof of Delivery for the nbove stated document from U.S. Postal Service, .

c) Affidavit of Non-Perfoymance, d) Affidavit of Non- Response; and e) Fox Rothschild LLP Insufficient Response
from the Claimant for [:"Respondents”:] aitention; AND

On or about November 2, 2020 at 8:44 a.m., [:*Respandents”:] of WELLS FARGO BANK N.A. received via FEDEX
PRIORITY OVERNIGHT NO. 398400946049; signed for by “T. Wilson” of the “Shipping/Receiving” department, and vie
- Certified Mail U.S. Postal Service NO. 7620 1290 0000 6327 2582 on or about November 2, 2020 at 9:47 a.m., a true and
correct copy of the Notice of Fault Opportunity to Curo; Re: Private Case Number: RE 327 406 200 HS along with the
following additional Enclosures; ne

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Feo Schedule:

Private Case Number: && 327 £06 200 US dated Soptember 29, 2020 (original sent by USPS Certified Mail No. 7017 3380
0000 9203 2302), b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service, c) Affidavit of Non-Performance,

d) Affidavit of Non- Response; and, 2) Fox Rothschild LLP Insufficient Response from the Claimant for
[:"Respondents”:] attention; AND

On or about November 2, 2020 at 9:34 a.m., [:"Respondents”:] of FOX ROTHSCHILD LLP, received via FEDEX
PRIORITY OVERNIGHT NO, 398401207120; signed for by “A. Rosario” of the “Mailroom”, and via Certified Mail U.S.
Postal Service NO, 7020 1290 0000 6327 2582 on or about November 2, 2020 at 2:19 P.n,, @ true and correct copy of the
Notice of Fault Opportunity to Cure; Re: Private Case Number: RE 327 2046 260 US along with the following additional
Enclosures: a) Constructive Notico of Conditional Acceptance with Commercial Affidavit and Fee Schedule;

Private Case Number: R& 327 806 290 US dated September 29, 2020 (original sent by USPS Certified Mail No. 7017 3380
0000 9203 2302), b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service, c) Affidavit of Non-Performance, 4) Affidavit of Non- Response;
and e) Fox Rothschild LLP Insnfficlont Response from the Claimant for [:"Respondents”:] attention; AND

As of today’s date, the 25" day of November, 2020, A.D., ALL {:’Respondents”:] have falled to sufficiently respond to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE
SCHEDULE; Private Case Number: RE 327 506 206 US dated September 29, 2020, and the NOTICE OF FAULT AND
OPPORTUNITY TO CURE dated October 26, 2020; AND

ALL [:’Respondents”:], Agents, Successors, and/or Agents, Successors, and/or Assigns, Jointly, Severely, Corporately, and
Personally are at Fault in this matter; AND

As an operation of law, [:"Respondents”:] by dishonor of the CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 806 200 £15
dated September 29, 2020, the NOTICE OF FAULT AND OPPORTUNITY TO CURE dated October 26, 2020, have

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created a FAULT and have been hereby notified by written via the NOTICE OF [:"DE":}FAULT and CONSENT TO
JUDGMENT dated November 25", 2020,

As an Operation of Law, All {:"Respondents”:]are bound and subject to the Agreement between tho parties through
acceptance of and tacit procurement of the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE, NOTICE OF DEFAULT and OPPORTUNITY TO CURE,
AFFIDAVIT OF NON-RESPONSE and AFFIDAVIT OF NON-PERFORMANCE documents both dated October 26,
2020 and November 10, 2020, and NOTICE OF [:"DE”:|FAULT and CONSENT TO JUDGMENT, roferenced herein
as Private Case Number RE 327 806 20) US. :

Alt [:"Respondents”:] maintain an outstanding judgment of Obligation for Payment, payable to me, Claimant,
:Tarani-Alike: Johnson: in accordance with Private Caso Number i 327 506 200 US in the judgment amount of
Nine-million Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS ($9,568,000,00).

All [’Respondents”:Jhave failed to pay the above agreed upon outstanding judgment amount due and owing to mo, Claimant
despite repeated demands for payment .

All [:"Respondents”:] have agreed that they do not have a valid claim against me, Claimant, :Tarani-Allke: Joluison:, a living
woinan; American Freawoman, Private Civilian of the United States of America; American National, bit not a Citizen of the
United States, Authorized Agent, and Sole Beneficiary of the trust known as TARANIL A. JOHNSON also known as Tarani
Alike Johnson ™ ©, Federal Trademark / 88859594 nlso known as TARANT ALIKE JOHNSON nor against the Collateral
Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131] therefore having no past, present or
future claims against me, Claimant; and

All [/’"Respondents"s] have consented to a Zoro Balance Judgment against Claimant and a Zero Balance Claim against the
Collateral Property known as 2285 Bryn Mawr Avenie Philadelphia, Pennsylvania [near 19131] therefore having no past,
present or future claiin against me, the Claimant, leaving me, :Tarani-Alike: Johnson:, a living woman and Authorized Agent
und Sole Beneficiary for TARANI ALIKE JOHNSON, A PRIVATE TRUST unencumbered, resutting in full and complete

“settlement, past, present and future between All parties.; and

4

All ["Respondents”:] have granted me, Claimant specific Power of Attorney to sign any and All documents deemed
necessary to mark the Alleged account to a zero balance, remove any outstanding judgments, cancel lien against

-colinteral, re-convey title, and cancel the trust which holds the Alleged mortgage, signed by me, Claimant on bebalf of

All [:"Respondente™:],

All [?’Respondents”:Jhave granted Judgment for Theft against ALL [:*Respondents”, Jointly, severally, corporately and
personally, in my favor; Claimant's favor; and have awarded mo, Claimant [:"Pialntiffs) and Real Party in Interest
compensatory damages in the amount of One-million DOLLARS and Zevo CENTS ($1,000,000.00US) for the unreturned
tender of payment that was issued to [7"Respondents”:] on or about April 12, 2018, and an additional amount of One-million
DOLLARS and Zero CENTS ($1,000,000.00US) for the unreturned tender of payment that was issued to [:”’Respondents™]
on or about April 27, 2018; for a sum total of Fwo-million DOLLARS and Zero CENTS ($2,000,000.00US) in
compensatory damages, plus costs and interest.

An Agreement between All [:"Respondents”s] and 1, Claimant were reached, granting Judgment for Fraudulent
Misrepresentation and Unjust Enrichment against ALL [:*Respondents”:], jointly, severally, corporately and personally,
in my favor; Clainant’s favor; and award me; Claimant, treble-dainnges for antitrust violations in the amount of Six-
million DOLLARS and Zero CENTS ($6,000,000,00US) in Punitive Damages, plus costs and interest.

An Agreement between All [;*Respondents”:] and I, the Claimant were reached to enforce the Clayton Antitrust Act of
1914 and to grant judgment to me, Claimant [:"Plaintiff’:] for the fraudulont conveyance of language and conspiracy
to commit fraudulent conveyance of tangunge for Defendant’s own profit by unlawfolly demanding Three-hundred
Ninety-two Thousand DOLLARS and Zero CENTS ($392,000.00US) or by taking Claimant's collateral property
described-within; and award me, Claimant treble-damages for antitrust violations in the amount of One-million Five-
hundred SIxty-Eight DOLLARS and Zero CENTS (§1,568,000.00) in punitive damages, plus costs and Interest,

All [?’Respondents”:] consented to a commerelal Ilen against All [:”Respondents”:] personal assets including but not
limited to All real property, All personal property (excluding weddIng photos and rings), All [:"Respondent’s”s]
Errora and Omissions Insurance Policy, All {:"Respondent’s”:] Liabillty Insurance Policy, All [:’Respondents”:]
Public Bond; and

All [:’Respondents”:] have consented to garnishments of Wages, Fees, Commissions, Bank Accounts, and Retirement
Accounts; and

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22. All [:"Respondents":] have consented to interest charges and adjustments until full balance is pald; and

23. . All [:"Respondents”:] have consented to an adjusted balance to be paid to me, Claimant in the amount totaling Nine-million
Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS ($9,568,000.00),

24. Pursunnt to the agreement between tho partios, and the consent to judgment gvantod to me, Claimant by and for All
(*Respondents”:] and the authority vested in me, the Claimant, as appointed Powor-of-Attorney by and for All
[:"Respondents”:) as outlined in the Private Caso Number 2 327 806 200 US, I hereby exercise my authority to consent to
Judginent against All [:’"Respondents”:}.

25, This failure to respond, and now [:"De":) fault, is as on operation of law, [:"Respondent’s":] Final admission and agreement
to All statoments and claims made by Claimant through tacit procuration pertaining to the CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE;

Private Case Nambor: KE 327 506 208 US dated September 29, 2020, and the NOTICE OF FAULT AND
OPPORTUNITY TO CURE dated October 26, 2020 executed by :Tarani-Allke: Johnson, the entire whole matter is res
Judicaia and siare decisis and {:"Respondents”:] are hereby estopped from proceeding in any actions, matters, court cases,
and collections against Claimant or Claimants property due to [:"Respondents”:] failure to respond.

In Witness Whereof, | hereunto set my hand and seal on this 25th day of November, 2020 and hereby certify All the staténibnts nade
above are true, correct and complete, e we

= Bepressly Reseeving
By; sa veral¥g ER ba tt NG car
STarani-Alike: Johnson:, America Freewoman z Propet cance eae’ SVK

Private Civilian of the United States of America; America National “2 z
but not a Citizen af the United States e <

~ Pelvate Civillan of the Commonwealth of Pennsylvania “en ae
Special and Private Inhabitant, domiciled in Philadelphia County °°" **°
All Rights Reserved Without Prejudice

Verification and Acknowledgement

United States of Amerlen )
Commonwealth of Pennsylvania ) 8. a.
Philadelphia County )

Subscribed and sworn (or affirmed) before me on this as day of November, 2020,
By: :Tarani-Alike: Johnson:

PersonAlly known to me.

Witness i

(name and address ness)

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~ JURAT

A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of
that document.

Coitnmonwealth of Pennsylvania
County of Delaware

Subscribed and sworn to (or affirmed) before me on this as day of Nevermore o_ - QISQO _ by .
i-Alike: Jo proved to me on the basis of satisfactory evidence to be the person(s) who
sppomet before me.

"Wroser Cy. nd Mela Seah al

Notary Public fér the Commonwealtit of Pennsylvania (Seal)

My commission cviekeslpail. 2 GG,

in

“wren heen ey nate

Delaware
My Commission Eapnce A 21, 2001.
Commission Number 1053}45

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F [ : ‘

By: johnson, tarani-alike, General Executrix, Sole Beneficial Owner,
Attorney-in-Fact, and “Authorized Representative” for
TARANI ALIKE JOHNSON, a Cestui Qui Trust, and Estate in The City of New York
DEPARTMENT OF HEALTH AND MENTAL HYGIENE;
File Number.: 156-76-416831; aka TARANI A. JOHNSON aka
Tarant Alike Johnson ™ ©, Federal Trademark # 88859594 -

Amicus Curiae, Sui Juris; Not Pro Se; In Propria Persona

CLAIM [:”AFFIDAVIT:”] OF OBLIGATION

COMMERCIAL LIEN

(This is a Verified Plain Statement of Facts) _ Som tS
November 25", 2020, A.D.

Maxims:

All men and. women know that the foundation of law and commerce exists in the telling of the truth, and nothing
but the truth.

Truth, as a valid statement of reality, is sovereign in commerce.

An unrebutted affidavit stands as truth in commerce.

An unrebutted affidavit is acted upon as the judgment in commerce, «

Guaranteed- All men shall have a remedy by the due course of law. If a remedy does not exist, or if the remedy has
been subverted, then one may create a remedy for themselves - and endow it with credibility by expressing it in
their affidavit.

_ (Ignorance of the law might be an excuse, but it is not a valid reason for the commission of a.crime when the law is
easily and readily available to anyone making a reasonable effort to study the law.)

All corporate government is based upon Commercial Affidavits, Commercial Contracts, Commercial Liens and
Commercial Distresses. Hence, governments cannot exercise the power to expunge commercial processes.

‘The Legitimate Political Power of a corporate entity is absolutely dependent upon its possession of commercial
Bonds against Public Hazard, /
No Bond means no responsibility, means no power of Official signature, means no real corporate political power

_ and means no privilege to operate statutes as the corporate vehicle.

CLAIM [PAFFIDAVIT?"] OF OBLIGATION COMMERCIAL LIEN
Private Case Number RE 327 506 200 US *
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The Corporate Legal Power is secondary to Commercial Guarantors. Case law is not a responsible substitute for a
Bond,

Municipal corporations, which include cities, counties, states and national governments, have no commercial reality
without bonding of the entity, its vehicle (statutes), and its effects (the execution of its rulings).

In commerce, it is a felony for the Officer/Public Office to not receive and report a Claim to its Bonding Company
— and it is a felony for the agent of a Bonding Company to not pay the Claim.

If a bonding Company does not get a malfeasant public official prosecuted for criminal malpractice within (60)
days, then it must pay the full face value of a defaulted Lien process at (90) days.

Except for a Jury, it is also a fatal offence for any person, even a Judge, to impair or to expunge, without a Counter-
Affidavit, any Affidavit or any commercial process based upon an Affidavit.

Judicial non-jury commercial judgments and orders originate from a limited liability entity called a municipal
corporation — hence must be reinforced by a Commercial Affidavit and a Commercial Liability Bond.

A foreclosure by a summary judgment (non-jury) without a commercial bond is a violation of commercial law.
Govemments cannot make unbounded rulings or statutes which control commerce, free-enterprise citizens, or sole
proprietorships without suspending commerce by a general declaration of martial law.

It is tax fraud to use Courts to settle a dispute/controversy which could be settled peacefully, outside of or without
the Court.

An official (officer of the court, policeman, etc.) must demonstrate that he/she is individually bonded in order to
use a summary process.

An official who impairs, debauches, voids or abridges an obligation of contract, or the effect of a commercial lien
without proper cause, becomes a lien debtor — and his/her property becomes forfeited as the pledge to secure the
lien, Pound breach (breach of impoundment) and rescue is a felony.

It is against the law for a Judge to summarily remove, dismiss, dissolve or diminish a Commercial Lien. Only Lien
Claimant or a Jury can dissolve a Commercial Lien.

Notice to agent is notice to principal; notice to principal is notice to agent.

PUBLIC HAZARD BONDING OF CORPORATE AGENT: All officials are required by

Federal, State and Municipal Law to provide the name, address and telephone number of their public hazard and
malpractice bonding company, the policy number of the bond and if required, a copy of the policy describing the
bonding coverage of their specific job performance.

Failure to provide this information constitutes corporate and limited liability insurance fraud (15 USC) and is prim-
a-facie evidence and grounds to impose a lien upon the official, personally, to secure their public oath and service

of office.

CLAIM [:’AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
Private Case Number RE 327 506 200 US
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[:°63C Am.Jur.2d, Public Officers and Employees, §247

“As expressed otherwise, the powers delegated to a public officer are held in trust for the people and
are to be exercised in behalf of the government or of all citizens who may need the intervention of the
officer.

[1]Furthermore, the view has been expressed that all public officers, within whatever branch and
whatever level of government, and whatever be their private vocations, are trustees of the people,
[2]and accordingly labor under every disability and prohibition imposed by law upon trustees relative
to the making of personal financial gain from a discharge of their trusts...

[3] and owes a fiduciary duty to the public...

[4] It has been said that the fiduciary responsibilities of a public officer cannot be less than those of a
private individual. ,

[5] Furthermore, it has been stated that any enterprise undertaken by the public official who tends to
weaken public confidence and undermine the sense of security for individual rights is against public
policy. Fraud in its elementary common law sense of deceit-and this is one of the meanings that fraud
bears [483 U. S. 372] in the statute.

See United States v. Dial, 757 F.2d 163, 168 (7th Cir 1985) includes the deliberate concealment of
material information in a setting of fiduciary obligation. A public official is a fiduciary toward the
‘public ... and if he deliberately conceals material information from them, he is guilty of fraud. McNally
v United States 483 U.S. 350 (1987) [Emphasis added]:”]

Claimant accepts Oaths sworn by all interested parties to uphold the Laws of the United States Constitution and
the organic Constitution 1776, 1787, 1968.

f: "Title §, US Code § 556(d), § 557, § 706: Courts lose jurisdiction for failure to follow Due Process Law.
The Supremacy Clause appears in Article VI of the United States Constitution.
It establishes the Constitution, Federal Statutes, and U.S. treaties as ‘the supreme law of the land.’ State judges

are required to uphold it, even if state laws or Constitutions conflict with it.:”]

CLAIM [:°-AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
Private Case Number RE 327 506 200 US
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[:?TITLE 42 § 12202 A State shall not be immune.:”]
[:°TITLE 15 § 1122 No Immunity to state actors.:”]

_ [:° TITLE 42 § 1983, 1985 & 1986 which he had knowledge were about to occur and power to prevent, a
deprivation of constitutional rights.
Public servants have no immunity from Claimant in a claim for damages or for jail time in either your private or

public servant capacity.:”]

[:°TITLE § § 3331, You have sworn not to violate the Constitution of the United States of America.
Unless public servant can provide Claimant with the witness against him, which as a public servant you cannot

do.:”}

[:?TITLE $ PART Hl Subpart B CHAPTER 33 SUBCHAPTER IZ § 3331 Oath of office.
An individual, except the President, elected or appointed to an office of honor or profit in the civil service or
uniformed services, shall take the following oath...support and defend the Constitution of the United States

wy

against ALL enemies, foreign and domestic;:

[:°TITLE 28 PART I CHAPTER 21 § 453 Oaths of justices and judges.

Each justice or judge of the United States shall take the following oath or affirmation before performing the duties
of his office: “I, <JUDGE>, do solemnly swear (or affirm) that I will administer justice without respect to
persons, and do equal right to the poor and to the rich, and that I will faithfully and impartially discharge and
perform all the duties incumbent upon me as Justice under the Constitution and laws of the United States. So help

me God.":”]

[:°TITLE 28 PART I CHAPTER 21 § 454 Practice of law by justices and judges.
Any justice or judge appointed under the authority of the United States who engages in the practice of law is

guilty of a high misdemeanor.:”]

[:?TITLE 18 PART I CHAPTER 93 § 1918 Disloyalty and asserting the right to strike against the Government.
A high crime is equal to a felony & a felony is any term greater than I year.:"]

CLAIM [:"AFFIDAVIT:”| OF OBLIGATION COMMERCIAL LIEN
Private Case Number RE 327 506 200 US
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[:?TITLE § § 7311 an individual who violates this provision may not accept or hold a position in the Government
of the United States or the government of the District of Columbia.

Owen v. Independence 100 Vol. Supreme Court Reports. 1398: (1982). Main v. Thiboutot 100 Vol. Supreme
Court Reports. 2502: (1982).

The right of action created by statute relating to deprivation under color of law, ofa right secured by the
constitution and the laws of the United States and comes claims which are based solely on statutory violations of
Federal Law and applied to the claim that claimants had been deprived of their rights, in some capacity, to which
they were entitled.

Officers of the court have no immunity when violating constitutional right, from liability (When any public servant

violates your rights they do so at their own peril.) :”"]

[:°TITLE 28 PART IV CHAPTER 85 § 1343.

1. To recover damages for injury to his person or property, or because of the deprivation of any right or privilege
of a citizen of the United States, by any act done in furtherance of any conspiracy mentioned in Title 42 §
1985;:"]

[:?18 U.S. Code § 2076 - Clerk of United States District Court.
Whoever, being a clerk of a district court of the United States, willfully refuses or neglects to make or forward any
report, certificate, statement, or document as required by law, shall be fined under this title or imprisoned not

more than one year, or both.:”]

[:? TITLE 18 PART I CHAPTER 101 § 2071 Concealment, removal, or mutilation generally.

(a) Whoever willfully and unlawfully conceals, removes, mutilates, obliterates, or destroys, or attempts to do so,
or, with intent to do so takes and carries away any record, proceeding, map, book, paper, document, or other
thing, filed or deposited with any clerk or officer of any court of the United States, or in any public office, or with
any judicial or public officer of the United States, shall be fined under this title or imprisoned not more than three
years, or both.

(b) Whoever, having the custody of any such record, proceeding, map, book, document, paper, or other thing,
willfully and unlawfully conceals, removes, mutilates, obliterates, falsifies, or destroys the same, shall be fined
under this title or imprisoned not more than three years, or both; and shall forfeit his office and be disqualified
from holding any office under the United States. As used in this subsection, the term ‘office’ does not include the
office held by any person as a retired officer of the Armed Forces of the United States.:”]

CLAIM [:"AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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. {:Federal Rules of Civil Procedure Rule 25. Filing and Service.:”]

f:(4 Clerk’s Refusal of Documents. The clerk must not refuse to accept for filing any paper presented for that
purpose solely because it is not presented in proper form as required by these rules or by any local rule or
practice. Federal Rules of Civil Procedure Rule 5.1. Constitutional Challenge to a Statute - Notice, Certification,
and Intervention.

(a) Notice by a Party. A party that files a pleading, written motion, or other paper drawing into question the
constitutionality of a federal or state statute must promptly: (d) No Forfeiture. A party’s failure to file and serve
the notice, or the court's failure to certify, does not forfeit a constitutional claim or defense that is otherwise

timely asserted.:”"]

[:?There are no LICENSED attorneys in the State of Pennsylvania practicing law. State BAR number is:
1. The ‘STATE BAR’ CARD IS NOT A LICENSE, it is voluntary:

2. Itis a ‘UNION DUES CARD’

3. The ‘BAR’ is a ‘professional association. ’

4. Actors Union, Painters Union, etc, are associations.

5, Associations (e.g. AMA for doctors), do not issue licenses.

6. State BAR is a non-governmental private association. Not a branch of the State of. ‘Pennsylvania.:”]

[:?TITLE 28 App. > FEDERAL > TITLE > Rule 46. Attorneys ‘I, (attorney name), do solemnly swear for
affirm] that I will conduct myself as an attorney and counselor of this court, uprightly and according to law; and
that I will support the Constitution of the United States.’

It is fraud on the United States of America, fraud on the court and is being aided and abetted by the BAR
MEMBER as ‘attorney's’ ABA Model Rules of Professional Conduct Rule 1.2: Scope of Representation Rule 1.2
(d) A lawyer shall not counsel a client to engage, or assist a client, in conduct that the lawyer knows IS
CRIMINAL OR FRAUDULENT.:”]

[:”’Donnelly v. Dechristoforo, 1974.SCT.41709 hitp:/Avww.versuslaw.com J 56; 416 U.S, 637 (1974) Mr.
Justice Douglas, dissenting.

Federal Rules of Evidence and State Rules of Evidence... there must be a competent Jirst hand

witness (a body). There has to be a real person making the complaint and bringing evidence before the court.

Corporations are paper and can't testify.:”]

CLAIM [-°AFFIDAVIT:"] OF OBLIGATION COMMERCIAL LIEN
Private Case Number RE 327 506 200 US
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[:? ‘The prosecutor is not a witness; and he should not be permitted to add to the record either by subtle or gross
improprieties. Those who have experienced the full thrust of the power of government when leveled against them

know that the only protection the citizen has is in the requirement for a fair trial.':"]

[“: TITLE 18 § 2 Principals aids, abets.
(a) Whoever commits an offense against the United States or aids, abets, counsels, commands, induces or
procures its commission, is punishable as a principal. (b) Whoever willfully causes an act to be done which if

directly performed by him or another would be an offense against the United States, is punishable as a

principal.:”]

[:°TITLE 18 § 4 Misprision of felony.

Whoever, having knowledge of the actual commission of a felony cognizable by a court of the United States,
conceals and does not as soon as possible make known the same to some judge or other person in civil or military
authority under the United States, shall be fined under this title or imprisoned not more than three years, or both,
Copyright Violation.

UCC Violation.

18 U.S. Code 1091 (a) (6) Genocide.

18 US, Code 1621 (2) Perjury generally.

26 U.S. Code 7206 (1) Fraud and False statements.

18 U.S. Code 2071 (a) (b) Concealment, removal or mutilation generally.
28 US. Code 4101 (1) Defamation.

28 US. Code 453 You must obey the constitution.

By the 7th amendment, rights are protected with the right to a Common Law Grand jury trial.

Case Law William Marbury vs James Madison.

The Constitution of the United States is the Supreme Law of the Land, I am the beneficiary.

18 USC 1584 Sale into involuntary Servitude

18 USC 1343 Wire Fraud

Kidnapping w. aggravated assault

Withhold records:”}

[:°15 U.S. Code § 1 - Trusts, etc., in restraint of trade illegal; penalty

Every contract, combination in the form of trust or otherwise, or conspiracy, in restraint of trade or conimerce

among the several States, or with foreign nations, is declared to be illegal. Every person who shall make any

CLAIM [:’AFFIDAVIT:"}] OF OBLIGATION COMMERCIAL LIEN
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contract or engage in any combination or conspiracy hereby declared to be illegal shall be deemed guilty ofa
felony, and, on conviction thereof, shall be punished by fine not exceeding $100,000,000 if a corporation, or, if

any other person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said punishments, in the

discretion of the court.:”7]

[:15 U.S. Code § 2 - Monopolizing trade a felony; penalty

Every person who shall monopolize, or attempt to monopolize, or combine or conspire with any other person or
persons, to monopolize any part of the trade or commerce among the several States, or with foreign nations, shall
be deemed guilty of a felony, and, on conviction thereof, shall be punished by fine not exceeding $100,000,000 ifa
corporation, or, if any other person, $1,000,000, or by imprisonment not exceeding 10 years, or by both said

punishments, in the discretion of the court.:”]

Parties:
Lien Claimant:

:Tarani-Alike: Johnson:, a living woman; American Freewoman
Private Citizen of the United States of America; American National
Authorized Agent, and Sole Beneficiary of the trust known as
TARANI A. JOHNSON also known as

Tarani Alike Johnson ™©, Federal Trademark # 88859594

also known as TARANI ALIKE JOHNSON, A PRIVATE TRUST
and Tarani Alike Johnson Estate Living Trust (eTAJ156US)

in. care of: :Tarani-Alike: Johnson:

2285 Bryn Mawr Avenue

Philadelphia [19131] Pennsylvania

Lien Debtors:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Sarah E, Powers, Acting as SARAH E, POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,

Pennsylvania [19053]; and

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William MLE. Powers, IIL, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Edward W. Kirn, If, Acting as EDWARD W. KIRN, II ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Sarah K, McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex,
Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
[08057]; and

Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057}; and

Edward W. Kirn, III, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey

[08057]; and

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Jeanette Jacqueline O’Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mare Highway
Moorestown, New Jersey [08057]; and

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Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New
Jersey [08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown,
New Jersey [08057]; and

Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
[08057]; and

Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
{08057]; and

William MLE. Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New
Jersey [08057]; and

William MLE. Powers, Jr., Acting as WILLIAM ME. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mare Highway Moorestown,
New Jersey [08057]; and

William M.E. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057], and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania

[19103]; and

Catherine T. Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ryant T. Becker, Acting as RYAN T. BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL S. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M, Buchter, Acting as NATHAN M, BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

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Maura L. Burke, Acting as MAURA L. BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.

_ and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO

BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,

Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Ian M, Comisky, Acting as [AN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

(19103); and

Andrew S, Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David A, Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
j19103]; and

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Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Tristram R. Fall, IM, Acting as TRISTRAM R. FALL, IIT ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L. Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania

[19103]; and

Barbara R. Flacker, Acting as BARBARA. R. FLACKER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David M. Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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John L, Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania [19103]; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Gary A. Hecht, Acting as GARY A, HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kelley B. Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

CLAIM [:’AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and
Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK,

N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania (19103); and

Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B, Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Michael J. Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Olufunke O. Leroy, Acting as OLUFUNKE 0. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and
Jane E. Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pemnsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Jason C, Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

James A. Matthews III, Acting as JAMES A. MATTHEWS II ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In cate of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

CLAIM ["AFFIDAVIT?"] OF OBLIGATION COMMERCIAL LIEN
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Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Lauren P. McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,

Pennsylvania [19103]; and

Ian D. Meklinsky, Acting as JAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania

[19103]; and

Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and
Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania {19103}; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Carrie B, Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ramon R. Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

CLAIM [:”AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

{19103}; and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian J. O'Neill, Acting as BRIAN J. O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F, Posillico, Acting as JOSEPH F, POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103); and
Eric E. Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

(19103); and

Abraham C. Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Bradley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Michelle S. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jacqueline G, Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Silow, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

19103]; and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

David B. Snyder, Acting as DAVID B. SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

CLAIM [:"AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Robert S. Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter J. Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

{19103}; and

Michael K, Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

CLAIM [:"APFIDAVIT:"] OF OBLIGATION COMMERCIAL LIEN
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Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

Beth L. Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Gregory B. Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20“ Floor, Philadelphia,
Pennsylvania [19103]; and .

Ronald L. Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
999 Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and
ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In caxe of
321 North Clark Street, Suite 1600, Chicago, Ilinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2501 North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1225 17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
747 Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

CLAIM ["AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
230 North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina {29601}, and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of

10250 Constellation Boulevard, Suite 900, Los Angeles, Califomia [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
101 Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
BNY Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania {15219}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
434 Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1001 Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
8300 Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2700 Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1030 15 Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
777 South 1700 West Tower, West Palm Beach, Florida [33401]; and

CLAIM [:"AFFIDAV 1¥:?} OF OBLIGATION COMMERCIAL LIEN
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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
919 North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, Califomia [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT,
CHIEF FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S, Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, Jn Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK. A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION
and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California {94104}: and

David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Amanda G, Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104];and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Cate of 420 Montgomery Street,
San Francisco, California [94104]; and

CLAIM [?°AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Julie L, Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN,
SENIOR EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, Califomia [94104]; and

Michael S. Weinbach, Acting as MICHAEL S. WEINBACH, SENIOR EVP, CEO OF CONSUMER
LENDING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE &
INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; AND

EXPERIAN CORPORATION; AND

TRANSUNION CORPORATION; AND

JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

Allegations:

Allegations arise from an Agreement, herein referenced as Private Case Number: RE 327 506 200 US, which
was met between the parties for the consent to judgment against RESPONDENTS and the settlement, closure, and
dismissal of ANY and ALL MATTERS including, but not limited to outstanding past CLAIMS, present

CLAIM [ AFFIDAVIT”) OF OBLIGATION COMMERCIAL LIEN
Private Case Number RE 327 506 200 US
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CLAIMS, and future CLAIMS against me, Claimant; :tarani-alike: johnson:, in regards to ANY and ALL

accounts relating to, but not limited to:

WORLD SAVINGS BANK, FSB, Mortgage Number 0045821642, also known as WORLD SAVINGS REMIC
33, also known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS”), also known as
WACHOVIA BANK, N.A., also known as WACHOVIA MORTGAGE, also known as WACHOVIA MORTGAGE
CORPORATION, Mortgage Number 4831607, also known as WELLS FARGO BANK, N.A., also known as WELLS
FARGO MORTGAGE, also known as Civil Action Case No, 100401188 [2010] COURT OF COMMON PLEAS
PHILADELPHIA COUNTY COMMONWEALTH OF PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case
No. 12-20451-MDC [2012] UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENN: SYLVANIA,
also known as Chapter 7 BANKRUPTCY Case No. 12-20451-MDC [2013] UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No, 18-17342-MDC [2018]
UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as Appeal Case
No. 19 CV 3620 UNITED STATES DISTRICT COURT FOR THE EASTERN OF PENNSYLVANIA in the
amount of Eight Hundred Sixteen Thousand Eight Hundred Ninety-Seven DOLLARS and Eighty Six CENTS (8 16,897.86).
Original Amount of Three Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US).

1. On or about October 15, 2020 at 5:10 p.m., RESPONDENTS of POWERS KIRN & ASSOCIATES LLC
received and accepted a true and correct copy of CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE WITH COMMERCIAL AFFIDAVIT AND FEE SCHEDULE; Private Case
Number: RE 327 506 200 US dated September 29, 2020, by USPS Certified Mail No. 7017 3380 0000
9203 2296 from me, the Claimant for RESPONDENTS attention; AND

2. On or about October 6, 2020 at 1:04 p.m., RESPONDENT’S of FOX ROTHSCHILD, LLP received and
accepted a true and correct copy of CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE WITH COMMERCIAL AFFIDAVIT AND FEE SCHEDULE; Private Case
Number: RE 327 506 200 US dated September 29, 2020, by USPS Certified Mail No. 7017 3380 0000
9203 2302 from me, the Claimant for RESPONDENTS? attention; AND

3. RESPONDENTS of FOX ROTHSCHILD, LLP has agreed, by way of written expressed notice dated
October 19, 2020 sent to Claimant, to accept notice for and respond on behalf of RESPONDENTS
WELLS FARGO BANK, N. A.;

AND

4, As of the 26" day of October, 2020, RESPONDENTS have not sufficiently responded to my demands as
Claimant, on a point-by-point basis, via swom affidavit, under RESPONDENTS?’ full commercial
liability, signing under penalty of perjury, as outlined and accepted in the Agreement named
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL

AFFIDAVIT and FEE SCHEDULE; referenced herein as Private Case Number: RE 327 506 200 US
dated September 29, 2020,
CLAIM {."AFFIDAVIT:"] OF OBLIGATION COMMERCTAL LIEN

Private Case Number RE 327 506 200 US
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AND
On or about November 2, 2020 at 11:28 a.m., RESPONDENTS of POWERS KIRN & ASSOCIATES

LLC received via FEDEX PRIORITY OVERNIGHT NO, 398401054737, signed for, and accepted by
“S Gonzales” at the “Receptionist/Front Desk”, and via Certified Mail U.S. Postal Service NO.
1020 1290 0000 6327 2568 on or about November 2, 2020 at 11:16 a.m., atme and correct copy of the
NOTICE OF FAULT OPPORTUNITY TO CURE; Re: Private Case Number: RE 327 506 200 US
along with the following additional Enclosures were sent as a reminder and second chance to sufficiently
respond and/or sufficiently perform to cure their dishonor:
a) CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE WITH COMMERCIAL
AFFIDAVIT AND FEE SCHEDULE;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2296),
b) Proof of Delivery for the above stated document from U.S. Postal Service
c) Affidavit of Non-Performance
d) Affidavit of Non- Response,
e) Fox Rothschild LLP Insufficient Response from the me, the Claimant for RESPONDENTS
attention;
AND
On or about November 2, 2020 at 8:44 a.m., “RESPONDENTS” of WELLS FARGO BANK N.A.
received via FEDEX PRIORITY OVERNIGHT NO. 398400946049; signed for by “T, Wilson” of the
“Shipping/Receiving” department, and via Certified Mail U.S. Postal Service NO. 7020 1290 0600 6327
2582 on or about November 2, 2020 at 9:47 a.m., a true and correct copy of the NOTICE OF FAULT
OPPORTUNITY TO CURE; Re: Private Case Number: RE 327 506 200 US along with the following
additional Enclosures:
a) CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE WITH COMMERCIAL
AFFIDAVIT AND FEE SCHEDULE;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0600 9203 2302),
b) PROOF OF DELIVERY FOR THE CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE WITH COMMERCIAL AFFIDAVIT AND FEE SCHEDULE FROM USS. Postal
Service
c) AFFIDAVIT OF NON-PERFORMANCE
d) AFFIDAVIT OF NON- RESPONSE; and

CLAIM (-"AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN

Private Case Number RE 327 506 200 US
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e) Fox Rothschild LLP Insufficient Response from me, the Claimant for RESPONDENTS attention;
AND

On or about November 2, 2020 at 9:34 a.m., RESPONDENTS of FOX ROTHSCHILD LLP. received via
FEDEX PRIORITY OVERNIGHT NO. 398401207120; signed for by “A. Rosario” of the “Mailroom”,
and via Certified Mail U.S. Postal Service No. 7020 1290 0000 6327 2582 on or about November 2, 2020
at 2:19 p.m., a true and correct copy of the NOTICE OF FAULT OPPORTUNITY TO CURE;

Re: Private Case Number: RE 327 506 200 US along with the following additional Enclosures:

a) CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE WITH COMMERCIAL
AFFIDAVIT AND FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September
29, 2020 (original sent by USPS Certified Mail No. 7017 3380 0000 9203 2302),

b) Proof of Delivery for the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE from US. Postal Service

c) AFFIDAVIT OF NON-PERFORMANCE

d) AFFIDAVIT OF NON- RESPONSE; and

e) Fox Rothschild LLP Insufficient Response from me, the Claimant for RESPONDENTS attention;
AND

As of today’s day, the 3% day of December, 2020, ALL RESPONDENTS have failed to sufficiently
respond to Claimant’s demands, on a point-by-point basis, via sworn affidavit, under RESPONDENTS’
full commercial liability, signing under penalty of pexjury, as outlined and accepted in the Agreement
named CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29,
2.020, nor the NOTICE OF FAULT AND OPPORTUNITY TO CURE dated October 26, 2020; AND

ALL RESPONDENTS, Agents, Successors, and/or Agents, Successors, and/or Assigns, Jointly, Severely,
Corporately, and Personally are at Fault in this matter,

AND

As an operation of law, RESPONDENTS by dishonor of the CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE,
Private Case Number: RE 327 506 200 US dated September 29, 2020, and the NOTICE OF FAULT
AND OPPORTUNITY TO CURE dated October 26, 2020, have created a [:?DE”:]FAULT and
thereby have given me, the Claimant, Consent to Judgment

This failure to respond, and now [:°DE”:]FAULT, is as an operation of law, RESPONDENTS’ FINAL
admission and agreement to all statements and claims made by me, the Claimant, through facit
CLAIM [:"AFFIDAVIT:"] OF OBLIGATION COMMERCIAL LIEN

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procuration pertaining to the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE
with COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US
dated September 29, 2020, and the NOTICE OF FAULT AND OPPORTUNITY TO CURE dated
October 26, 2020 executed by :tarani-alike: johnson:, the entire whole matter is res judicata and sfare

decisis and Respondents are in estoppel by RESPONDENTS?’ failure to respond.

ALL RESPONDENTS hereby have been permanently and irrevocably Estopped from bringing any and
all claims, legal actions, orders, demands, lawsuits, costs, levies, penalties, damages, interests, liens, and
expenses whatsoever, against me, the CLAIMANT and that of my property; the collateral property known as
2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131)

ALL RESPONDENTS have consented to a Zero Balance Judgment against Claimant and a Zero Balance
Claim against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania
[near 19131] therefore having no past, present or future claim against me, the Claimant leaving me,
-Tarani-Alike: Johnson:, a living woman and Authorized Agent and Sole Beneficiary for TARANI
ALIKE JOHNSON, A PRIVATE TRUST unencumbered, resulting in full and complete settlement, past,
present and future between all parties.; and

ALL RESPONDENTS have authorized and appointed me the authority of Power of Attorney, according
to their own adopted terms, by the acceptance of the CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE, as
well as through their Tacit Acquiescence and agreement by non-response of said document and Tacit
Acquiescence and agreement by non-response to the subsequent NOTICE OF FAULT and
OPPORTUNITY TO CURE, acceptance of AFFIDAVIT OF NON-RESPONSE and AFFIDAVIT
OF NON-PERFORMANCE both dated on October 26, 2020 and November 10, 2020, and NOTICE
OF [:°DE”:]FAULT and CONSENT TO JUDGMENT and CLAIM [:”AFFIDAVIT”:} OF
[:"DE”:|FAULT documents which were also sent and accepted by ALL RESPONDENTS, referenced
herein as Private Case Number RE 327 506 200 US.

An Averment of [:"De”:]Fault is attached hereto.

ALL RESPONDENTS maintain an outstanding judgment of Obligation for Payment, payable to me, the
Claimant, :tarani-alike: johnson: in accordance with the Agreement, Private Case Number
RE 327 $06 200 US, in the judgment amount of Nine-million Five-hundred Sixty-Eight Thousand
DOLLARS and Zero CENTS ($9,568,000.00).

CLAIM [°AFFIDAVIT:*] OP OBLIGATION COMMERCIAL LIEN

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18, ALL RESPONDENTS have failed to pay the above agreed upon outstanding judgment amount due and
owing to me, the Claimant, despite repeated demands by me for payment.

19, Judgment has not been granted by confession against a natural person in connection with a consumer

credit transaction, but by an administrative Agreement.

20. ALL RESPONDENTS have and continue to cause me; :tarani-alike: johnson:, a living natural
freewoman; a Private American National Civilian, Special and Private Inhabitant on the land for the

Pennsylvania Commonwealth; a financial injury.

The entities, and/or Agents, and/or Individuals, and/or Successors, and/or Assigns that are listed above, by their
own records on file and records described herein, prove that in addition to their failure to perform according to the
Agreement between the parties, herein referenced as Private Case Number: RE 327 506 200 US, they are also
guilty of /:” Title 15 USC 1&2, Title 18 USC 241, Title 18 USC 242 and Title 42 USC 1983:”].

Proof of Allegations
~ See CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE (attached)

- See AFFIDAVIT OF NON-RESPONSE(s) (attached)
- See AFFIDAVIT OF NON-PERFORMANCE(s) (attached)
- See NOTICE OF FAULT and OPPORTUNITY TO CURE (attached)

- See NOTICE OF [:”DE:”|FAULT and CONSENT TO JUDGMENT (AMENDMENT TO NOTICE OF
DEFAULT and CONSENT TO JUDGEMENT) (attached)

- See NOTICE; PRAECIPE; CLAIM: ESTOPPEL BY ACQUIESCENCE (FOR NON-RESPONSE)
(attached)

See PROOF OF DELIVERY of true certified copies of CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE, NOTICE OF FAULT and
OPPORTUNITY TO CURE, AFFIDAVITS OF NON-PREFORMANCE and NON-RESPONSE dated
October 26th 2020, and FOX ROTHSCHILD LLP INSUFFICIENT RESPONSE dated October 19th,
2020 via USPS Certified Mail 7020 1290 0000 6327 2568, 7020 1290 0000 6327 2582, and 7020 1290
0000 6327 2575 (attached)

CLAIM ["AFFIDAVIT.”] OF OBLIGATION COMMERCIAL LIEN
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- See PROOF OF DELIVERY of the true certified copies of CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE, NOTICE
OF FAULT and OPPORTUNITY TO CURE, AFFIDAVITS OF NON-PREFORMANCE and NON-
RESPONSE dated October 26", 2020, and FOX ROTHSCHILD LLP INSUFFICIENT RESPONSE
‘dated October 19th, 2020 via FEDEX PRIORITY OVERNIGHT personal delivery No. 398400946049,
No. 398401054737, and No. 398401207120; (attached)

~ See PROOF OF DELIVERY of the true certified copies of NOTICE OF [:”DE:”]FAULT and CONSENT
TO JUDGMENT (AMENDMENT TO NOTICE OF DEFAULT and CONSENT TO JUDGEMENT)
dated November 25", 2020 via USPS Certified Mail 7019 0700 0000 6633 7973, 7019 0700 0000 6633
7966, and 7019 0700 0000 6633 7980 (attached)

Ledgering:

The execution of any action without first providing proof and the required rebuttal of the affidavit herein,
constitutes injury and harm and does make ALL Respondent, their Agents, Successors, and/or Assigns thereof,
jointly and severally, corporately and personally liable on a claim that may be liquidated against Respondents’
public hazard bond, wages, earnings, rents, accounts, property, assets, and income from every source. Any
insufficient response shall incur a liability payable to Claimant upon demand for One-hundred Thousand
DOLLARS and Zero CENTS ($100,000.00US) per count. Failure to comply or willfully ignoring this notice by
your action(s) does constitute harm, injury, and infringes upon Claimant’s Rights, The execution of any action
thereby causing injury or harm without first providing the required proof or response makes you liable for One-
hundred Thousand DOLLARS and Zero CENTS ($100,000.00US) for each provision that was not satisfied -
including but not limited to each and every negative credit reporting with Credit Bureaus, including but not
limited to EXPERIAN, EQUIFAX, and TRANSUNION.

The failure to respond with other than the demanded verified proof and full, whole and complete accounting, via
sworn affidavit, under [:"RESPONDENTS”:)’ full and complete commercial liability, signing under penalty of
perjury, has been documented and memorialized with AFFIDAVIT OF NON-RESPONSE(s) and AFFIDAVIT
OF NON-PERFORMANCE(s), NOTICE OF {:"DE”:|FAULT and CONSENT TO JUDGMENT, CLAIM
[:"AFFIDAVIT”:] OF [:°"DE”:]FAULT, and has constituted an Agreement between ALL RESPONDENTS,
Jointly and Severally, Corporately and Personally, and their Agents, Successors, and/or Assigns, and myself, as

Claimant that:

1, ALL [°RESPONDENTS”:] DO NOT have a valid claim against Claimant, :Tarant-Alike: Johmson:, a living
woman; American Freewoman, Private Citizen of the United States of America; American National, Authorized
Agent, and Sole Beneficiary of the trust known as TARANI A. JOHNSON also known as Tarani Alike Johnson

CLAIM {:"AFFIDAVIT:"] OF OBLIGATION COMMERCIAL LIEN
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1! ©, Federal Trademark # 88859594 also known as TARANI ALIKE J OHNSON nor against the Collateral
Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [ncar 19134] therefore having no past,
present or future claims against Claimant; and

All [:"RESPONDENTS”:] consent to a Zero Balance Judgment against Claimant, Defendant, Plaintiff, and a Zero
Balance Claim against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania
[near 19131] therefore having no past, present or future claim against Claimant, leaving :Tarani-Alike: Johnson:, a
living woman and Authorized Agent and Sole Beneficiary for TARANI ALIKE JOHNSON, A PRIVATE TRUST
unencumbered, resulting in full and complete settlement, past, present and future between all parties; and

ALL [:"RESPONDENTS”:] grant Claimant specific Power of Attorney to sign any and all documents deemed
necessaty to mark the alleged account to a zero balance, remove any outstanding judgments, cancel lien against
collateral, re-convey title, and cancel the trust which holds the alleged mortgage, signed by Claimant on behalf of
ALL [:"RESPONDENTS”:].

ALL {:"RESPONDENTS”:] grant Administrative Judgment for Theft against All [:"RESPONDENTS”], jointly,
severally, corporately and personally, in Claimants’ favor, and award Plaintiff and Real Party in Interest
compensatory damages in the ainount of One-million DOLLARS and Zero CENTS ($1,000,000.00US) for the
unreturned tender of payment that was issued to [:"RESPONDENTS” J on or about April 12, 2018, and an additional
amount of One-million DOLLARS and Zero CENTS ($1,000,000.00US) for the woreturned tender of payment that
was issued to [:"RESPONDENTS”:] on or about April 27, 2018; for a sum total of Two-million DOLLARS and
Zero CENTS ($2,000,000.00US) in compensatory damages, plus costs and interest.

An Agreement between ALL [:" RESPONDENTS” :] and Claimant will be enforced to grant Administrative
Judgment for Fraudulent Misrepresentation and Unjust Enrichment against All [:"RESPONDENTS”}], jointly,
severally, corporately and personally, in Claimants’ favor, and award Claimant treble-damages for antitrust
violations in the amount of Six-million DOLLARS and Zero CENTS ($6,000,000.0 OUS) in Punitive Damages,

plus costs and interest.

An Agreement between ALL [:"RESPONDENTS”:] and Claimant will be enforced that invokes the Clayton
Antitrust Act of 1914 and grants judgment to Plaintiff for the fraudulent conveyance of language and conspiracy to
commit fraudulent conveyance of language for Defendant’s own profit by unlawfully demanding Three-hundred
Ninety-two Thousand DOLLARS and Zero CENTS ($392,000.00U8) or by taking Plaintiff's collateral property
described within; and award Plaintiff treble-damages for antitrust violations in the amount of One-million Five-
hundred Sixty-Eight DOLLARS sud Zero CENTS ($1,568,000.00) in punitive damages, plus costs and

interest.

ALL “{:”RESPONDENTS”:]” consent to a commercial lien against “ [:"RESPONDENTS”:}” personal assets
including but not limited to all real property, all personal property (excluding wedding photos and rings),
“[-"RESPONDENTS”:]” Errors and Omissions Insurance Policy, “[-"RESPONDENTS”:]” Liability Insurance
Policy, “T"RESPONDENTS”:]” Public Bond; and

CLAIM ["AFFIDAVIT."] OF OBLIGATION COMMERCIAL LIEN
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8. ALL “RESPONDENTS”: ” consent to garnishments of Wages, Fees, Commissions, Bank Accounts,

and Retirement Accounts; and

9, ALL “[:">RESPONDENTS”:]” consent to interest charges and adjustments until full balance is paid; and
10. ALL “[:"RESPONDENTS”:]” consent to an adjusted balance to be paid to Claimant in the amount

totaling
Nine-million Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS ($9,568,000.00).

Surety:

The adjusted balance agreed upon between the parties by way of Private Case Number RE 327 506 200 US,
that is outstanding, payable on demand, and is to be paid in full to Claimant, :tarani-alike: johnson:, is the sum
amount totaling Nine-million Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS
($9,568,000.00), in Functional Currency of the United States.

The surety/property utilized to guarantee the payment of this commercial lien is the operational/commercial bonds
of each of the Lien Debtors; Jointly and Severally, Corporately and Personally, and their Agents, Successors,
and/or Assigns. If the bond(s) of the Lien Debtors is/are insufficient for coverage the payment(s) the

assets of the Lien Debtor(s) will be utilized as follows: all the real and moveable property and bank and savings
accounts and of the Lien Debtors except wedding rings, keepsakes, family photographs, diaries, journals, etc., and

the property normally exempted in the lien process (includes survival provisions).

Certification

i, :tarani-alike: johnson:, Real Party of Ownership /: “Interest”:]; Agent for and Sole Beneficiary Owner of the
TARANI ALIKE JOHNSON TRUST, a Cestui Qui Trust, also known as TARANT A. JOHNSON;
Claimant herein; states that i, having attained the age of majority, and not a child, and who has not been found
lost at sea, being competent with firsthand perfected knowledge to the facts herein, certify on my own full

commercial liability that I have read the above affidavit and do know the contents to be true, corr ect and DS, deat
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complete, and not misleading, the truth, the whole truth, and nothing but the truth,
Respectfully Executed on November 25, 2020

s

By:_ ext OCR ALENT Y aol Ke . BEE

[:”Interest”:Jal Party of Interest, General Executrix, Ager
Beneficiary Owner for TARANI ALIKE JOHNSON, a Céstui' SI
Estate established in The City of New York at the DEPARTMENT OF :
HEALTH AND MENTAL HYGIENE; File no.: 156-76-416831, aka
Tarani Alike Johnson™! ©, Federal Trademark # 88859594
All Rights Reserved Without Prejudice, Without Recourse.
Amicus Curiae, Sui Juris, No Pro Se, In Propria Persona

CLAIM [:*AFFIDAVIT:”] OF OBLIGATION COMMERCIAL LIEN
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he way, the truth, the life: no man
found to be the baptized man/son/verily-true heir of the posterity of: yhvh, through

davidfjudah: ‘We The People’s
5] Por the glace of the King’s Conscience called the Mercy Seat’s Equal-Justice (herein:
i as: Sacred/Special/Secret{Private]-Chosen, Set-Apart from Publicans as:

fe} iam who iam, t
cometh unto the father save by this want
“Eqully’) sees the heir as the trite owner: tarant-alike:

Strictly-Confidential:

(heir as: Beneficiary) of: TA!
general post office; j

RANI ALIKE JOHNSON Trust; (hereinafter ‘?)
Sate 74 i
«national % in care oft 2285 Bryn Mawr Avenue, on Philadelphia, on Pennsylvania, i

adictal district: at extra ‘and special ministerial term of equily

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Notice; Praecipe; Claim: Estoppel by Acquiescence (for hon-response) Foe?
with Menarlal for Release with: International Treaty-Covonant with Eternal Peace
Whoerens: Notice to Reapandeat Inferior is Notice to Respondent Superior:
Whereas: Notice to Reapondeat Superior is Notice to Reapondeat Inferlor:

d covenant-treaties of peace: gayannshagowo, the first law of the land and holy sea(see) by the 431ad

Whereas: Respecte
ent-iles] holding all

treaties of: ecumenical council of eupheusus thvotokas, guadalupe hidalze, [and: peace with Git
authority, rights, power, and dominium taken by deforcaire to reclaim truc noble standing; and
Por: Notice {s Law; ignorance of the law is no excuses as it is written; it shall be done: Bor i; the man/heir, claim: any
[wo/}man whom alter or restyle this; my Case; does so under penalty and compensation to’i; and
Vor this private international communication by: Registered Maii/Case Number: RE 327 506 200 US

Respondant(s): Charles W, Scharf; a man; . .
r aiace attr trts dts with peace to all:
El clo CHARLES W. SCHARK under the Ofitce(s) of For ue plnce our trust ia yholi: with peace to a
El Co-Trustee (art TARANLALIKE JOHNSON Teust; and; ae intent tn ereale a trust fiself creates a trish:
also known ast Accuser/Prosecutor/PRESIDINT & CHO for WELLS FARGO BANK NORTH AMERICA
§ 490 MONTGOMERY STREET, SAN FRANCISCO CALIFORNIA [NEAR 94104]
a) (See Addendum Attached with the fall names of Respondents enjoined to this Estoppe!

Ee) Co-Trustees for: TARANT ALIKE JOHNSON rust)
| in Re; TARANI ALIKEJOHNSON Trust: Whereas: Equity will not allow a trust to fail for teant of a frustee:

| WELLS FARGO BANK NA. Account Number 0045821642 also knawn as Account Number 4831607 t

1 By Acquiescence under the Office(s) af

May Peace be with you: Thank-you for sending “TARANTALIKEJOHNSON = Trust” your fetter [“dated” nineteen

E) october of roman Iwenty-lwenty, hereinafter “Letler’} received, alleging Uthat a “TARANTALICBJOHNSON ‘rust’

@| ESTATE (hereinafter “Fstate’} has a fiability [hereinafter Claim”) outstanding; and Whereas the heir (as the sole

H| beneficiary of the Estate) has been informed by the Respondeat Superior to verify[“ensure’} that any-and-all true Claims

| are seltled/discharged upon fair, fist, and righteaus (herein: “gaod”)-faith, without prejudice, without dishonour, upon

El written, verified proof and/or evidence provided and annexed to such Claims; and whereas no proof and no reason, be It

Bl good reason and/or evidence (or otherwise) such veriffeation failed to accompany your letter; and therefore: kindly
provide wriffen response fo all points herein, by referencing your and their character ~ within seven [7}days ~ the following

Bl evidence, for: ‘one zh seeks equity nnest do equity:

Whereas? this instrament is a Notice; Praccipe; Clainu Estoppel By Acquiescence for non-response as regards the

| following instruments tendered by the claimer (herein: “claimant”):

E 1) Notice; Praecipe; Claim Olfer to Settle the Claim, Notice of General Administrative Services Payment Bond, Bid Bond,

Performance Bond for Setoff, and Statement of Account/Affidavit of Individual Surety for Full Amount with Zerv Balanee

fi dated the 19% of Nisan, 5778 {roman year: 2018], 23 leaves;
E| 2) Notica; Praecipe; Claim Offer to Setile the Claim, Notice of Private Registered Offset Discharge Bund/ Affidavit of Zero

| Balance dated the 9 of lyyar, 5778 {raman year; 2018], 3 leaves
E} 3) Notica;Praceipe;Claim: Offer to Settle the Claim, Special Deposit for Tender for Title and Statement of Account / Truth
BE) Affidavit for Full Satisfaction of the Claim dated the ard of Tishrel, 5781 [roman year: 2020], 5 leaves;

EI 4) Notice; Praecipe; Claim: Offer to Settle the Claim, Constructive Notice of Conditional Acceptance w

Bl Attidavit and Fee Schedule dated the 11" of Tishrei, 5781 [raman year: 2020}, 42 leaves;
| 5) Notice; Praccipe; Claim: Offer ta Settle the Clatm, Notice of Fault in Dishonor Opportunity to Cure dated the 8% of

ith Commercial

: Cheshvan, 5781 [roman year: 2026], 19 leaves;
Fi 6) Notice;Praeclpe;Clainy: Offer to Settle the CI

| Cheshvan, 5781 [roman year: 2020], 20 feaves;
| 7) Notico;Praecipe; Claim; of Estoppel iv Dishonor, Real Property Legal Description (see Exhibit “A”) and “Addendum”

i enjoining additional Co-Trustees for TARANI ALIKE JOHNSON Trust, dated 23+ of Cheshvan, 578] [roman yeat:

aim, Nolice of Default in Dishonor Consent to Judgment dated the 234 of

2020], 11 lvaves; : .

hervinafter claim, to the RESPONDENT at the address above; under the face and custody of the Post Office; and

: Let it be known by these presents, RESPONDEN'I’s failure to perform under the terms and conditions set forth in
claim, has created a permanent and irrevocable estoppel by acquiescence, forevermore barring RESPONDENT fram
all claims, Jegal actions, orders, demands, lawsuits, casts, levies, penalties, damages, interes(s, liens and

: bringing any and
a| expenses whatsoever, against 'TARANL ALIKE JOHNSON = Trust; and

tee

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r res
zt

Furthermore, RESPONDENT’s dishonor of claim is RESPONDENT's agreenient to the following terms and
conditions:

s

|
1) The balance due on alleged Account Number 04831607 also known as 0045824692; Civil Action Case No. 100401188 is
Bt Zero and 00/100 collars ($0.00); and
4) 2) Any and all rights, tiles and interests in and on any and all coflateral/real properly (see Exhibit “A”) in the assoclation
EB] with or the security for the above-referenced alleged Account Number 04834607 also known as 0045821642; Civil Action
Case No, 100401188 is irrevocably conveyed to claimant; and
“gt 3) RESPONDENT is with the grant of a spectfic power-of-attorney to claimant for the acquisition, procurement and/or
production of any and all records, documents, and/or communications necessary for the securing of any and all rights,
titles, and interests in or pertaining to any and all collateral/reat property (sce Exlubit “A”) associated wlth or secured by
the above-referenced alleged Account Number 04831607 also-known as 0045821642; Civil Action Case No. 100401188; and
4) RESPONDENT's waiver of any and all clatms, rights, immunities and defenses; and i
5) RESPONDENT does not possess the legal right or lawful authority enforce collection of RESPONDENT’s claim and :
will not do so in the future; and
6) RESPONDENT lacks standing in law to adversely affect the credit rating of claimant and that any negative remarks ;
made to any credit reporting agency will be removed posthaste; and F
7) RESPONDENT lacks standing in law to assign, transfer, or negotiate the alleged Hability, pass it back to its client :
and/or appyint an agent to act on its behalf in this matter; a
ie
y

Whereas: i: the man/heir; verify: this letter and Notice; Praeelpe; Claltim: Propriety; Conusance; Mistake:

with Offer for: International Covenant-Treaty with: Eternal Pence, was prepared by: i: the {wo}man/helr: the [absolute]
title-halder with the copy-claim and by my free-will, wish, act, deed, hand and seal; and do hereby establish the facts this
[roman: fourth day oft the ninth month of the roman year twenty-seventeen} with All Dominion, Powers [“Rights” and/or H
“interest”) Preserved and Reserved as full-whole-complete-intact under yliwh: for: special private rust deposit only: Front the E
fwylnning, with yloh as my witness, i, am who fant, the way, the truth, and the life, verily-trae begotten sanfieir of yhalt, and ;
acknowledgefrecognize all Umt is freely given-by-yhole aud freely reeetved-froni-ylivh, and, i repent all sinltrespassitrausgression E :
agaiust yloh, and waive all Clains without yhohs by: the. [wolman/daughter/heir Las; mistress, general execulrix, beneficiary,
and now as trustor}: of house: yhvh; of tribe: judah-levi: tarani-alike: of kau: jolmeon:

ecutul
Talad -Nocemnar 10% 2020 4D Bit, cohnaom , dared: ole ke Casares Bealeasenne “Ms,

s

Fe

:

, a ae

; Por i: the man/heir, Robert Hani, * Leame : (bear) witness the fwe}man, known to i, as: tarajigaliRerplace her
mark hereon in acceptance offwith the facts claimed herein; i, have seen no evidence to dispute that sald mark belongs to the man

at
; knawn to f, ast farant-alike, and have true-faith [“belleve”] that none exists;
Bt

Dokad, Moverntar 4o, 2020, 2.0

(seal) By . faucie , cateck —Keos

: For i: the [Wwo)]man/hetr, Ddogealyn- Ranun: Usheton~té) piety, witness the [wo}man, known to J, ast tarani-alike, place her :
8! mark hereon in acceptance offwith the facts claimed herein; i, have seen no evidence to dispute that said mark belongs to the fwojman
Bl known to j, ast tarant-alike, and have truc-faith (“belleve"] that none exists;

Doda Uovamras 18%, 2995, RO (seal) 8 “prrosar-weldh , uryedyn —palorer a

: Underiwriter/Surety Notice: this instrument fs a non-negotiable unrebuttable instant claim by Claimant of lawful Hen,
solzure, and Hquidation (as required) of full penal value of all Respondeat: Superior/infertor/Respondant's bonds; insurance and Ee
other security assets, to be escrowed, by and for the resulting breach of trust by, until; process or final jury; judgment; [Universal 2

Postal Union] Treaty Notice: This non-negotiable instrument is "parcel post" conveyed under conditions recognized by :

‘| international peace {at Universal Postal Convention, Parcel Post regulations, and relevant UPU Terms/Conditions), for Equily

will take jurisdiction fo avokl a autipticity of sults; for Equity delights in equality, fustlee, aud not by hatzes, but sees that as done what

ought to be donc...for Equity Follows the Law:

—

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ATTACHMENT “ADDENDUM”:
Estoppel by Acquiescence (for non-response) :

‘

; Respondents enjoined to Estoppel By Acquiescence under the Office(s) of Co-Trustees for:
|| TARANI ALIKE JOHNSON Trust:

t

. Hurry Buraett Reoso, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
Agents, Stecessars, and/or Assigns, in care of 8 Neshaminy Interples, Sulte 215, Feasterville Trevose, Pennsylvania {19053}; and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or Agents,
E| Successors, and/or Assigns, In cace of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Penusylvanty [19053]; aud

: Jit Mannel-Coughiin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
4) Agonts, Successors, and/or Asstans, In care of 8 Neshaminy interplex, Suite 215, Feasterville Trevose, Pennsylvania [19054j; and

Sarah BE. Powers, Acting as SARAH BE. POWERS ATTORNEY, and Agent for WRLLS FARGO BANK, N.A,, and/or Agents,
fy Successors, and/or Assigns, In care of 8 Neshantiny Interples, Suite 214, Feasterville Trevose, Pennsylvania (19053); and

=| Willlam M.E, Powers, If, Actiig as WILLIAM MLE. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, W.A., and/or E
B| Agents, Successors, and/or Assigas, In care of 8 Neshaminy tnterplex, Suite 215, Feasterville Travose, Pennsylvania {19053}: and
Agents, Successurs, and/or Assigns, ft care of 8 Neshaminy Inferplex, Suite 215, Feasterville Trevose, Pennsylvania [19053); and

Sarah K, MeCaffery, Acting as SARAH K, MCCAPPERY ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
Bl Agenis, Successors, and/or Assigns, in care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

E Jolantu M. Pekatska, Acting as JOLAN'TA M, PEKALSRA ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
Agents, Successors, and/or Assigns, In cure of 8 Neshaminy Interplex, Sufte 245, Feasterville Trevose, Pennaylvants [19053]; and

E} Edward W, Kira, §1f, Acting as EDWARD W, KIRN, HI ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
i
H

Matthew Jumes Medonnefl, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent tor WELLS FARGO BANK,
Ey N.A., and/or Agonts, Successors, and/or Assigns, In care of & Neshaminy hvterplex, Sulfe 215, Feasterville Trovose, Pemsylvania
BY (19053); and

E ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Poasterville Trevosa, Pennsylvania, and/or Successors, and/or
| Assigns, Ia care of 8 Neshaminy Inferplex, Sulle 215, Peasterville Trevose, Pennsylvania [19053); and

F Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or

E| Agents, Successors, andor Assigns, In care of 728 Marne Highway Moorestown, New Jersey 108057); and

£ Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS PARGO BANK, N.A,, and/or Agents,
Successors, and/or Assigus, In care of 728 Mame Highway Moorestown, New Jersey (08057); and

|
: Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK. NLA. and/or Agents,
: Successors, and/or Assigns, In care of 7228 Mare Highway Moorestown, New Jersey {08057}; and

FE Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, NA, and/or Agents, Successors,
E| and/or Assigns, In care of 728 Marne Ulghwuy Mourestawn, New Jersey [08057}; and

a Edward W. Kirn, HH, Acting as EDWARD W. KIRN, HI] ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
E| Agents, Successors, and/or Assigns, fy care of 728 Murino Highway Moorestown, New Jersey [08057); and

A) Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
Ai Successurs, and/or Assigns, In care af 728 Mare Highway Moorestown, New Jersey [08057]; and :

| Jeanette dacqueline O'Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent for WELLS FARGO
Fi BANK, N.A,, and/or Agents, Successors, and/or Assigns, Jn care of 728 Marae Highway Moorestown, New Jersey [08057}; and

: Jill Mantel-Coughlin, Acting as JLL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.. and/or
Fi) Avents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, Now Jersey [08057}; and

| Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
B| and/or Agents, Stccessors, and/or Assigns, In cure of 728 Marne Highway Moorestown, New Jersey (08057); and

| Savab Rills Powers, Acting as SARAH BELLIS POWERS APTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
i Agents, Successors, and/or Assizns, fn cure af 728 Mame Highway Moorestown, New Jersey {08057}; and

al and/or Assigns, In care af 728 Mame Highway Moorestown, New Jersey [08057}; and

el William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
B| Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, Now Jerscy {08057}; and

Wiliam MI. Powers, Acting as WILLIAM MLE. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,, and/or
a) Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

BE) and/or Agents, Successors, and/or Assigns, (n care of 728 Mante Highway Moorestown, New Jersey {08057}; and

; Re es eae a ae

Ei Sarah Powers, Acting ag SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or Agents, Suceessors,

William MLE, Powers, Jr, Acting as WILLIAM MLE, POWERS, JR, ATTORNEY, and Agent for WELLS FARGO BANK, NLA,

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E| William MLE. Powers, Uff, Acting as WILLIAM MLE, POWERS ATTORNEY, and Agent far WELLS FARGO BANK, N.A., andéar p

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EI Agents, Successors, and/or Assigns, {n care of728 Marne Highway Moorestown, New Jersey {0807}; and

Willian Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or Agents,
fl Successocs, and/or Assigns, in care of 728 Marne Highway Moorestawa, New Jersey [08057]; and

B) ALL AGENTS (or POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors, and/or Assipns,
B| care of 728 Marne Highway: Moorestown, New Jersey (08057); and ‘

BE) Horbert Bass, Acting us HERBERT BASS ATTORNEY; and Agent for WELLS RARGO BANK, N.A, and/or Agents, Successors,
B| and/or Assigns, in care of 2000 Market Street, 20" Floar, Philadelphia, Pennsylvania [19103]; nnd

: Ryout T. Becker, Acting as RYAN T, BECKER ATTORNEY, and Agent for WELLS FARGO BANK, NLA. and/or Agents,
a Brian A. Rerktey, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, NA. anWor Agents,
F| Suevessors, and/or Assigns, In care of 2000 Market Street, 20" Hloor, Philadelphia, Pennsylvania [F9103}; and

E| Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent far WELLS FARGO BANK, N.A. and/or Agents,
F| Successors, and/or Assigns, In earo of 2060 Markel Street, 20" Foor, Philadelphia, Pennsylvania [19103]; and

E Michael S. Bookbinder, Acting as MICHAEL S, BOOKBINDER ATTORNEY, and Agent for WELLS FARGO BANK, NA,
| und/or Agents, Successors, and/or Assigns, in care of 2000 Markot Street, 20” Floor, Philadelphia, Pennsylvania [19103); aad

i
i

El Kristina Neff Burland, Acting as KRISTINA NEF BURLAND ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
El Agcuts, Successors, and/or Assigns, In care of 2060 Market Streel, 20" Floor, Phitadeiphia, Pennsylvania (19103); and

5 Frank T. Carroll, Acting as FRANK T, CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
E) Successors, and/or Assigns, In care of 2000 Market Street, 20" floor, Philadelphia, Pennsylvania [19103]; and

HI Stephon M. Cohen, Acting as STEPHEN M, COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/oy Agents,
E| Successors, and/or Assigns, fn care af 2000 Market Stecet, 20" floor, Philadelphia, Pennsylvania [19103]; and

e Successors, and/or Assigns, In care of 2000 Market Street, 20 ‘ Gtoor, Philadelphia, Pennsylvania (19103); and

A Gerald W. Acth, Acting as GERALD E, ARTH ATTORNEY, and Agent for WELLS FARGO BANK, NA. and/or Agents,
Bl Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); aud

Ly Jerald David August, Acting as SERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO BANK, NA. and/or
al Auents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Moor, Philudetphia, Pennsylvania {19103}; and

2 Abmed Bahgat, Acting a3 AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
B| Successors, and/or Assigus, In care of 2000 Markel Street, 20" Floor, Philadelphia, Pennsylvania {19103}; and

: Catherine T. Barbieri, Acting as CATHERINE T. BARBIERL ATPORNEY, and Agent far WELLS FARGO BANK, N.A, and/or
E| Ageuts, Suceessore, and/or Assigns, In care af 2000 Market Street, 20" Floor, Philadelphia, Pennsylvanian [19103]; and

E Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, NA. andar Agents, Successors, e
p| and/or Assigns, In care of 2006 Market Sircet, 20" Floor, Philadciphia, Pennsylvania [19103]; and :

A Michuel J. Bassett, Acting us MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or Agents,

: Marthr B. Chovanes, Acting as MARTHA 2. CHOVANES ATTORNEY, and Agent for WELLS FARGO BANK, NLA. and/or
E| Agents, Successors, and/or Assigns, Ja care of 2000 Market Street, 40” Floor, Philadelphia, Pennsylvania [19103]; and

Prince Altee Thoms, Acting as PRINCE ALTER THOMAS ATTORNEY, and Agent for WELLS PARGO BANK, NLA. and/or

“fl Agents, Successors, and/or Assigns, In care GF 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19303); and

&| Scatt M. Bucanti, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or Agents, :
B| Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103}; and a

Suecessora, and/or Assigns, In eare of 2000 Market Street, 20" Floor, Phitadelphin, Pennsylvania [19103]; and

Sttecessors, and/or Assigns, In cure of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103}; and

E Nathan M, Buelster, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, E

Successors, and/or Assigns, in are of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania {19103}; and

Peter C, Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or Agents, E
Successors, and/or Assigns, In care af 20008 Market Street, 20" Floor, Philadelphia, Pensylvanin [19103]; and E

Maura L. Burke, Acting as MAURA L, BURKE ATTORNEY, and Agent far WELLS FARGO BANK, N.A., and/or Agents, e
Successors, anU/or Assigns, Ii care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and :

Jacqueline M. Carolan, Acting as JACQUELINE M, CAROLAN ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Suevessars, and/or Assigns, In care of 2000 Masket Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

David H, Colvin, Acting as DAVID Hf. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, NLA. and/or Agents,

iauM, Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,

Bl Successors, and/ar Assigns, In care af 2000 Market Sircet, 20° Floor, Philadelphia, Pennsylvania (19103); and

Strecessors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Andrew S, Console, Acting as ANDREW S, CONSOLE ATTORNEY, aud Agent for WELLS FARGQ BANK, N.A, and/or Agents,

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E Patrick J. Egan, Acting as PATRICK J, EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
A} Successors, and/or Assigns, ln care of 2000 Market Strect, 20° Floor, Philadelphia, Pennsyfvania (19103); and

B| Successors, and/or Assigns, In care of 2000 Markel Street, 20" Ploor, Philadelphia, Pennsylvania [19103]; and

| Tristram R. Fall, 1H, Acting as TRISTRAM R, FALL, HT ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or

Bl Andrew S. Ester, Acting as ANDREW S, BSLER A'TTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, a
E} Avents, Successors, and/or Assigns, in caro of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19 103); and

: Barbara R. Flacker, Acting as BARBARA RB, FLACKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
E) Ascnts, Successors, and/or Assigns, In caro of 2000 Market Strect, 20" Floar, Philadeiphiz, Pennsylvanta [19103]; and

E Howard R, Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
B| Agents, Suceessors, and/or Assigns, In care of 2000 Market Streel, 20" Foor, Philadelphia, Pennsyivanin [19403]; and

Et David M, Giles, Acting as DAVID M, GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Hl Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvants [19103]; and

A| Jolin L, Grossman, Acting as JOHN 1, GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
B| Stecessors, and/or Assigns, tn eare of 2000 Market Street, 20" Floor, Phitadelptiia, Pennsylvania (19103); and

a) Debra 1. Gruenstein, Actity as DEBRA L, GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
E| Ageuls, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Peansylyania [19103]; and

E Jesse M. Harris, Acting as JESSE M, HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Al Successors, and/or Assigns, fn care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); and

E| Dylan T. Hastings, Acting as DYLAN , HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, NA, and/or Agents,

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent far WELLS FARGO BANK, N.A. and/or

Siana Daneh, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

BE. Geratd Donnelly, Jv, Acting a3 E, GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO BANK, NA, :
and/or Apents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103)}; aud o

David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns, In care af 2000 Market Street. 20" Floor, Philadelphin, Peansytvania [19103]; and

dean A. Durthys, Acthygs ds JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsytvania [19103]; and

Al Michael Eidel, Acting as MICHAEL EIDBL ATTORNEY, and Agent fer WELLS FARGO BANK, N.A, and/or Agents, Successors,
E| and/or Assigns, fn care of 2060 Market Street, 20" Floar, Phiindefphia, Pennsylvania [19103]; and

: Craig L. Finger, Acting as CRAIG L, FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
El Successors, and/or Assipns, In care of 2000 Market Streef, 20" Floor, Philadetphia, Pennsylvania [19103]; and

Agents, Suceessors, and/or Assigns, fi care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania [19103); and

Eleanor Vaida Gerhards, Acting as BLEANOR VAIDA GERITARDS ATTORNEY, and Agent for WELLS PARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Suce s, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Robert W. Gundlach dy, Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS FARGO BANK, NLA.
and/or Agents, Successors, and/or Assigns, fn cara of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvanta (19103); and

Johns J. Haggerty, Acting as JOHN 1. HAGGERTY ATTORNEY, und Agent Yor WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, fn care of 2000 Market Street, 20" floor, Phifadelphils, Pennsylvania [19103]; and

Successors, and/or Assigns, In care of 2000 Market Street, 20" Fleor, Philadelptia, Pennsylvania (19103); and

Gerald M. Hatfield, Acting as GERALD M, HATFIELD ATTORNEY, and Agent for VELLS FARGO BANK, NA, and/or Agents,
ai Successors, and/or Assigns, in care af 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); and

Bl Edward J. Hayes, Acting as EDWARD J, HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, p
E| Successors, and/or Assigns, fn care of 2000 Market Street, 20" Floor, Philadelphia, Pernsylvania {19103}; and E

A) Gavy A. Hecht, Acting as GARY A, HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors, |
Ey and/or Assigns, ty care of 2000 Market Street, 20" Floor, Philadolphin, Peansylvanin 119103}; and

e Gabriet B. Heratan, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
B| Successors, and/or Assigns, In care of 2000 Market Street, 20" Vloor, Philadelphia, Pennsylvania [19103]; and .

El Philip L., Ulnermian, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,

2) Successors, and/or Assigns, fn care af 2000 Market Street, 20" Foor, Philadelphia, Pennsytvanin [19103]; and

: Kelicy B. Hedge, Acting as KELLEY B. HODGE ATTORNGY, ond Agent for WELLS FARGO BANK, N.A. and/or Agents,

Suceessors, and/or Assigns, In care of 2000 Market Street, 20" Ploar, Philadelphia, Pennsylvania [19103]; and

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Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns, tn care of 2600 Market Strect, 20" Foor, Philadelphia, Pennsylvania {19103}; and

: Nathan Huddel, Acting as NATHAN HUDDBLE. ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Suecessors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Theodore HH. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK, N.A, anWor Agents,
Successors, and/or Assigns, tn care of 2000 Market Strect, 20" Floor, Philadelphia, Peansylvanta [19 103); and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for VELLS PARGO BANK, NLA. and/or Agents,
B| Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsyivania [19103]: and

| Odla Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
E! and/or Assigns, tn care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); and

: Stephen H, Katis, Acting as STEPHEN H. KALES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
€\ Succossors, and/or Assigns, 11 care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); and

Fl Jossicn Labolta Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
E| Agents, Successors, and/or Assigns, In care of Z00t Markel Street, 20" Floar, Philadelphia, Pennsylvania [19103]; and

A Gregory 4. Kleiher, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
E| Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [}9103}; and

E Michact.t, Kurnackt, Acting as MICHAEL J, KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. antd/or
By Agonts, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

fl Lisn DB. Lane, Acting as LISA B. LANG ATTORNEY, and Agent for WELLS FARGO BANK, NA. anWor Agents, Successors,
gE) and/or Assigns, fn caro of 2000 Market Street, 20" Ffaor, Philadelphia, Pennsylvania {19103}; and

Bl Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Suecessora, and/or Assigns, fn cate of 2000 Market Street, 20" Floor, Phifadeiphia, Peatsylvania {19103}; and A

Ey Holly Leutz, Kleeman, Acting as HOLLY LENTZ KLEBMAN ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or
E| Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Penasylyanin (£9403); and

E| Michact J, Leonard, Acting as MICHAEL J, LRONARD ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or Agonts, |B
E| Sucecssors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Philadelphia, Pennsytvanta [19103]; and

E| Olufunke O. Leray, Acting as OLUFUNKE O, LEROY ATTORNEY, and Agent for WELLS PARGO BANK, N.A. and/or Agents,
|, Suceessors, and/or Assigns, In cure of 2000 Market Street, 20" Foor, Philadelphia, Pennsylvania (19103); and i
f) Jane E. Lessner, Acting as JANE BE. LESSNER ATTORNEY, and Agent for WELLS PARGO BANK, NLA, and/or Agents,
Ey) Successors. and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsyivanta {19/03}; and

Brian J. Levin, Acting ds BRIAN J. LEVEN ATTORNEY, and Agent for WELLS FARGO BANK, NA, and/or Agents, Successars,
El and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania 119103}; and

El Matthew A, Levitsicy, Acting as MATTHEW A, LEVITSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvante [19 103}; and

E Sidney S, Licbesman, Acting as SIDNEY S, LIEBESMAN ATFORNELY, and Agent for WELLS PARGO BANK, N.A, and/or
B| Avents, Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphin, Pennsyfvania (19103); and

Al Steven i, Ludwig, Acting as STEVEN K, LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Ei Successors, and/or Assigns, fn cure of 2000 Market Street, 20" Floor, Philadelphia, Penasylvania (19103); and

Bl Andrew M. Macdonald, Acting as ANDREW M, MACDONALD ATTORNBY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2006 Market Strect, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Jason C, Manfroy, Acting as JASON C. MANPREY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, tn cace of 2000 Murket Street, 20" Poor, Philadelphia, Pennsylvanin [19103]; and
Successors, and/or Assigns, In care af 2000 Murket Strect, 20" Floor, Philadelphia, Pennsylvania 19103); and

domes A. Matthews IU, Acting as JAMES A, MATTHEWS Hi ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, i caro of 2000 Market Street, 20" Floor, Philadelphia, Peansylvania (19103); and Z

Mark G, MeCreary, Acting as MARK G, MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, in cars of 2000 Market Street, 20" Floor, Philadolphin, Pemsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, mid Agent for WELLS FARGO BANK, N.A. and/or Agents,
Suceessors, and/or Assigns, In care af 2000 Markel Street, 20" Floor, Phitadelphta, Pennsylvania [19103]; and

Al

Rolie B, Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,

S) Lauren P, McKenna, Acting as LAUREN P, MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or

E, Agents, Successors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Philadelphia, Pennsylvania [F9 103}; and

B| lan'D. Meklinsky, Acting as (AN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Ageitts,
Bt Successors, and/or Assigns, ly care of 2000 Market Sireel, 20" Floor, Philadetphia, Penusylvanin (19103); and

Michnel G, Menkuwitz, Acting as MICHAEL G. MENKOWIT.

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ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Flons, Phifadelphio, Pennsylvania [t9103}; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Successors, nid/or Assigns, fn care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvanin [19103]; and

f Sarah i, Minicer, Acting as SARAH K. MINTEER ATTORNEY, ad Agent for WELLS FARGO BANK, N.A, and/or Agents,

al Thomas D. Parattise, Acting as THOMAS BD. PARADISE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or

E| doseph F, Posiltico, Acting as JOSEPH P. POSILLICO ATLORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
#| Successors, and/or Assigns, In care af 2000 Market Street, 20" Floor, Philadelphia, Pennaylvania [1910.1}; and

David 8S. Rasner, Acting as DAVID 8. RASNBR ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,

Al Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Ponnsylvania [19103]; and

: and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

@| Abraham C. Reich, Acting as ABRAHAM C, REICH ATTORNEY, and Agent for WELLS FARGO BANK, NLA, and/or Agents,
i Successors, and/or Assigns, In care af 2000 Market Street, 20" Floor, Philadelphia, Pennsylvanta [19103]; and

Dan Reitier, Acting as DAN REITER ATTORNEY, ad Agent for WELLS FARGO BANK, N.A, and/or Agents, Suceessury, and/or
E| Assigns, in care of 2000 Market Street, 20" Flonr, Philadelphia, Pennsyivania (19103); and

B| Azents, Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadefphia, Pennsylvanta [19103}; and

Hl Michael Rinchart, Acting ax MICHARL RINEHART ATTORNBY, aad Agent for WELLS PARGO BANK, WA. and/or Agents,
fl Successors, and/or Assigns, in cuce of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania {19103}; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS PARGO BANK, N.A. mid/or Agents, i
: Carvic B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, und Agent for WELLS FARGO BANK, N,A, and/or |

: Agents, Suecessors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania {19103}; and

BE} Raman R. Obod, Acting as RAMON R, OBOD ATTORNEY, and Agent for WELLS FARGO BANK, NLA. and/or Agents,
Bi Successors, and/or Assigns, In care of 2000 Markel Street, 20" Foor, Philadelphia, Penasylvania [[9103}; and

B| Christopher D. Olsayly, dv, Acting as CHRISTOPHER D, OLSZYK, JR. ATTORNEY, and Agent for WELLS FARGO BANR,
B) N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvanin [19103]; and

“pl Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103}; and

Successors, and/or Assigns, [n vare of 2000 Market Street, 20™ Floor, Philadelphia, Pennsylvania pio1aa}; and

El Catherine M. Monte. Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO BANK, NA. and/or F

Agents, Successors, and/or Assigns, In care uf 2000 Market Street, 20" Floor, Philadelphia, Ponnsylvania {19103}; and

di Mack L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A, amlor Agents,
F| Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

z Successors, and/or Assigns, fn cnre of 2000 Market Street, 20" Floor, Philadelphia, Ponnsylvania [19103}; and

2 Mare E. Needles, Acting as MARC f. NBEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, a
B| Successors, and/or Assigiis, la care af2000 Market Strect, 20” Floor, Philadelphia, Pennsylvania 19103); and :

B| day G. Ochvach, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, NA. and/or Agents,
Ei Successors, andfor Assigns, tn care af 2000 Market Street, 20" Floor, Philadelphia, Peansylvania [19103]; and

Brian J. O'Neill, Acting os BRIAN J, ONBILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,

Agents, Sttecessars, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philudelphin, Pennsylvania [19103]; and

Ere E. Reed, Acting as BRIC E. REBD ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors,

Stephante Resnick, Acting as STEPHANIE RESNICK ATFORNEY, and Agent or WRLLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care af 2000 Market Street, 20" Floor, Philadelphia, Pennsylvanin [19103 ): and

Keisten Poeizef Reel, Acting as KRISTEN POETZEI RICCI ATTORNEY, and Agent For WELLS FARGO BANK, N.A, and/or

Bradley S. Rodos, Acting as BRADLEY S, RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/er Agents,

B| Successors, and/or Assigns, in care of 2000 Market Strect, 20" Floor, Philadelpliia, Pennsylvania [19103}; and

7 Michelle 8, Rosenberg, Acting as MICHELLE S, ROSENBERG ATTORNEY, and Agent for WELLS PARGO BANK, NLA. and/or

| Magdatena Schardt, Acting ss MAGDALENA SCHARDYT ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
| Agents, Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Phitadoiphin, Pennsylvania (19103); and

E| Kovin B, Seott, Acting as KEVIN f. SCOTT ATTORNEY, and Agent for WELLS PARGO BANK, NA, and/or Agents, Successors,
Bi and/ar Assigns, Iu care of 2000 Market Street, 20" Ploor, Philadelphia, Pennsylvania [19103]; and

El Barnett Satinsky, Acting as BARNETT SATINSKY ATFORNGEY, and Agent for WELLS FARGG BANK, W.A. and/or Agents,

: Jacqueline G, Segal, Acting as JACQUELINE G, SEGAL ATTORNEY, arst Agent for WELLS PARGO BANK, N.A. and/or
E| Agents, Successors, and/or Assigns, In care af 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103}; and

E) Agcuts, Successors, and/or Assigns, in care of 2000 Market Street, 10" Floor, Philadelphia, Ponnsylvania [19103]; and

Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and
)

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Ronald 4. Shaffer, Acting ws RONALD J, SHAPPER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Ageuts,
Ei Successors, and/or Assiuns, In care of 2000 Market Street, 20" Ffoor, Philadelphia, Pennsylvania [}9103}; and

Mark L, Siluw, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS PARGO BANK, NA. and/or Agents, Successors,
8) and/or Assigns, In care of 2000 Markel Strect, 20" Bloor, Philadelphia, Poansylvania {10103}; and

Nevena Sinidjiaska, Acting ns NEVENA SIMIDHUSKA ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
EY Agcats, Successors, and/or Assigns, In care of 2000 Market Streef, 20 Floor, Philadelphia, Peansylvanta [19103]; and
ee .

‘| David B. Snyder, Acting as DAVID B. SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents.
Suecessars, audfar Assiggs, tn cure of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

H David S, Sakolaw, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
E| Successors, and/or Assigns, ft care of 2000 Market Street, 20" Floor, Phifadetplia, Pennsylvania [19103]; and

Shelly A, Solomon, Acting as SHELLY A, SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK, NA, andar Agents,
B| Successors, and/or Assigns, int eare of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania 19103); and

E Willian HL Stassen, Acting as WILLIAM H, STASSEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Hl Successors, and/or Agsivas, In care of 2000 Market Streef, 20" Floor, Philadelphia, Pennsylvania {19}03}: and

Al Trista B, Stein, Acting as TRISHA B, STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
E| Successors, and/or Assigns, Ia care of 2000 Markel Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Hl Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
| and/ar Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsyivania {19103}; and

B} Jotin J. Stubbs, Actlag as JOHN J, STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors,
el und/or Assigas, fy care af 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania {19103}; and

i Julia Swain, Acting as JULIA SWAIN ATTORNBY, and Agent far WELLS FARGO BANK, NLA. and/or Agents, Snecessars,
* and/or Assigns, In care of 2000 Market Street, 20" Flor, Philadelphia, Pennsylvania [19403); and

, Bl Michael L, Temin, Acting us MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Hl Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphin, Pennsylvania [19103]; and

E Robert S, Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or Agents,
Bi Successors, and/or Assigns, ba care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [J91U3}; and

; Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
E| Agents, Successors, and/or Assigns, In sare of 2006 Market Strect, 20" Floor, Phikuelphin, Pennsylvania [19103]; and

H) Peter J. Tucei, Acting as PRTER J. TUCCLATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
p and/or Assigns, In care v€ 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

: Michael K, Twersky, Acting as MICHAEL K. TWERSKY ATFORNEY, and Agent far WELLS PARGO BANK, NA. and/or
f| Agents, Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

i Svatt L. Vernick, Acting as SCOTT L, VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
E| Successors, and/or Assigns, int care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

a Michuct J. Viscount, dx, Acting as MICHAEL J, VISCOUNT, JR. ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
BI and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20”. Floor, Philadelphia, Pennsylvania [19103]; and

El Marvin L, Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO BANK, WA. and/or
Ei Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Phifudelphia, Pennsylvania (19103); and

Bett L. Welsser, Acting as BETH L, WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N,A, and/or Agents,
a} Successors, and/or Assigns, tn care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); and

z Stephen P, Weiss, Acting as STEPHEN P, WEISS ATTORNEY, and Agent for WELLS PARGO BANK, NLA, and/or Agents,
Al Successors, and/or Assigns, in care of 2000 Market Streel, 20" Mone, Philadelphia, Pennsylvania [(9103]; and

Gregory 8, Williams, Acting as GREGORY B. WILLIAMS ATTORNGY, and Agent for WELLS FARGO BANK, N.A, and/or
S| Avents, Successors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Phitadelphia, Pounsylvania (19103); and

E| Agents, Successors, and/or Assizns, In caro of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania (19103); and

BE, Adam R. Young, Acting as ADAM R, YOUNG ATTORNBY, and Ageut for WELLS FARGO BANK, N.A. and/or Agents,

|
Ronald L. Willlanis, Acting as RONALD L. WILLIAMS ATIORNEY, and Agent for WELLS FARGO BANK, N.A. and/or EB
Bi Successors, and/or Assigns, In care of 2000 Market Street, 20" Hoar, Philadelphia, Poansyivania 119103}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsytvania {£9103}; and :

Bl ALL. AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 999 Peachireo Street :
Al NE, Suite (500, Atlanta Georgia (30309]; and Es

E ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns, In care of 130)
Atlantic Aventte Midtown Building, Suite 400, Atlaatle City, New Jersoy LOS401); and

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| ALL AGEN''S for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns, In care of 10 |
H Sentry Parkway, Suite 200, Post Office Box 3001, luc Bell, Pennsylvania [19422]; and 4

ALL AGENTS far FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In caro of ¥8 AT LAW, andor
Assigns, In care of 10] N. Tryon Strect, Suite (300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, ln care of 321 North Clark Street, |
Sulte 1600, Chicugo, Winols [60654]; and |

‘

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Sticeessors, and/or Assigns, fn care of 2501 North Harwood
Suvet, Suite 1800, Dallas, Texas [7520E}; and

2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In sare of 747 Constitution Dilve,

li
ALL AGENTS lor FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, andor Assigns, In care of 1225 17" Street, Suite !
Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care af 230 North film Street,
Sulte (200, Gracnsboro, North Caralina [27401]; and

ALL AGENTS fae POX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In eare of2 West Washington
Street, Suite 110, Greenville, South Corolina (29601); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One Summerlin Office
Building, 1980 Fostival Plaza Drive, Suite 700, Las Vegas, Nevada [89133]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, imdfor Assigns, In care of 10250 Constellation
Boulevard, Suite 900, fos Angeles, California [ 90067}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assizns, In cars of One Biscayne Tower, 2
South Bisenyne Boulevard, Sulte 2740, Mint, Morida [33134]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, andior Assigns, In care of Camphell Mithun
Tower, 222 South Ninth Street, Suite 2000, Minneapolis MInnosote [55402]; and

ALL AGENTS fer FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In cnre of 49 Market Strect,
Morsistown, New Jersey (07960): and

1 ALL AGENTS lor FOX ROTHCIILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101 Park Aventic, 7
Flour, New York, New York [10178]; and

ALL AGENTS far FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, fn care of BNY Mellon Center,
500 Grant Street, Suite 2500, Plisburgh Pennsylvania [15219); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, andfor Assigns, In care of Princeton Pike
Corporate Center 997 Lenox Drlye, Lawrenceville, New Jersey [08648]; and

ALL AGHNTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In oarg of 434 Fayetteville Street,
Suite 2800, Raleigh, North Caralina [27601]; and

Ald. AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In enre af 1001 Fourth Avenue,
Suite 4500, Seattle Washington, [98154]; and
Drive, Suity 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700 Kelly Road, Suite
300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1030 15" Street North |
West, Sulte 380 Rast, Washington, District of Columbia (20005); and |

ALL AGENT'S for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In enre of 777 South (700 West
‘Tower, West Palm Beach, Morida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, I cure of 919 North Market
Hireet, Suite 300, Post Olfice Box 2323, Wilmington, Delaware |19899]; and

FARGO BANK, N.A.. and/or Agents, Successors, and/or Assigns, In Cate of 420 Monigamery Strect, San Francisen, California
[D4 104]; and

1
|
Chartes W. Serf, Acting as CHARLES W. SCHARP, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent for WELLS
Scott E, Powell, Acting as SCOTT B, POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF OPERATING OUFICE, and
‘Agent for WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, Coliforin [24 104}; and |
Jobn R. Shrewshorry, Acting as JOHN R, SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIBP FINANCIAL b
OFFICER, and Agent for WELLS FARGO BANK, NLA, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery i
Street, Sau Franelseo, California [94104]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, und/or Assigns, In care of 8500 Greensbora
El

Muncera S. Carr, Acting as MUNEERA S. CARR, BYP, CHIEF ACCOUNTING OFFICER, CONTROLLER, and Agont for

Case 2:23-cv-04211-JMY Document2 Filed 10/26/23 Page 122 of 277

WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, tn Care of 420 Montgomery Streei, San Francisco,
California [94 104}; and

Bi} William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for WELLS FARGO
Bl BANK, NsA,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, Sun Francisco, Caljfornia [941 04); and

Bi Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR BVP, HEAD OF STRATEGIC BXECUTION and OPERATIONS,
et and Agent for WELLS FARGO BANK, NLA, and/or Agents, Suecessars, and/or Asstgns, in Care of 420 Montgomery Street, San
Ey Francisco, California fod 104]; and :

. David C, Gallorees, Acting as DAVID C, GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES, and Agent for WELLS iB

E| Burry Sonimers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT MANAGEMENT, and
Agent for WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns, nn Care of 420 Montgomery Street, San

: Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for WELLS FARGO
a] BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Strect, San Francisco, California (941048); and

SERERI

| Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR BVP, CEO OF CORPORATE & INVESTMENT BANKING, and
| Agent for WELLS FARGO BANK, N.A,, usd/or Agents, Successors, and/or Assigns, In Caro af 420 Montgomery Street, San
El Pranviseo, California (94104); and

f| ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Succassars, and/or Assigns, th Caro of 420 Montgomery Street,
i San Franelsco, Catifomia [94104]; and

: EQUIFAX CORPORATION; AND

EF EXPERIAN CORPORATION: AND

E| TRANSUNION CORPORATION; AND
B| JON OR JANE DOES 1-50;

E| JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

; Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR BYP, CHIEE RISK OFFICER, and Agent for WELLS FARGO

A| Lester J. Owens, Acting as LESTER J, OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for WELLS FARGO BANK,
Bl NLA, and/or Agents, Successors, and/ar Assigns, In Care of 420 Montgoniery Slreet, San Francisco, Californin [94104);and

El Ellen R Patterson, Acting as BLLBN R, PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for WELLS FARGO
Et BANK, N.A,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San Francisco, Califorata [94404); and

El Perry G, Petos, Acting as PERRY G. PEILOS, SENJOR EVP, CEG OP COMMERCIAL BANKING, and Agent for WELLS FARGO [
E| BANK, NLA., and/or Agents, Suceessors, and/or Assigns, In Care of 420 Montgomery Street, San Francfseo, California [94104]; and

B| Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for WELLS FARGO
El BANK, N.A., and/or Agents, Succossars, and/or Assigns, In Care of 420 Montgomery Street, San Praneisco, California [94 104); and

gy Uulie L, Scamamhare, Acting as JULIE L, SCAMMAHORN, ACTING AS JULIE L, SCAMMAHORN, SENIOR EVP, CHIEP
| AUDITOR, nnd Agent for WELLS FARGO BANK, N.A, and/or Agents, Successors, and/or Assigns, in Care of 420 Montgomery
E| Street, San Francisco, California [94104]; and

E| WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San Francisco,
E) California (94104); and

FARGO BANK, W.A.,, and/or Agents, Successors, and/or Assigns, in Care of 420 Montgomiory Street, San Francisco, California

B) (94 104}: and

B| Mary T, Mack, Acting as MARY ‘T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BLISINESS BANKING, and Agent
El for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San Franelsea,
a| California (94104); and

BANK, N.A., and/ar Agents, Successors, and/or Assigns, Jn Care of 420 Montgomery Streot, San Francisco, California [941 04}; and

Francesco, California [94 104]; and

Michael S. Weinbach, Acting as MICHAEL 8, WEINBATH, SENIOR EVP, CEO OF CONSUMER LENDING, and Agent for

Case 2:23-cv-04211-JMY Document2 _ Filed 10/26/23

LEG ESCRIPTION

ALL THAT CERTAIN lot or picve of ground with the buildings and improvements therean
erected.

SITUATE in the 52" (formerly part of the 34) Ward of the City of Philadelphia and described
according to a survey and plan thereof made by George W. Hyde, Bsq., Surveyor and Regulator
of the 11" Survey District of the City of Philedelphia on the 16" day of April, A.D. 1922, os
follows, to wit:

BEGINNING at o point on tho Northeast side of Bryn Mawr Avenue at the distance of three
hundred and sixty-six and eight hundred and sixty-eight one-thousandthy feet Southeastward
from the Southeast side of Woodbine Avenue; thence extending Northeastward on a line at right
angles to the said Bryn Mawr Avenue one hundred and seventy-five Feet to a point; thence
extending Southeastward on a line parallel with the said Bryn Mawr Avenue forty-five fect toa
point; thence extending Noriheastward on a line al right angles (o the said Bryn Mawr Avenue
filty-two and four hundred and fifty-eight one-thousandths feat to a paint on the Westerly side of
Heckumore Road (40 feet wide); thence extending South fifty-four minutes, forty-nine and -
ninety-one one hundredths seconds West, along the said Westerly side of Heckamore Road, one
hundred and eighty-four and one hundred aud six one-thousandths feet to a point; thence
extending South seventy-seven degrees, four minutes, fifly-ciglt and twenty-one one hundredths
seconds West, one hundred and forty und fifty-five one-thousandths fect to a point on the said
Northeast side of Bryn Mawr Avenue; thence extending North twenty-nine degrees. thirty
minutes, forty-five and one-tenth seconds West along the said Northeast side of Bryn Mawr
Avenue one hundred and sixty-three and six hundred and fifty-one one-thousandths seet.to the
first mentioned point and place of beginning. :

BRING known as No, 2285 Bryn Mawr Avenue,

ST. CODE/HOUSE NO.: 19560-02285

’ CITY REGISTRY: 71 N 17-13

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Case 2:23-cv-04211-JMY Document2 Filed 10/26/23 Page 125 of 277

Invoice Ne. WFB2285-1

INVOICE =
Customer
Name “WELLS FARGO BANK, N.A. et al* Date 11/14/2020
Address in care of: 420 Montgomery Street Order No.
City San Francisco State CA ZIP 94104 Rep Tarant-Alike
Phone 1-800-274-7025 Sent via Fax 1-866-278-11 79 |
[ Description | TOTAL

Demand for Payment ~ Abstract of Judgment

Demand Amount, good through December 13, 2020 - $9,568,000.00US
Nine-million Five-hundred Sixty-eight Thousand DOLLARS and Zero CENTS***

Reference: CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE dated September 29, 2020

Executed by Tarani-Allke: Johnson and dated September 29, 2020, filed Into the public In
Court of Common Pleas of Philadelphia County; Civil Case No. 200901446

“surety for payment pursuant to agreement includes: Charles W. Scharf, John R.
Shrewsberry; WELLS FARGO BANK, NA., and/or its Agents/Successors/Assigns, Jointly
and Severely; AND Harry Burnett Reese and POWERS KIRN and ASSOCIATES, LLC,
and/or Its Agents/Successors/Assigns, Jointly and Severely., AND

Martha B. Chovanes, Prince Altee Thomas and FOX ROTHSCHILD, LLP

and/or Its Agents/Successors/Assigns, Jointly and Severely”

Proceeds to be paid in cerlified funds to the order of:

Tarant-Alike Johnson, in care of: 2285 Bryn Mawr Avenue, Philadeiphia Pennsylvania
[19131] ALL FEES PAYABLE UPON DEMAND

SubTotal $9,568,000.00

Payment Details

@ Cash
Oo Check |
Oo Credit Card TOTAL $9,568,000.00

Office Use Only

Receipted this date by

CERTIFICATE OF

Republic of Pennsylvania State }
Subscribed and Affirmed }
County of Delaware }

I, Stonny ATi. fy Nie AY -_, the undersigned mailer/server witness, being of sound mind and under
no duress, do hereby certify, attest, and affirm that the following facts are true and correct, to wit:
1. That, on the 30" day to September, 2020, that on behalf of Claimants: :Tarani-Alike: Johnson., a living
woman, TARANI A, JOHNSON (also known as TARANI ALIKE JOHNSON,
A PRIVATE TRUST) and Tarani Alike Jonson Estate Living Trust (eTAJ3156US), an Inter Vivos
Trust, I personally witnessed :Tarani-Alike: Johnson:, deposit the following documents (listed below)
into the envelopes that were mailed to parties; respondents for POWERS KIRN & ASSOCIATES LLC
located at 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania, 19053; respondents for
FOX ROTHSCHILD, LLP located at 2000 Market Street, 20° Floor, Philadelphia Pennsylvania 19103;
and respondents for WELLS FARGO BANK, N.A. located at 420 Montgomery Street, San Francisco,
California via USPS Certified Mail Number (s):
7017 3380 0000 9203 2296, 7017 3380 0000 9203 2302, and 7017 3380 0000 9203 2319 on

September 30, 2020, respectively:
ument Title/Description
a) CONSTRUCTIVE NOTICE OF CONDITONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE
b) VERIFICATION
2. That these documents were individually placed in their respective envelopes, sealed: and mailed to
their individually respective addresses as sited above,
3. That I am at least 18 years of age;
_ 4, That Tam not related to any of the Claimant parties by blood, marriage, adoption, or employment,
but serve as a “disinterested third party” (herein “Mailer/Server Witness”).
5. That I am in no way connected to, or involved in or with, the person and/or matter at issue in this

instant action.
I now affix my hand, signature, and official seal to these affirmations. .. -

WITNESS my hand 2

Vrtu, We pom 9/20/2050
NOTARY PUBLIC: Sherry A. Fraser DATE |
My commission wine Ap 4, B72?

Case 2:23-cv-04211-JMY Document2 _ Filed 10/26/23 Page 127 of 277

Gmall - FedEx Shipment 398401054737 Delivered 9/13/23, 7:29 AM

i e
Gmail Jarand <taranij@gmail.com>

FedEx Shipment 398401054737 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com> Mon, Nov 2, 2020 at 11:32 AM
Reply-To: trackingmail@fedex.com
To: taranij@gmail.com

This tracking update has been requested by:

Name: johnson, tarani-alike
E-mail: taraniji@gmail.com

Our records indicate that the following shipment has been delivered:

Door Tag number: DT105694339470

Ship date: Oct 30, 2020

Signed for by: S.GONZALES

Delivery location: Feasterville Trevose, PA

Delivered to: Receptionist/Front Desk

Delivery date: Mon, 11/2/2020 11:28 am

Service type: FedEx Priority Overnight®

Packaging type: Your Packaging

Number of pieces: 1

Weight: 2.00 Ib.

Special handling/Services Deliver Weekday
No Signature Required

Standard transit: 11/2/2020 by 10:30 am

Tracking number: 398401054737

Shipper Information Recipient Information

PHILADELPHIA Feasterville Trevose

PA. PA

US US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated
at approximately 10:32 AM CST on 11/02/2020.

All weights are estimated.

The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not
determine money-back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx

bites ://mall.google.com/mail/u/1/?ik=65be463balaview=pt&search=...=m 8Q-1%63A16822601321895771 62&simpl=msg-f%3A168 22691321895771682 Page 1 of 2

Case 2:23-cv-04211-JMY Document2 Filed 10/26/23 Page 128 of 277

Republic of Pennsylvania State }
Subscribed and Affirmed - 4
County of Delaware }

I, CAserty {> ' Fh aso , the undersigned mailer/server witness, being of sound mind and under
no duress, do hereby certify, attest, and affirm that the following facts-are tre and correct, to wit:
1. That, on the 30" day to October, 2020, that on behalf of Claimants: :Tarani-Alike: Johnson., a living
woman, TARANI A. JOHNSON (also known as TARANI ALIKE JOHNSON,
A PRIVATE TRUST) and Tarani Alike Jonson Estate Living Trust (eTAJ3156US), an Inter Vivos
Trust, I personally witnessed :Tarani-Alike: Johnson:, deposit the following documents (listed below)
into the envelopes that were mailed to parties; respondents for POWERS KIRN & ASSOCIATES LLC
located at 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania, 19053; respondents for
FOX ROTHSCHILD, LLP located at 2000 Market Street, 20" Floor, Philadelphia Pennsylvania 19103;
and respondents for WELLS FARGO BANK, N.A. located at 420 Montgomery Street, San Francisco,
Califomia via FEDEX PRIORITY OVERNIGHT delivery No.(s) 3984000946049, 398401054737, and
398401207120, respectively; and USPS Certified Mail Number(s): 7020 1290 0000 6327 2568, 720 1290
6000 6327, and 7020 1290 0000 6327 2575 on October 30, 2020, respectively:
Document Title/Description
’ a) NOTICE OF FAULT and OPPORTUNITY TO CURE
b) AFFIDA VIT OF NON-RESPONSE and AFFIDAVIT OF NON-PERFORMANCE
‘@) CONSTRUCTIVE NOTICE OF CONDITONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE
d) True and Correct Copy of FOX ROTHSCHILD LLP’s INSUFFICIENT RESPONSE
2. That these documents were individually placed in their respective envelopes, sealed, and mailed to their

individually respective addresses as sited above;

3. That I am at least 18 years of age;
4. That I am not related to any of the Claimant parties by blood, marriage, adoption, or employment, but serve

as a “disinterested third party” (herein “Mailer/Server Witness”).
5. That I am in no way connected to, or involved in or with, the person and/or matter at issue in a thig instant”

action.
I now affix my hand, signature, and official seal to these affirmations.

WITNESS my hand @ seal.
7 PKA so} 230) lee 2085
‘NOTARY BOBLIC: Sherry A. Fraser DATE

My commission expires’, Vand» A l, HOI

Case 2:23-cv-04211-JMY Document2_ Filed 10/26/23 Page 129 of 277

Gmail - FedEx Shipment 368401054737 Delivered 4/13/23, 7:29 AM

» ay » £2 SEN wage th ney
Gr " a il farand <taranii@iamead come

FedEx Shipment 398401054737 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com> Mon, Nov 2, 2020 at 11:32 AM
Reply-To: trackingmall@fedex.com
To: taraniji@gmail.com

This tracking update has been requested by:

Name: Johnson, tarani-alike
E-mall: taranii@gmail.com

Our records indicate that the following shipment has been delivered:

Door Tag number: DT105694339470

Ship date: Oct 30, 2020

Signed for by: S.GONZALES

Delivery location: © Feasterville Trevose, PA

Delivered to: Receptionist/Front Desk

Delivery date: ‘Mon, 11/2/2020 11:28 am

Service type: FedEx Priority Overnight®

Packaging type: Your Packaging

Number of pieces: 1

Weight: 2.00 ib.

Special handling/Services Deliver Weekday
No Signature Required

Standard transit: 11/2/2020 by 10:30 am

Tracking number: 398401054737

Shipper Information Recipient Information

PHILADELPHIA Feasterville Trevose

PA PA

Us US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated
at approximately 10:32 AM CST on 11/02/2020.

All weights are estimated.

The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not
determine money-back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx

https://mail. google .com/maliju/1/2ik=66be46Sbat&view=pt&search=..-msg-1%3A168226013218957 7162ksimplamsg-f%43A1682260132189677162 Page 1 of 2

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Gmail - FedEx Shipment 398400946049 Delivered 3/13/23, 7:29 AM

.
GS mal | Tarani sfaranij@gmall. come

FedEx Shipment 398400946049 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com> Mon, Nov 2, 2020 at 11:47 AM
Reply-To: trackingmait@fedex.com
To: taranii@gmail.com

This tracking update has been requested by:

Name: Johnson, tarani-alike
E-mail: taranii@gmail.com

Our records indicate that the following shipment has been delivered:

Ship date: Oct 30, 2020

Signed for by: T.WILSON

Delivery location: San Francisco, CA

Delivered to: Shipping/Receiving

Delivery date: Mon, 11/2/2020 8:44 am

Service type: FedEx Priority Overnight®

Packaging type: Your Packaging

Number of pieces: 1

Weight: 2.00 Ib.

Special handling/Services Deliver Weekday
No Signature Required

Standard transit: 11/2/2020 by 10:30 am

Tracking number: 398400946049

Shipper information ’ Recipient Information

PHILADELPHIA San Francisco

PA CA

US US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated
at approximately 10:47 AM CST on 11/02/2020.

All weights are estimated.

The shipment is scheduled for delivery on or before the scheduled delivery. displayed above. FedEx does not
determine money-back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx

Service Gulde forterms and

https://mall.googte.com/mail/u/1/7ik=66bc46 3bal&view=pt&search...omsg-f%3A1682268187328213850&simpl=msg-f%3A1682268187328213850 Page 1 of 2

Case 2:23-cv-04211-JMY Document2 _ Filed 10/26/23

Gmail - FedEx Shipment 398401207120 Delivered

Page 131 of 277

3/13/23, 7:29 AM

Tarani <taranii@gmail.com>

oeot So

FedEx Shipment 398401207120 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com>
Reply-To: trackingmail@fedex.com
To: taranij@gmail.com

Mion, Nov 2, 2020 at 9:36 AM

This tracking update has been requested by:

Name: Johnson, tarani-allke
E-mail: taranii@gmail.com

Our records indicate that the following shipment has been delivered:

Ship date: Oct 30, 2020

Signed for by: A.ROSARIO

Delivery location: Philadelphia, PA

Delivered to: Mailroom

Delivery date: Mon, 11/2/2020 9:34 am

Service type: FedEx Priority Overnight®

Packaging type: Your Packaging

Number of pieces: 1

Weight: 2.00 Ib.

Special handling/Services Deliver Weekday
No Signature Required

Standard transit: 11/2/2020 by 10:30 am

Tracking number: 398401207120

Shipper Information Recipient Information

PHILADELPHIA Philadelphia

PA PA

US US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated

at approximately 8:36 AM CST on 11/02/2020.

All weights are estimated.

The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not
determine money-back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx

Service Guide for terms and

https://mall.google.com/mall/u/1/2k=65bc463ba1&view=pt&search...sg-f%3A16822590660660747608simpl=msg-1%3A1682269958056074760 Page 1 of 2

Case 2:23-cv-04211-JMY Document2 _ Filed 10/26/23 Page 132 of 277

> ARRIDAVIT OF NOTARY! PRESENTMENT BY WITNESS OF. MAILID
oS CERTIFICATE: OF MAILING

Republic of Pennsylvania State
Subscribed and Affirmed
’. County of Delaware
I, Shoe A ' Fasth— _., the undersigned mailer/server witness, being of sound mind and under
no duress, do hereby certify, attest, and affirm that the following facts are true and correct, to wit:
1. That, on the 16" day to November, 2020, that on behalf of Claimants: :Tarani-Alike: Johnson:, a living
woman, TARANI A. JOHNSON (also known as TARANI ALIKE JOHNSON, \
A PRIVATE TRUST) and Tarani Alike Jonson Estate Living Trust (eTAJ3156US), an Inter Vivos
Trust, I personally witnessed :Tarani-Alike; Johnson:, deposit the following documents (listed below)
into the envelopes that were mailed to parties; respondents for POWERS KIRN & ASSOCIATES LLC
located at 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania, 19053; respondents for
FOX ROTHSCHILD, LLP located at 2000 Market Street, 20 Floor, Philadelphia Pennsylvania 19103;
and respondents for WELLS FARGO BANK, N.A. located at 420 Montgomery Street, San Francisco,
Califomia via FEDEX PRIORITY OVERNIGHT delivery No.(s) 399007290388, 3990007148543, and
399007088544, respectively; and USPS Certified Mail Number(s): 7019 0700 6633 7874, 7019 0700
0000 6633 7881, and 7019 0700 00663 7898 on November 16, 2020, respectively:
Document Title/Description
a) NOTICE OF DEFAULT and CONSENT, TO TO JUDGME: GE
b) ESTOPPEL BY ACQUIESCENCE = ARR des ny S Nen~ Re anna
c) INVOICE NO. WFB2285-1 in the Amount of $9,568, aaa Se Nene Semone
2. That these documents were individually placed in their respective envelopes, sealed, and mailed to their

eyaat Neyaat Samy *

individually respective addresses as sited above;

_ 3, That Iam at least 18 years of age;
4. That I am not related to any of the Claimant parties by blood, marriage, adoption, or employment, but serve

asa “disinterested third party” (herein “Mailer/Server Witness”).
5. That I am in no way connected to, or involved in or with, the person and/or matter at issue in this instant

action. Comtamemnalth of Pannnyivania - Notary
Inow affix my hand, signature, and official seal to these affirmation e se ‘a
now Xx My Nan , S1gn €, and oficial s¢: Oo tiese ations, ty Cannan ape 2,202
enmiain an 108

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Gmail - FedEx Shipment 399007290388 Delivered 3/13/23, 7:30 AM

Gr Y ail Tarani staranii@gmall cony=

FedEx Shipment 399007290388 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com> Tue, Nov 17, 2020 at 10:24 AM
Reply-To: trackingmail@fedex.com
To: taranii@gmail.com

This tracking update has been requested by:

Name: johnson, tarani-alike
€-mall: taranii@gmail.com

Our records indicate that the following shipment has been delivered:

Ship date: Nov 16, 2020

Signed for by: S.GONZALES

Delivery location: | FEASTERVILLE TREVOSE, PA

Delivered to: Receptionist/Front Desk

Delivery date: Tue, 11/17/2020 10:23 am

Service type: FedEx Priority Overnight®

Packaging type: FedEx® Envelope

Number of pieces: 1

Weight: . 3.00 ib.

Special handling/Services. Deliver Weekday
Direct Signature Required

Standard transit: 11/17/2020 ‘by 10:30 am

Tracking number: 399007290388

Shipper Information Recipient Information

PHILADELPHIA FEASTERVILLE TREVOSE

PA PA

US US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated
at approximately 9:24 AM CST on 11/17/2020.

All weights are estimated.

The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not
determine money-back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx
Service Guide for terms and

https://mail,googte.com/mailju/1/7ik=66be463bal&view=pt&search=...2msg-f%3A 1683621794 164812974asimpl=msg-1%3A1683621794164812974 Page 1 of 2

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Gmail - FedEx Shipment 399007148643 Delivered 3/13/23, 7:30 AM

Tarant <taranij@gmail.com>

FedEx Shipment 399007148543 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com> Tue, Nov 17, 2020 at 10:16 AM
Reply-To: trackingmail@fedex.com
To: tarani@gmail.com

This tracking update has been requested by:

Name: johnson, tarani-alike
E-mail: taranij@gmail.com

Our records indicate that the following shipment has been delivered:

Ship date: Nov 16, 2020

Signed for by: THARTMAN

Delivery location: PHILADELPHIA, PA

Delivered to: Mailroom

Delivery date: Tue, 11/17/2020 10:14 am

Service type: FedEx Priority Overnight®

Packaging type: FedEx® Envelope

Number of pieces: 1

Weight: 3.00 Ib.

Special handling/Services Deliver Weekday
Direct Signature Required

Standard transit: 11/17/2020 by 10:30 am

Tracking number: 399007148543

Shipper Information Recipient Information

PHILADELPHIA PHILADELPHIA

PA PA

US US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated
at approximately 9:16 AM CST on 11/1 7/2020.

All weights are estimated.

The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not
determine money-back guarantee or delay claim requests based on the scheduted delivery. Please see the FedEx

Service Guide for terms and

httpsy/mail.google.com/matl/u/t/zik=65h¢463bataview=pt&search...«msg-%3A16836212652794012968simpl=msg-1%3A1663621265273491206 Page 1 of 2

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Gmail - FedEx Shipment 399007088644 Delivered 33/23, 7:31 AM

Gmail Taran clarani@gmalilcom:

FedEx Shipment 399007088544 Delivered

TrackingUpdates@fedex.com <TrackingUpdates@fedex.com> Tue, Nov 17, 2020 at 11:43 AM
Reply-To: trackingmail@fedex.com
To: taranij@gmail.com

This tracking update has been requested by:

Name: Johnson, tarani-alike
E-mail: taranii@gmall.com

Our records indicate that the following shipment has been delivered:

Ship date: Nov 16, 2020

Signed for by: T.WILSON

Delivery location: San Francisco, CA

Delivered to: , Shipping/Recelving

Delivery date: Tue, 11/17/2020 8:38 am

Service type: FedEx Standard Overnight®

Packaging type: FedEx® Pak

Number of pieces: 1

Weight: . 3.00 Ib.

Special handling/Services Deliver Weekday
Direct Signature Required

Standard transit: 11/17/2020 by 4:30 pm

Tracking number: 399007088544

Shipper Information Recipient Information

PHILADELPHIA San Francisco

PA CA

US US

Please do not respond to this message. This email was sent from an unattended mailbox. This report was generated
at approximately 10:43 AM CST on 11/17/2020.

All weights are estimated.
The shipment is scheduled for delivery on or before the scheduled delivery displayed above. FedEx does not

determine money-back guarantee or delay claim requests based on the scheduled delivery. Please see the FedEx
Service Guide for terms and

https://mail.qoogla.com/mail/u/1/7iIk=65bo463ba1&view=pt&search.,.=msg-f%3A16836265847 1009657 9asimpl=msg-4%43A1683626584719005578 Page 1 of 2

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Republic of Pennsylvania State }
Subscribed and Affirmed j
County of Delaware }

I, Ahan 4 A. FASE __, the undersigned mailer/server witness, being of sound mind and under

no duress, do hereby certify, attest, and affirm that the following facts are tme and correct, to wit:

1.

That, on the 25" day to November, 2020, that on behalf of Claimants: :Tarani-Alike: Johnson:, a living
woman, TARANI A. JOHNSON (also known as TARANI ALIKE JOHNSON,

A PRIVATE TRUST) and Tarani Alike Jonson Estate Living Trust (eTAJ3156US), an Inter Vivos
Trust, I personally witnessed ‘Tarani-Alike: Johnson:, deposit the following documents (listed below)
into the envelopes that were mailed to parties; respondents for POWERS KIRN & ASSOCIATES LLC
located at 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania, 19053; respondents for
FOX ROTHSCHILD, LLP located at 2000 Market Street, 20" Floor, Philadelphia Pennsylvania 19103;
and respondents for WELLS FARGO BANK, N.A. located at 420 Montgomery Street, San Francisco,
California via USPS Certified Mail Number(s)::7019 0700 6633 7966, 7019 0700 0000 6633 7973, and
71019 0700 00663 7980 on November 25, 2020, respectively:

Document Title iption
a) NOTICE OF DEFAULT and CONSENT TO JUDGMENT Amended - Corrected

That these documents were individually placed in their respective envelopes, sealed, and mailed to their

individually respective addresses as sited above;

3. That Iam at least 18 years of age;
That I am not related to any of the Claimant parties by blood, marriage, adoption, or employment, but serve

asa “disinterested third party” (herein “Mailer/Server Witness”).
That I am in no way connected to, or involved in or with, the person and/or matter at issue in this instant

au

action.

I now affix my hand, signature, and official seal to these affirmations.

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Claimant .

:Tarani-Alike: Johnson:, a living woman; American Preewoman
Private Civilian of the United States of Amorica; American National
but not a Citzan of ihe United States

In caro: 2285 Bryn Mawr Avenues

Philadelphia {19131] Pennsylvania

{:"Rospondents”s]
Horry Burnett Reese, Acting as HARRY BURNETT REBSE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania [19053]; and :

All Agents for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or Successors, and/or Assigns, In cate of 8
Noshaniny Interplex, Sudte 215, Feasterville Trevaso, Pennsylvania (19053); and

Martha B. Chovanes, Acting as MARTHA B, CHOVANES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. sad/or Agents,
Successors, and/or Assigns, In care of 2000 Market Strect, 20" Floor, Philadelphia, Pennsylvania (19103); and

All Agents for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, ond/or Assigns, In care of 2000 Market Strect, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

- Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent for WELLS FARGO BANK,
N.A., ond/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

All Agents for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, Sun Francisco,
California [94104]; and . :

RE: Private Case Number: RE 327 406 209 US
CLAIM [:”AFFIDAVIT”:] OF TRUTH

I, a woman commonly known as :Tarani-Alike: Johnson:, Claimant, certify that I have read the following and do know that
the facts contained are true, correct and complete, not misleading, the trath, the whole truth and nothing but the truth.

This Claim [:”Asfidavit”:] of Truth pertains to an Agreement met bobveen the parties for the consent to judgment against
[:’Respondents’} and the settlement, closure, and dismissal of All Matters, including but not limited to outstanding past
claims, present claims, and future claims against me, Claimant :Tarani-Alike: Johnson:, in regards to Any and All
accounts relating to, but sot limited to;

WORLD SAVINGS BANK, FSB, Mortgage Nuinber 0045821642, also known as WORLD SAVINGS REMIC 33, also
known as MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC. (“MERS"), also known as WACHOVIA
BANK, N.A,, also known as WACHOVIA MORTGAGE, also known ns WACHOVIA MORTGAGE CORPORATION,
‘Mortgage Number 4831607, also known as WELLS FARGO BANK, N.A., also known 4s WELLS FARGO: MORTGAGE,
also known as Civil Actlon Case No. 100401188 [2010] COURT OF COMMON PLEAS PHILADELPHIA COUNTY
COMMONWEALTH OF PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No, 12-20451-MDC [2012]-
UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as Chapter 7
BANKRUPTCY Case No, 12-20451-MDC {2013} UNITED STATES BANKRUPTCY COURT EASTERN DISTRICT OF
PENNSYLVANIA, also known as Chapter 13 BANKRUPTCY Case No, 18-17342-MDC [2018] UNITED STATES
BANKRUPTCY COURT EASTERN DISTRICT OF PENNSYLVANIA, also known as Appeal Case No. 19 CV 3620
UNITED STATES DISTRICT COURT FOR THE EASTERN OF PENNSYLVANIA in the amount of Eight Hundred
Sixteen Thousand Bight Hundred Ninety-Seven DOLLARS and Eighty Six CBNTS (816,897.86), Original Amount of Three
Hundred Ninety-Two Thousand DOLLARS and Zero CENTS (392,000.00US),

A On or about October 15, 2020 at 5:10 p.m., [:’Respondents”:] of POWERS KIRN & ASSOCIATES LLC received a true and
correct copy of Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule; Private

10.

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Case Number: RE 327 506 200 US dated September 29, 2020, by USPS Cortified Mail No. 7017 3380 0000 9203 2296 from
the Claimant for [:"Respondents”:] attention; AND

On or about October 6, 2020 at 1:04 p.m., {:"Respondents”:] of FOX ROTHSCHILD, LLP received a true and correct copy
of Coustructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule; Private Case Number:
RE 327 506 200 US dated September 29, 2020, by USPS Certified Mail No. 7017 3380 0000 9203 2302 from the Claimant
for [:”Respondents”:] attention, AND

[:"Respondents”:] of FOX ROTHSCHILD, LLP has agreed to accept notice for and respond on behalf of {:"Respondents”:]
WELLS FARGO BANK, N. A. by way of written expressed notice as a response dated October 19, 2020 that
“[:"Respondents”:]” of FOX ROTHSCHILD, LLP is representing “[:”Respondents”:]” of WELLS FARGO BANK, N.A.;
AND

As of the 26" day of October, 2020, [:’Respondents”:] have not sufficiently responded to the CONSTRUCTIVE NOTICE
OF CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE, Private Case
Number: RE 327 506 200 US dated September 29, 2020; AND

On or about November 2, 2020 at 11:28 a.m., [:"Respondents”:] of POWERS KIRN & ASSOCIATES LLC received via
FEDEX PRIORITY OVERNIGHT NO, 398401054737; signed for by “S. Gonzales” at the “Receptionist/Front Desk”, and
via Certified Mail U.S. Postal Service NO. 7020 1290 0000 6327 2568 on or about November 2, 2020 at 11:16 a.m., ate
and correct copy of the Notice of Fault Opportunity to Care; Re: Private Case Number: RE 327 506 200 US along with the
following additional Enclosures were sent as & reminder and sccond chance to sufficiently respond and/or sufficiently
perform to cure their dishonor :

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;

Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified Mail No. 7017 3380
0000 9203 2296), b) Proof of Delivery for the above stated document from U.S, Postal Service,

c) Affidavit of Non-Performance, d) ‘Affidavit of Non- Response; and ¢) Fox Rothschild LLP Insufficient Response
from the Claimant for [:"Respondents”:] attention; AND

On or about November 2, 2020 at 8:44 a.m., {:"Respondents”:] of WELLS FARGO BANK N.A. received via FEDEX
PRIORITY OVERNIGHT NO. 398400946049; signed for by “T. Wilson” of the “Shipping/Receiving” department, and via
Certified Mail U.S. Postal Service NO. 7020 1290 0000 6327 2582 on or about November 2, 2020 at 9:47 a.m., a true and
correct copy of the Notice of Fault Opportunity to Cure; Re: Private Case Number: RE 327 306 200 US along with the
following additional Hnclosures:

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;

Private Case Number: RE 327 506 260 US dated September 29, 2020 (original sent by USPS Certified Mail No. 7017 3380
0000 9203 2302), b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service, c) Affidavit of Non-Performance,

d) Affidavit of Non- Response; and, ¢) Fox Rothschild LLP Insufficient Response from the Claimant for
[:"Respondents”:} attention; AND

On or about November 2, 2020 at 9:34 a.m., {:"Respondents”:] of FOX ROTHSCHILD LLP. received via FEDEX
PRIORITY OVERNIGHT NO, 398401207120; signed for by “A. Rosario” of the “Mailroom”, and via Certified Mail U.S.
Postal Service NO, 7020 1290 0000 6327 2582 on or about November 2, 2020 at 2:19 p.m., a true and correct copy of the
Notice of Fault Opportunity to Cure; Re: Private Caso Number: RE 327 506 200 US along with the following additional
Enclosures: a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedole;

Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified Mail No. 7017 3380
0000 9203 2302), b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service, c) Affidavit of Non-Performance, d) Affidavit of Non- Response;
and e) Fox Rothschild LLP Insufficient Response from the Claimant for [:"Respondents”:] attention; AND

As of today’s date, the 25" day of November, 2020, A-D., ALL {:"Respondents”:] have failed to sufficiently respond to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE
SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29, 2020, and the NOTICE OF FAULT AND
OPPORTUNITY TO CURE dated October 26, 2020; AND

ALL [{:’Respondents”:], Agents, Successors, and/or Agents, Successors, and/or Assigns, Jointly, Severely, Corporately, and
Personally are at Fault in this matter; AND

As an operation of law, [:"Respondents":] by dishonor of the CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US
dated September 29, 2020, the NOTICE OF FAULT AND OPPORTUNITY TO CURE dated October 26, 2020, have

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created a FAULT and have been hereby notified by written via the NOTICE OF [:”DE”:]FAULT and CONSENT TO
JUDGMENT dated November 25", 2020.

As an Operation of Law, Ail [:”"Respondents”:Jare bound and subject to the Agreement between the partics through
acceptance of and tacit procurement of the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE, NOTICE OF DEFAULT and OPPORTUNITY TO CURE,
AFFIDAVIT OF NON-RESPONSE and AFFIDAVIT OF NON-PERFORMANCE documents both dated October 26,
2020 and November 10, 2020, and NOTICE OF [:”DE”:]FAULT and CONSENT TO JUDGMENT, referenced herein

as Private Case Number RE 327 506 260 US.

All [:"Respondents”:] maintain an outstanding judgment of Obligation for Payment, payable to me, Claimant,
‘Tarani-Alike: Johnson: in accordance with Private Case Number RE 327 506 200 US in the judgment amount of
Nine-million Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS ($9,568,000.00).

All [:’Respondents”:]have failed to pay the above agreed upon outstanding judgment amount due and owing to mo, Claimant
despite repeated demands for payment

All [:”Respondents”:] have agreed that they do not have a valid claim against me, Claimant, :Tarani-Alike: Johnson:, a living
woman; American Freewoman, Private Civilian of the United States of America; American National, but sot a Citizen of the
United States, Authorized Agent, and Sole Beneficiary of the trust known as TARANI A. JOHNSON also known as Tarani
Alike Johnson ™ ©, Federal Trademark # 88859594 also known as TARANI ALIKE JOHNSON nor against the Collateral
Property known as 2285 Bryn Mawr Avenue Philadeiphis, Pennsylvania [near 19131] therefore having no past, present or
future claims against me, Claimant; and

All [:’Respondents”:] have consented to a Zero Balance Judgment against Claimant and a Zero Balance Claim against the
Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131] therefore having no past,
present or future claim against me, the Claimant, leaving mo, :Tarani-Alike: Johnson;, a living woman and Authorized Agent
and Sole Beneficiary for TARANI ALIKE JOHNSON, A PRIVATE TRUST unencumbered, resulting in full and complete
settlement, past, present and future betweon All partics.; and

All [:"Respondents”:] have granted me, Claimant specific Power of Attorney to sign any and All documents deemed
necessary to mark the Alleged account to a zero balance, remove any outstanding judgments, cancel lten against
collateral, re-convey title, and cancel the trust which holds the Alleged mortgage, signed by me, Claimant on behalf of
All [:”Respondents”:].

All [:*Respondents”:Jhave granted Judgment for Theft against ALL [:”Respondents”:], jointly, severally, corporately and
personally, in my favor; Claimant's favor; and have awarded me, Claimant [:Plaintiff’:] and Real Party in Interest
compensatory damages in the amount of One-million DOLLARS and Zero CENTS ($1,000,000.00US) for the unreturned
tender of payment that was issued to [:"Respondents”:] on or about April 12, 2018, and an additional amount of One-million
DOLLARS and Zero CENTS ($1,000,000.00US) for the unreturmed tender of payment that was issued to [:”"Respondents”:)
on or about April 27, 2018; for a sum total of Two-million DOLLARS and Zero CENTS ($2,000,000.00US) in
compensatory damages, plus costs and interest.

An Agreement between Ail [:Respondents”:] and I, Claimant were reached, granting Judgment for Fraudulent
Misrepresentation and Unjust Enrichment against ALL [:"Respondents”)], jointly, severally, corporately and personally,
in my favor; Claimant’s favor; and award mo; Claimant, treble-damages for antitrust violations in the amount of Six-
million DOLLARS and Zero CENTS ($6,000,000,00US) in Punitive Damages, plus costs and interest.

An Agreement between Alll [:"Respondents”:] and I, the Claimant were reached to enforce the Clayton Antitrust Act of
1914 and to grant judgment to me, Claimant [:”Plaintiff’:] for the fraudulent conveyance of language and conspiracy
to commit fraudulent conveyance of language for Defendant’s own profit by unlawfolly demanding Three-hondred
Ninety-two Thousand DOLLARS and Zero CENTS ($392,000.00US) or by taking Claimant's collateral property
described within; and award me, Claimant treble-damages for antitrust violations in the amount of One-million Five-
hundred Sixty-Eight DOLLARS and Zero CENTS ($1,568,000.00) in punitive damages, plus costs and interest.

Alt [;Respondents":] consented to a commercial lien against All {:”Respondents”:} personal assets including but not
limited to All real property, All personal property (excluding wedding photos and rings), All {:”Respondent’s”:]
Errors and Omissions Insurance Policy, All [:*Respondent’s”:] Liability Insurance Policy, All (;"Respondents”:]
Public Bond; and

All [:’Respondents”:] have consented to garnishments of Wages, Fees, Commissions, Bank Accounts, and Retirement
Accounts; and

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22. All [:’Respondents”:] have consented to interest charges and adjustments untll full balance fs paid; and

23. All [:"Respondents”:] have consented to an adjusted balance to be paid to me, Claimant in the amount totaling, Nine-million
Five-hundred Sixty-Eight Thousand DOLLARS and Zoro CENTS ($9,568,000.00),

24. Pursuant to the agreement between tho parties, and the congent to judgmont granted to me, Claimant by and for All
[:"Respondents”:] and the authority vested in me, the Claimant, as appointed Power-of-Attomey by and for All
{"Reapondents”:] as outlined in the Private Case Number 2.5 327 506 20/) US, T hereby exercise my authorily to consent to
judgment against All [:*Respondents”:).

25, This failure to respond, and now [:"De":]fault, is as an operation of faw, [:’Respondent’s”:] Final admission and agreement
to All statements and claims made by Claimant through facit procuration pertaining to the CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE;

Private Case Number: 8% 337 506 200 US dated September 29, 2020, and the NOTICE OF FAULT AND
OPPORTUNITY TO CURE dated October 26, 2020 executed by :Tarani-Alike: Johnson, the entire whole matter is res
judicata and stare decisis and [:"Respondents”:] are hereby estopped from proceeding in any actions, matters, court cases,

and collections against Claimant or Claimants property due to [;’Respondents”:] failure to respond,

In Witness Whereof, I hereunto sot my hand and seal on this 25th day of November, 2020 and hereby certify All ne 9 statertiéhtsanade
above are true, correct and complete, %6,

 Espctesty ry %
‘ # Peesncras 3
By: ‘ cu8N, Nowa oli “Swale CX ibs, Cony ee 6 i
:Taranl-Alike: Johnson:, Americah Preewoman 2 Fromhuy tareea ME NK
Private Civilian of the United States of America; Ainericaiy National “*!"** s
_ but not a Citizen of the United States % &
Private Clvillan of the Commonwealth of Pennsylvania Nic at
Special and Private inhabitant, domiciled in Philadelphia County °“2"= "°°
All Rights Reserved Without Prejudice oautbony 2, 2020

Verification and Acknowledgement

United States of America )
Commonwealth of Pennsylvania ) S. O.
Philadelphia County )

adi
Subscribed and sworn (or affirmed) before me on this Say of November, 2020.
By: :Taran}-Alike: Johnson:

PersonAlly known to ine.

Witness 1

{name anu address of witness)

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A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of

that document.

Commonwealth of Pennsytvania

(.. of Delaware :

scribed and swom to (or affirmed) before me on this 2S Gay of Nevember , RORO by
:Tarani-Alike: J 1: proved to ine on the basis of satisfactory evidence to be the person(s) who

appeared before me. ‘

i

7 the Commonwéalth of Pennsylvania

Cemveleion Expires Agr 2t, 2022.
0 Cammtaton Nerber #008, .

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EVIDENCE

ATTACHMENT
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il

NOTICE OF FAULT and OPPORTUNITY TO CURE

Notice to Agent is Notice to Principal
Notice to Principal is Notice to Agent

Claimant

tTarani-Alike: Johnson:, a living woman; American Freewoman
Private Citizen of the United States of America; American National
Authorized Agent, and Sole Beneficiary of the trust known as
TARANI A. JOHNSON also known as

Tarani Alike Johnson ™ ©, Federal Trademark # 88859594
alsoknownas TARANI ALIKE JOHNSON, A PRIVATE TRUST
and Tarani Alike Johnson Estate Living Trust (eTAJ156US)

in care of: = :Tarani-Alike: Johnson:

2285 Bryn Mawr Avenue

Philadelphia [19131] Pennsylvania

RE: Private Case Number: RE 327 506 200 US
Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule dated
September 29, 2020, executed by :Tarani-Alike: Johnson:, sent ta RESPONDENTS on September 30, 2020
via USPS Certified Mail Receipt No.{s) 7017 3380 0000 9203 2296, 7017 3380 0000 9203 2302, and
7017 3380 6000 9203 2319

October 26, 2020
Respondents:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and’Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Sarah E, Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

William M.E. Powers, III, Acting as WILLIAM M.E, POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

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Edward W. Kirn, Il, Acting as EDWARD W. KIRN, Il] ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Sarah K. McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and ,

Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplox, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and .

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and ‘

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A,, and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Harry B, Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and.

Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, IT, Acting as EDWARD W, KIRN, ll ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Jeanette Jacqueline O'Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and ,

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and

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Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK, N.A,,
and/or Agents, Successors, and/or Assigns, Jn care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William MLE. Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
{08057}; and .

William M.E. Powers, Jr., Acting as WILLIAM M.E. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK; N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Mcorestown,
New Jersey [08057]; and

William M.E. Powers, I, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
{08057}; and

William Power's, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and ‘

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103)};
and :

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania 19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Catherine T, Barbieri, Acting as CATHERINE T, BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Ryant T. Becker, Acting as RYAN T. BECKER ATTORNEY, and Agerit for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A, Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Fioor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL S, BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and , ,

Peter C, Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Maura L. Burke, Acting as MAURA L, BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B, Chovanes, Acting as MARTHA B, CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
. Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

David H. Colvin, Acting as DAVID H, COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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lan M. Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103};
and

Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, arid Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103); and

Siana Danch, Acting as SIANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ° . :

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Tristram R. Fall, INI, Acting as TRISTRAM R. FALL, Ill ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L, Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Barbara R., Flacker, Acting as BARBARA R. FLACKER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and . ,

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David M. Giles, Acting as DAVID M. GILES ATTORNEY, and Agent fr WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Aasigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

John L. Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Debra L, Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ° . ,

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and .

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Gary A. Hecht, Acting as GARY A. HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Ftoor, Philadelphia,
Pennsylvania [19103]; and

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Kelley B, Hodge, Acting as KELLEY B, HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Theadore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jessica Labella Kitain, Acting as FESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania (19103); and

Lisa B. Lane, Acting as LISA B, LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Mathew D, Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and .

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michoel J, Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Qlufunke O. Leroy, Acting as OLUFUNKE O, LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jane IE. Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20! Floor, Philadelphia, Pennsylvania [19103];
and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jason C, Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Robin B, Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

James A. Matthews III, Acting as JAMES A. MATTHEWS II ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Lauren P. McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jan D. Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Michael G. Menkowitz, Acting as MICHAEL G, MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ryan North Miiler, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Catherlne M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In cate of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Carrie B, Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Ramon R. Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsyivania [19103];
and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D, OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian J. O'Neill, Acting as BRIAN J. O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000, Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F. Posillico, Acting as JOSEPH F, POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
. N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Eric E. Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Abraham C, Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Bradley S. Rodos, Acting as BRADLEY 8. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Michelle S, Rosenberg, Acting as MICHELLE §. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J, SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Mark L. Silow, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David B. Snyder, Acting as DAVID B. SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, Jn care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

David S. Sokolow, Acting as DAVID 8S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Willlam H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stem, Acting as TRISHA B, STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agenis, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Paul Siraub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Asslgns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and.

Robert S, Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Craig R. Tractenberg, Acting as CRAIG R, TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Peter J. Tucci, Acting as PETER J. TUCC] ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

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Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J, Viscount, Jr., Acting as MICHAEL J, VISCOUNT, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103); and

Beth L, Weisser, Acting as BETH L. WEISSER ATTORNBY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and -

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, in care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and

Gregory B. Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and. :

Ronald L, Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 999
Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 321
North Clark Street, Suite 1600, Chicago, Illinois {60654); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2501
North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

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~

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1225
17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 747
Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 230
North Elm Street, Suite 1200, Greensboro, North Carolina {27401}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and ‘

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101
Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of BNY
Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 434
Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1001
Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 8300
Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700
Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1030
15" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 777
South 1700 West Tower, West Palm Beach, Florida [33401]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 919
North Market Street; Suite 300, Post Office Box 2323, Wilmington, Delaware [19899); and.

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and ,

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera 8. Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION and
OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care
of 420 Montgomery Street, San Francisco, California [94104]: and

David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104); and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104};and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
* Francisco, California [94104]; and

Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E, POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

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Julie L. Seammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L, SCAMMAHORN, SENIOR
EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, Callfornia [94104]; and

Michael S. Weinbach, Acting as MICHAEL S. WEINBACH, SENIOR EVP, CEO OF CONSUMER LENDING,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G, WEISS, SENIOR EVP, CEO OF CORPORATE & INVESTMENT
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; AND
EXPERIAN CORPORATION; AND

- TRANSUNION CORPORATION; AND
JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

' Tn care of:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania {19053] — Sent via USPS Certified Mail Receipt No. 7020 1290 0000 6327 2568

Martha B, Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103] ~ Sent via USPS Certified Mail Receipt No. 7020 1290 0000 6327 2575

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,

"In Care of 420 Montgomery Street, San Francisco, California [94104] Sent via USPS Certified Mail Receipt No,
7020 1290 0000 6327 2582

Claimant Hereby Gives The Following Trust Directive Regarding The Delivery Of This Said Notice:

Harry Busnett Reese, and/or Agents, Assigns, and/or Successors, are charged with delivering a true copy to ALL
RESPONDENTs of POWERS KIRN & ASSOCIATES LLC; and

Martha B, Chovanes, and/or Agents, Assigns, and/or Successors are charged with delivering a true copy to ALL
RESPONDENTS FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and a true copy to ALL RESPONDENTS of
WELLS FARGO BANK, N.A.,

(as so requested by notice of expressed representation in response dated October 19" 2020)

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Notice of Fault and Opportunity to Cure

Private Case Number: RE 327 506 200 US

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* STATEMENT OF FACTS

1, On or about October 15, 2020 at 5:10 p.m., “RESPONDENTS” of POWERS KIRN & ASSOCIATES LLC
received a true and correct copy of Constr uctive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule; Private Case Number: RE 327 506 ‘200 US dated September 29, 2020, by
USPS Certified Mail No. 7017 3380 0000 9203 2296 from the Claimant for RESPONDENTS attention;
AND

2. On or about October 6, 2020 at 1:04 p.m., “RESPONDENTS” of FOX ROTHSCHILD, LLP received a
true and correct copy of Constructive Notice of Conditional Acceptance with Commercial Affidavit
and Fee Schedule; Private Case Number: RE 327 506 200 US dated September 29, 2020, by USPS
Certified Mail No. 7017 3380 0000 9203 2302 from the Claimant for RESPONDENTS attention;

AND

3. “RESPONDENTS” of FOX ROTHSCHILD, LLP has agreed to accept notice for and respond on behalf of
“RESPONDENTS” WELLS FARGO BANK, N. A. by way of written expressed notice as a response dated
October 19, 2020 that “RESPONDENTS” of FOX ROTHSCHILD, LL? is representing
“RESPONDENTS” of WELLS FARGO BANK, N.A.;

AND

4, As of the 26" day of October, 2020, “RESPONDENTS” have not sufficiently responded to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29,
2020,

AND

5. ALL “RESPONDENTS”, Agents, Successors, and/or Agents, Successors, and/or Assigns, Jointly,

Severely, Corporately, and Personally are at Fault in this matter,

6. As.an operation of law, “RESPONDENTS” by dishonor of CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE;
Private Case Number: RE 327 506 200 US,

OPPORTUNITY TO CURE

In the event that “RESPONDENTS” failure to respond sufficiently to the CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case
Number: RE 327 506 200 US dated September 29, 2020 was an oversight, mistake or otherwise unintentional,
:Tarani-Alike: Jolinson:, Agent for TARANI A. JOHNSON also known as TARANI ALIKE JOHNSON,
(Claimant), grants “RESPONDENTS” seven (7) days, exclusive of the day of receipt, to cure the fault. Failure to
cure will constitute, as an operation of law, “RESPONDENTS” final admission and agreement to all statements and
claims made by affiant through tacit procuration pertaining to CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506
200 US and the whole matter shall be deemed res judicata and stare decisis. Response by “RESPONDENTS” must
be served on Claimant exactly as provided below/overleaf and using registered or certified and traceable mail
service:
:Tarani-Alike: Johnson:

in care of: 2285 Bryn Mawr Avenue

Philadelphia, Pennsylvania

Near Zip Code 19131

non-domestic, Within the United States of America

CLAIMANT awaits “RESPONDENTS” timely response.

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SILENCE IS ACQUIESCENCE - SPEAK NOW OR FOREVER HOLD YOUR PEACE

Failure to respond or responding with other than the demanded verified proof and full, whole and complete
accounting, via sworn affidavit, under RESPONDENTS’ full and complete commercial liability, signing under
penalty of perjury, will be documented and memorlalized with an Affidavit of Non-Response and an Affidavit of
Non-Performance and constitutes an agreement between ALL “RESPONDENTS”, Jointly and Severally,

Corporately and Personally, and their Agents, Successors, and/or Assigns, and The Claimant that:

1,

ALL Respondent do NOT have a valid claim against Claimant, Defendant, Plaintiff, nor against the
Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia, Pennsylvania [near 19131]
therefore having no past, present or future claim against Claimant; and

All Respondent consent to a Zero Balance Judgment against Claimant, Defendant, Plaintiff, and a Zero
Balance Claim against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia,
Pennsylvania [near 19131] therefore having no past, present or future claim against Claimant, leaving
:Tarani-Alike: Johnson:, a living woman and Authorized Agent and Sole Beneficiary for TARANI ALIKE
JOHNSON, A PRIVATE TRUST unencumbered, resulting in full and complete settlement, past, present
and future between all parties.; and

ALL RESPONDENTS prant Claimant specific power of attorney to sign any and all documents deemed
necessary to mark the alleged account to a zero balance, cancel lien against collateral, re-convey title, and
cancel the trust which holds the alleged mortgage, signed by Claimant on behalf of ALL RESPONDENTS,
ALL RESPONDENTS grant judgment for Theft against All RESPONDENTS, jointly, severally,
corporately and personally, in Claimants’ favor; and award Plaintiff and Real Party in Interest compensatory
damages in the amount of $1,000,000.00 for the unreturned tender of payment that was issued to
RESPONDENTS on or about April 12, 2018, and an additional amount of $1,000,000.00 for the unreturned

‘tender of payment that was issued to RESPONDENTS on or about April 27, 2018; for a sum total of Two

Million DOLLARS and Zero CENTS ($2,000,000.00) in compensatory damages, plus costs and

interest.

An Agreement between ALL RESPONDENTS and Claimant will be enforced that invokes the Clayton
Antitrust Act of 1914 and grants judgment for Fraudulent Misrepresentation and Unjust Enrichment against
All RESPONDENTS, jointly, severally, corporately and personally, in Claimants’ favor; and award
Claimant treble-damages for antitrust violations In the amount of Six Million DOLLARS and Zero
CENTS ($6,000,000.00) in punitive damages, plus costs and interest,

An Agreement between ALL RESPONDENTS and Claimant will be enforced that invokes the Clayton
Antitrust Act of 1914 and grants judgment to Plaintiff for the fraudulent conveyance of language and
conspiracy to commit fraudulent conveyance of language for Defendant’s own profit by unlawfully
demanding Three Hundred Ninety-Two Thousand DOLLARS and Zero CENTS ($392,000.00US) or by
taking Plaintiff's collateral property described within; and award Plaintiff treble-damages for antitrust
violations in the amount of | One Million Five Hundred Sixty-Eight DOLLARS and Zero CENTS
($1,568,000.00) in punitive damages, _ plus costs and interest.

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. 7. ALL “RESPONDENTS” consent to a commercial lien against “RESPONDENTS” personal assets
including but not limited to all real property, all personal property (excluding wedding photos and rings),
“RESPONDENTS” Errors and Omissions Insurance Policy, “RESPONDENTS” Liability Insurance Policy,
“RESPONDENTS” Public Bond; and ‘

8 ALL “RESPONDENTS?” consent to garnishments of Wages, Fees, Commissions, Bank Accounts, and
Retirement Accounts; and
9. ALL “RESPONDENTS?” consent to interest charges and adjustments until full balance is paid; and

ALL “RESPONDENTS?” are hereby NOTICED that “RESPONDENTS” are in Dishonor and the full
and total forgiveness can be achieved with a reimbursement of expenses for “RESPONDENTS”
Dishonor in the amount of Two Million DOLLARS and Zero CENTS ($2,000,000.00US) in
Compensatory Damages, payable to Claimant in Certified Funds, within Seven(7) Days of receipt of this
Notice of Fault Opportunity to Cure, proof of delivery of which will be certified by www-.usps.com (third
party witness and delivery agent).

To ALL Third Party Intervenors: be it known that any interference with the Claimants rights and
privileges to seek restitution from the “Respondents” constitutes agreement to enjoin that Third Party
Intervenor as an additional Respondent and Surety in this Notice of Fault Opportunity to Cure and
referenced CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US.

“{, a woman commonly known as :Tarani-Alike: Johnson:, (Claimant), on my own unlimited commercial
liability, certify that I have read the above and do know that the facts contained are true, correct and
complete, not misleading, the truth, the whole truth and nothing but the truth.”

WARNING:

Respondent are doing business as a lawyer, law firm, collection agency, and banks in the United States, Respondent’
ignorance of the LAW is not an excuse. Respondent are required to rebut the statements in this affidavit with a ‘Real
Party’ signing in an affidavit format, swearing under penalty of perjury, with full and unlimited commercial liability,
on a point by point basis certified by Affiant’s signature,

This Notice of Fault Opportunity to Cure constitutes constructive notice to the RESPONDENTS.

Govern Yourselves Accordingly,

Please direct responses to:
:Tarani-Alike: Johnson:, Sole Beneficiary and Authorized Agent for
TARANI ALIKE JOHNSON Trust

In care of
:Tarant-Alike: Johnson: 2285 Bryn Mawr Avenue, Philadelphia Pennsylvania [near 19131}

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-Copies to:
The Honorable Governor, Tom Wolf, in care of 225 Maln Capltol Building Harrisburg, Pennsylvania 17120,
and

The Honorable Attorney General of Pennsylvania, Josh Shapiro, in care of Strawberry Square, Harrisburg
Pennsylvania 17120; and 4

The Honorable Governor, Andrew M. Cuomo in care of New York State, State Capito! Building, Albany,
New York 12224; and

The Honorable Attorney General of New York, Letitia James, in care of The Capitol, Albany, New York
12224; and

The Honorable Governor of California, Gavin Newsom, in care of 1303 10" Street, Suite 1173, Sacramento,
California, 95814, Harrisburg Pennsylvania 17120; and

The Honorable Attorney General of California, Xavier Becerra, in care of 1300 “I” Street, Sacramento
California 95814,

Notice to Agent is notice to Principal. Notice to Principal is notice to Agent.

Enclosures: .
1. True Certified Copy of CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE
2. Copy of Proof of Delivery USPS Certified Mail 7017 3380 0000 9203 2296 and USPS Certified Mail
7017 3380 0000 9203 2302
3. Copy of Affidavit of Non-Performance; AND Copy of Affidavit of No-Response

IN WITNESS WHEREOF i hereunto set my hand and seal on this 22.9 * day of October, 2020 and here %e,
certify all the statements made above are true, correct and complete.

‘

"Tarani-Alike: Johnson:, Americans enw agin vot £
Private Civiiian of the United States of America: Ameriggn Natal vee i
Private Civilian of the Commonwealth of Pegnsilvaifia <

Special and Private Inhabitant, domiciled in Philadelphiss County eo
- All Rights Reserved Without eee. ang at S390

MEE ASA ee ab

Verification and Acknowledgement
United States of America )
Commonwealth of Pennsyiyania ) 5. a.
- Philadelphia County )
ale
Subscribed and sworn (or affirmed) before me on this 2b day of October, 2020. :
By: :Tarani-Alike: Johnson: wy

Personally known to me.

Witness 1 Witness 2

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EVIDENCE

ATTACHMENT
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AFFIDAVIT OF NON-RESPONSE

Notice to Agent is Notice to Principal
Notice to Principal is Notice te Agent

Private Case Number: RE 327 506 200 US
SENT VIA FED EX

SENT VIA USPS CERTIFIED MAIL RECEIPT

On this 26" day of October 2020, for the purpose of verification, i, :Tarani-Alike: Johnson:, do certify
that I am of legal age, of sound mind, will testify to the veracity of my statements, and have NOT
received a RESPONSE from Harry Burnett Reese, Acting as HARRY BURNETT REESE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; AND Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, AND Prince Altee Thomas, Acting
as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; AND Martha B, Chovanes, Acting as MARTHA B.
CHOVANES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; AND

ALL Agents for POWERS KIRN & ASSOCIATES LLC, and/or Successors, and/or Assigns; AND
ALL Agents for WELLS FARGO BANK, N.A., and/or Successors, and/or Assigns; AND

ALL Agents for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or.Successors, and/or

Assigns;

regarding the rebuttal of the Constructive Notice of Conditional Acceptance and attached Commercial

Affidavit by a real party of Respondents; labeled herein as Private Case No. RE 327 506 200 US; ona

point-by-point basis, via sworn affidavit, under Respondent’s full and unlimited commercial liability,
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signing under penalty of perjury, that the facts contained therein are true, correct, complete and not
misleading, OR refund of tender in full in the adjusted amount of on one million and zero cents
($1,000,000,000US) sent via Registered Mail RE 327463 756 US on or about April 12, 2018; and
refund of tender in full in the adjusted amount of on one million and zero cents ($1,000,000,000US) sent
via Registered Mail RE 475 578 147 US on or about

April 27, 2018; and refund of tender in full in the adjusted amount of on one million and zero cents
($1,000,000,000US) sent via Registered Mail RE 327 506 160 US on September 21, 2020, OR

conveyance of title.

Such document described above referenced by Private Case Number: RE 327 506 200 US was sent by
USPS Certified Mail Number(s) 7017 3380 0000 9203 2296, and 7017 3380 0000 9203 2302, 7017
3380 0000 9203 2319 on September 30, 2020 to:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Sarah E. Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

William M.E. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Edward W. Kirn, ITI, Acting as EDWARD W. KIRN, IJ ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Sarah K, McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

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Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex,
Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, IIL, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey
(08057); and

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Jeanette Jacqueline O’Donnell, Acting as EANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway
Moorestown, New Jersey [08057]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown,
New Jersey [08057]; and

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Sarah Ellis Power's, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

William M.E. Powers, Acting as WILLIAM M.E. POWERS. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New
Jersey [08057); and

William MLE, Powers, Jr., Acting as WILLIAM M._E. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

William MLE. Powers, IIL, Acting as WILLIAM M.E, POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Mame Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Catherine T. Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In cate of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103); and

Ryant T. Becker, Acting as RYAN T, BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A. Berkley, Acting as BRIAN A, BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL S. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Maura L, Burke, Acting as MAURA L. BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Tan M, Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floors, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

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David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

{19103}; and

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Tristram R. Fall, III, Acting as TRISTRAM R. FALL, I] ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L, Finger, Acting as CRAIG L, FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Barbara R. Flacker, Acting as BARBARA R, FLACKER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Howard R. Flaxman, Acting as HOWARD R, FLAXMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

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David M. Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John L. Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR, ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, » Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gary A. Hecht, Acting as GARY A. HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kelley B. Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103}; and

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania [19103]; and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen H, Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B, Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J. Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Olufunke O, Leroy, Acting as OLUFUNKE O, LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jane E. Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robin B, Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and

James A. Matthews III, Acting as JAMES A. MATTHEWS III ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Lauren P. McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ian D. Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

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Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103); and

Carrie B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103]; and

Ramon R. Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
(19103]; and ,

Jay G. Ochroch, Acting as JAY G, OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor,
Philadelphia, Pennsylvania [19103]; and

Brian J. O’Neill, Acting as BRIAN J. O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103); and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F. Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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David S. Rasner, Acting as DAVID S, RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Eric E, Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Abraham C, Reich, Acting as ABRAHAM C, REICH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Bradley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michelle S. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

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Kevin B. Scott, Acting as KEVIN B, SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jacqueline G, Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J . SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Mark L. Silow, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David B. Snyder, Acting as DAVID B, SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylyania [19103]; and

Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

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John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Robert S. Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter J. Tucci, Acting as PETER J. TUCC! ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and °

Beth L. Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Stephen P. Weiss, Acting as STEPHEN P, WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Gregory B. Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L, Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20 Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
999 Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In cate of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
321 North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2501 North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1225 17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
747 Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
230 North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, Califomia [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
101 Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
BNY Melion Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
434 Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1001 Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
8300 Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2700 Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1030 15” Street North West, Suite 380 East, Washington, District of Columbia [20005}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
777 South 1700 West Tower, West Palm Beach, Florida [33401}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
919 North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and
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Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, Califomia [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, Califomia [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT,
CHIEF FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S. Cart, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION
and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]: and

David C. Gallorees, Acting as DAVID C, GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, Califomia [94104]; and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Amanda G, Norton, Acting as AMANDA G, NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104];and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

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Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 4220 Montgomery Street,
San Francisco, California [94104]; and

Julie L, Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN,
SENIOR EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104); and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Michael S. Weinbach, Acting as MICHAEL S. WEINBACH, SENIOR EVP, CEO OF CONSUMER
LENDING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE &
INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; and

EXPERIAN CORPORATION; and

TRANSUNION CORPORATION; and

JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

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In care of: setae oe

2285 Bryn Mawr Avenue, Philadelphia Pennsylvania [1913 1}

Sent via FEDEX ‘
Sent via USPS Certified Mail Number
toh
pepsthen Ale" aieae : docans =
Date Tarani-Alike: Johnson, a Living

we
Agent for TARANI AL: Louinsoss- :
Y

Verification and Acknowledgement
United States of America )
Commonwealth of Pennsylvania ) Ss. a.
Philadelphia County )
Subscribed and sworn (or affirmed) before me on this 26,"tay of October, 2020.
‘By: :Tarani-Alike: Johnson:

Personally known to me.

‘Witness1 Witness 2

(name and address of witness)

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AFFIDAVIT OF NON-RESPONSE
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JURAT

A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of
that document.

Commonwealth of Pennsylvania

County of Delaware

Subscribed and sworn to (or affirmed) before me on this Qt X& day of Cchkaer  , RO 20 by
i-Alike: Jo proved to me on the basis of satisfactory evidence to be the person(s) who

ype before me,

TANESS my hand a

why

otary Public sf the Cor wealth of Pennsylvania

My commission expires: LF, 30 DOS

Commanmath of Pecraytvania » feat
Wir A rise secre .

Ny Conmnianion Expires Agri 21, 2002
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EVIDENCE

ATTACHMENT
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ty

AFFIDAVIT OF N ON-PERFORMAN CE

Notice to Agent is Notice to Principal
Notice to Principal is Notice to Agent

Private Case Number: RE 327 506 200 US
SENT VIA FED EX

SENT VIA USPS CERTIFIED MAIL RECEIPT

On this 26"! day of October 2020, for the purpose of verification, i, :Tarani-Alike: Johnson:, do certify
that I am of legal age, of sound mind, will testify to the veracity of my statements, and have NOT
received PERFORMANCE from Harry Burnett Reese, Acting as HARRY BURNETT REESE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; AND Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, AND Prince Altee Thomas, Acting
as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; AND Martha B. Chovanes, Acting as MARTHA B.
CHOVANES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; AND

ALL Agents for POWERS KIRN & ASSOCIATES LLC, and/or Successors, and/or Assigns; AND
ALL Agents for WELLS FARGO BANK, N.A., and/or Successors, and/or Assigns; AND

ALL Agents for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Successors, and/or
Assigns;

regarding the rebuttal of the Constructive Notice of Conditional Acceptance and attached Commercial

Affidavit by a real party of Respondents; labeled herein as Private Case No. RE 327 506 200 US; ona

point-by-point basis, via swom affidavit, under Respondent’s full and unlimited commercial liability,
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signing under penalty of perjury, that the facts contained therein are true, correct, complete and not
misleading, OR refund of tender in full in the adjusted amount of on One-million and zero cents
($1,000,000,000US) sent via Registered Mail RE 327463 756 US on or about April 12, 2018; and
refund of tender in full in the adjusted amount of on one million and zero cents ($1,000,000,000US) sent
via Registered Mail RE. 475 578 147 US on or about

April 27, 2018; and refund of tender in full in the adjusted amount of on One-million and zero cents
($1,000,000,000US) sent via Registered Mail RE 327 506 160 US on September 21, 2020, OR

conveyance of title.

Such document described above referenced by Private Case Number: RE 327 506 200 US was sent by
USPS Certified Mail Number(s) 7017 3380 0000 9203 2296, and 7017 3380 0000 9203 2302, 7017
3380 0000 9203 2319 on September 30, 2020 to:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and ‘

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jil! Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Sarah FE. Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

William M.E. Powers, HI, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Edward W. Kirn, TH, Acting as EDWARD W. KIRN, I] ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Sarah K. McCaffery, Acting as SARAH K, MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Page 2 of 20
AFFIDAVIT OF NON-PERFORMANCE
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Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053}; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex,
Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Idward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, DL, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and ,

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Jeanette Jacqueline O’Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

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Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
{08057]; and

Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

William M.E. Powers, Acting as WILLIAM M.E, POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William M.E. Powers, Jr., Acting as WILLIAM M.E. POWERS, JR, ATTORNEY, and Agent for WELLS
FARGO BANK, NV.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

William M.E. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Ahnited Bahgat, Acting as AYMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Catherine T. Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Ryant T. Becker, Acting as RYAN T. BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL S, BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Matra L. Burke, Acting as MAURA L. BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK. T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and :

Jan M. Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

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David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jean A. Durting, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Patrick J. Egan, Acting as PATRICK J, EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael Ejidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Tristram R. Fall, IIT, Acting as TRISTRAM R. FALL, It] ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L. Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Barbara R. Flacker, Acting as BARBARA R. FLACKER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

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David M. Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and —

John L, Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Johus J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Gary A. Hecht, Acting as GARY A. HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kelley B. Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsytvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ‘

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B. Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Michael J. Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jane E. Lessner, Acting as JANE E, LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Matthew A. Levitsky, Acting as MATTHEW A, LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K, LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

‘James A, Matthews HI, Acting as JAMES A. MATTHEWS III ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and -

Lauren P. McKenna, Acting as LAUREN P. MCKENNA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Tan D. Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20” Floor, Philadelphia, Pennsylvania
[19103]; and

Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Carrie B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E, Needles, Acting as MARC E, NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]: and

Ramon R. Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
. Philadelphia, Pennsylvania [19103]; and

Brian J. O’ Neill, Acting as BRIAN J. O’NELLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F. Posillico, Acting as JOSEPH F, POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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David 8. Rasner, Acting as DAVID 8S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Eric E. Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia, Pennsylvania
[19103]; and

Abraham C. Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsyivania
[19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103); and ,

Bradley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadeiphia, Pennsylvania
. [19103]; and .

Michelle 8, Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinskry, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

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Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Silow, Acting as MARK L, SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
119103]; and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David B. Snyder, Acting as DAVID B. SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

David 8. Sokolow, Acting as DAVID S, SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ,

Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

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John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia, Pennsylvania
[19103]; and

Robert S. Tintner, Acting as ROBERT S, TINTNER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter J. Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103); and ~ .

Michael K. Twersky, Acting as MICHAEL K, TWERSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott L. Vernick, Acting as SCOTT L, VERNICK. ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Marvin L, Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Beth L, Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

[19103]; and

Gregory B. Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L. Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
999 Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

‘ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
321 North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2501 North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1225 17" Street, Suite 2200, Denver, Colorado [80202); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
747 Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
230 North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assipns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700,'Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
101 Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
BNY Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
434 Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
_ 1001 Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
8300 Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2700 Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1030 15" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
777 South 1700 West-Tower, West Palm Beach, Florida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
919 North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and
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Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 4220 Montgomery Street, San Francisco, California [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT,
CHIEF FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S. Carr, Acting as MUNEERA S, CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent
for WELLS FARGO BANK, N.A,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION
and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]: and

David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
_ 420 Montgomery Street, San Francisco, California [94104]; and

Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104];and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

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Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Julie L. Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN,
SENIOR EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Michael S. Weinbach, Acting as MICHAEL S. WEINBACH, SENIOR EVP, CEO OF CONSUMER
LENDING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE &
INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; and
EXPERIAN CORPORATION; and
TRANSUNION CORPORATION; and
JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

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In cate of: CQBetwce Mey Qoa0
2285 Bryn Mawr Avenue, Philadelphia Pennsylvania [19131]

Sent via FEDEX
Sent via USPS Certified Mail Number

Crkeber DG" QIO

Date

q arani-Alike: Johnson, a Lip

ing Ware
and Agent for TARANI nuhcnesseee t
JOHNSON a oer

Verification and Acknowledgement

United States of America )
Commonwealth of Pennsylvania ) S. a.
Philadelphia County )

Subscribed and sworn (or affirmed) before me on this Q(cUay of October, 2020.

By: :Tarani-Alike: Johnson:

Personally known to me. ‘
Witness 1 Witness 2
ns fea - a Kans
Moser fue.
qe i t 913) Fac DecVereoy Nae Wx
(name and address of witness) (name and address of witness) ‘6
Page 20 of 20

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FURAT

A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of
that document.

Commonwealth of Pennsylvania
County of Delaware
Subscribed and sworn to (or affirmed) before me on this 26°F Xl day of Cech , RO 20 by
ike: J proved to mé on the basis of satisfactory evidence to be the person(s) who
appaned before me.

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EVIDENCE

ATTACHMENT
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NOTICE OF DEFAULT and CONSENT TO JUDGMENT

4
Notice to Agent is Notice to Principal
Notice to Principal is Notice to Agent

Claimant

_!Tayani-Alike: Johnson:, a living woman; American Freewoman

Private Citizen of the United States of America; American National
Authorized Agent, and Sole Beneficiary of the trust known as
TARANI A. JOHNSON also known as

Tarani Alike Johnson ™! ©, Federal Trademark # 88859594

also known as TARANI ALIKE JOHNSON, A PRIVATE TRUST
and Tarani Alike Johnson Estate Living Trust (eTAJ156US)

in care of: Tarani-Alike: Johnson:

. 2285 Bryn Mawr Avenue

Philadelphia [19131] Pennsylvania

RE: Private Case Number: RE 327 506 200 US
Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule dated
September 29, 2020, executed by :Tarani-Alike: Johnson:, sent to RESPONDENTS on September 30, 2020
via USPS Certified Mail Receipt No.(s) 7017 3380 0000 9203 2296, 7017 3380 0000 9203 2302, and
7017 3380 0000 $203 2319

SENT VIA REGISTERED MAIL; RE 327 506 227 US; RE 327 506 235 US; and RE 327 506 244 US
SENT VIA FED EX
SENT VIA USPS CERTIFIED MAIL RECEIPT

November 10, 2020 ‘
Respondents:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania (19053); and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
{19053}; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Sarah E. Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

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William M.E. Powers, 11, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and ;

Edward W. Kira, IIT, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Sarah K. McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

_ ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and :

Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, U1, Acting as EDWARD W. KIRN, Ill ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];
and

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Jeanette Jacqueline O’Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
(08057); and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

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Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057];

and :
Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A,, and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK, N.A,,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William ME, Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
(08057); and

William M.E. Powers, Jr., Acting as WILLIAM M.E. POWERS, IR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

William MLE. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO ,
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and .

Willlam Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and.Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E, ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and :

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Catherine T. Barbieri, Acting as CATHERINE T, BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Herbert Bass, Acting as HERBERT BASS ATTORNBY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Ryant T. Becker, Acting as RYAN T, BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL 8. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO ~
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Maura L. Burke, Acting as MAURA L. BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Jacqueline M. Carolan, Acting as JACQUELINE M, CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20” Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and :

David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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lan M. Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103};
and

Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

4

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; °
and

Jean A. Durling, Acting as JEAN A, DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103};
and

Michael Eide, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and .

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Tristram R. Fall, 111, Acting as TRISTRAM R. FALL, Ill ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ,

Craig L. Finger, Acting as CRAIG L, FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Barbara R. Flacker, Acting as BARBARA R, FLACKER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and .

Howard R. Fiaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Eleanor Vaida Gerhards, Acting as ELKEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, in care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David M. Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and ‘

Edward Gillesple, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

John L, Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, .
Pennsylvania [19103]; and ,

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Dylan T, Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Gary A. Hecht, Acting as GARY A. HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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NOTICE OF DEFAULT and CONSENT TO JUDGMENT
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Kelley B. Hodge, Acting as KELLEY B, HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and '

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Peunsylvania
[19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Klelbex, Acting as GREGORY J, KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, ‘In care of 2000 Market Street, 20"-Floor, Philadelphia,
Pennsylvania [19103}; and

Michael J. Kornacki, Acting as MICHAEL J, KORNACKI ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B, Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Michael J. Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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NOTICE OF DEFAULT and CONSENT TO JUDGMENT
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Jane E, Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103);

and

Brian J, Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103};

and :

Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Phi ladelphia,
Pennsylvania [19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Robin B. Matlin, Acting as ROBIN B, MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

James A. Matthews ILI, Acting as JAMES A. MATTHEWS II] ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Lauren P, McKenna, Acting as LAUREN P, MCKENNA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

lan D, Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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NOTICE OF DEFAULT and CONSENT TO JUDGMENT
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Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

‘

Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO BANK, |
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and :

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Carrie B. Nase-Poust, Acting as CARRTE B. NASE-POUST ATTORNBRY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Strest, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ramon R. Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jay G. Oehroch, Acting as JAY G. OCHROCH- ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian J. O’ Neill, Acting as BRIAN J, O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F, Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylyania
[19103]; and

Eric E, Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and
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Abraham C. Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Fioor, Philadelphia,
Pennsylvania [19103]; and .

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Bradley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Michelle S, Rosenberg, Acting as MICHELLE 8S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK, NA.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylyania [19103]; and

Kevin B, Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronaid J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Mark L, Silow, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floors, Philadelphia,
Pennsylvania [19103]; and

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David B, Snyder, Acting as DAVID B, SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and 1

Shelly A, Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and i

Trisha B. Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents,
Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNBY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Robert S. Tintner, Acting as ROBERT S, TINTNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter J, Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania [19103];
and

Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ‘

Scott L, Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ‘

Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR, ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and
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Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Beth L. Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gregory B. Williams, Acting as GREGORY B, WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L. Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 999
Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or Assigns,
In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N, Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 321
North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2501
North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1225
17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In cave of 747
Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 230
North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [$9135]; and

*

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of One
Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 101
Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of BNY
Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey (08648); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 434
Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 1001
Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 8300
Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2700
Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In cate of 1030
15"" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 777
South 1700 West Tower, West Palm Beach, Florida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 919
North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF .
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

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NOTICE OF DEFAULT and CONSENT TO JUDGMENT
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Muneera S. Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and \

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION and
OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care
of 420 Montgomery Street, San Francisco, California [94104]; and

David C, Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, Tn Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104);and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Perry G, Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Julie L, Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN, SENIOR
EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Sau] Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street, San
Francisco, California [94104]; and

Michael S. Weinbach, Acting as MICHAEL 8S. WEINBACH, SENIOR EVP, CEO OF CONSUMER LENDING,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

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Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE & INVESTMENT
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of

‘420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; AND
EXPERIAN CORPORATION; AND
TRANSUNION CORPORATION; AND
JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

In care of:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053] — Sent via FEDEX and USPS Certified Mail Receipt No, 7019 0700 0000 6633 7874

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for AVELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103] ~ Sent via FEDEX and USPS Certified Mail Receipt No. 7019 0700 0000 6633 7881

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns,
In Care of 420 Montgomery Street, San Francisco, California [94104] Sent via FEDEX and USPS Certified Mail
Receipt No. 7019 0700 0000 6633 7898

Claimant Hereby Gives The Following Trust-Directive Regarding The Delivery Of This Said Notice:

Harry Burnett Reese, and/or Agents, Assigns, and/or Successors, are charged with delivering a true copy to ALL
RESPONDENTSs of POWERS KIRN & ASSOCIATES LLC; and

" Martha B. Chovanes, and/or Agents, Assigns, and/or Successors are charged with delivering a true copy to ALL

RESPONDENTS FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and a true copy to ALL RESPONDENTS of
WELLS FARGO BANK, N.A.
(as so requested by notice of expressed representation in response dated October 19" 2020)

STATEMENT OF FACTS

1. On or about October 15, 2020 at 5:10 p.m., “RESPONDENTS” of POWERS KIRN & ASSOCIATES LLC
received a true and correct copy of Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule; Private Case Number: RE 327 506 200 US dated September 29, 2020, by
USPS Certified Mail No. 7017 3380 0000 9203 2296 from the Claimant for RESPONDENTS attention;
AND

2. On or about October 6, 2020 at 1:04 p.m., “RESPONDENTS” of FOX ROTHSCHILD, LLP received a
true and correct copy of Constructive Notice of Conditional Acceptance with Commercial Affidavit
and Fee Schedule; Private Case Number: RE 327 506 200 US dated September 29, 2020, by USPS
Certified Mail No. 7017 3380 0000 9203 2302 from the Claimant for RESPONDENTS attention;

AND

3. “RESPONDENTS” of FOX ROTHSCHILD, LLP has agreed to accept notice for and respond on behalf of
“RESPONDENTS” WELLS FARGO BANK, N. A. by way of written expressed notice as a response dated
October 19, 2020 that “RESPONDENTS” of FOX ROTHSCHILD, LLP is representing
“RESPONDENTS” of WELLS FARGO BANK, N.A,;

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AND

As of the 26" day of October, 2020, “RESPONDENTS” have not sufficiently responded to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL
AFFIDAVIT and FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29,
2020, .

AND

On or about November 2, 2020 at 11:28 a.m., “RESPONDENTS” of POWERS KIRN & ASSOCIATES
LLC received via FEDEX PRIORITY OVERNIGHT NO. 398461054737; signed for by “S, Gonzales” at
the “Receptionist/Front Desk”, and via Certified Mai! U.S. Postal Service NO. 7020 1290 0000 6327 2568
on or about November 2, 2020 at 11:16 a.m., a true and correct copy of the Notice of Fault Opportunity
to Cure; Re: Private Case Number: RE 327 506 200 US along with the following additional Enclosures
were sent as a reminder and second chance to sufficiently respond and/or sufficiently perform to cure their
dishonor :

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2296),

b) Proof of Delivery for the above stated document from U.S. Postal Service

c) Affidavit of Non-Performance

d) Affidavit of Non- Response; and

e) Fox Rothschild LLP Insufficient Response from the Claimant for RESPONDENTS attention;

AND

On or about November 2, 2020 at 8:44 a.m., “RESPONDENTS” of WELLS FARGO BANK N.A. received
via FEDEX PRIORITY OVERNIGHT NO, 398400946049; signed for by “T. Wilson” of the
“Shipping/Receiving” department, and via Certified Mail U.S. Postal Service NO. 7020 1290 0000 6327
2582 on or about November 2, 2020 at 9:47 a.m., a true and correct copy of the Notice of Fault
Opportunity to Cure; Re: Private Case Number: RE 327 506 200 US along with the following additional
Enclosures:

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2302),

b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commerclal
Affidavit and Fee Schedule from U.S. Postal Service

c) Affidavit of Non-Performance

d) Affidavit of Non- Response; and

. , 6) Fox Rothschild LLP Insufficient Response from the Claimant for RESPONDENTS attention;

AND

On or about November 2, 2020 at 9:34 a.m., “RESPONDENTS” of FOX ROTHSCHILD LLP. received
via FEDEX PRIORITY OVERNIGHT NO. 398401207120; signed for by “A. Rosario” of the “Mailroom”,
and via Certified Mail U.S. Postal Service NO. 7020 1290 0000 6327 2582 on or about November 2, 2020
at 2:19 p.m., a true and correct copy of the Notice of Fault Opportunity to Cure; Re: Private Case
Number: RE 327 506 200 US along with the following additional Enclosures:

a) Constructive Notice of Conditional Acceptance with Commercial Affidavit and Fee Schedule;
Private Case Number: RE 327 506 200 US dated September 29, 2020 (original sent by USPS Certified
Mail No. 7017 3380 0000 9203 2302),

b) Proof of Delivery for the Constructive Notice of Conditional Acceptance with Commercial
Affidavit and Fee Schedule from U.S. Postal Service

c) Affidavit of Non-Performance

d) Affidavit of Non- Response; and

¢) Fox Rothschild LLP Insufficient Response from the Claimant for RESPONDENTS attention;

AND

As of today’s day, the 10" day of November, 2020, ALL “RESPONDENTS” have failed to sufficiently
respond to the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE: Private Case Number: RE 327 506 200 US dated
September 29, 2020, and the NOTICE OF FAULT AND OPPORTUNITY TO CURE dated October 26,
2020.

AND

ALL “RESPONDENTS”, Agents, Successors, and/or Agents, Successors, and/or Assigns, Jointly,
Severely, Corporately, and Personally are at Fault in this matter,

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Private Case Number: RE 327 506 200 US

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AND
10. As an operation of law, “RESPONDENTS?” by dishonor of the CONSTRUCTIVE NOTICE OF
. CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and FEE SCHEDULE;

Private Case Number: RE 327 506 200 US dated September 29, 2020, and the NOTICE OF FAULT
AND OPPORTUNITY TO CURE dated October 26, 2020, have created a FAULT.

i

This failure to respond, and now DEFAULT, is as an operation of law, Respondent’s FINAL admission and
agreement to all statements and claims made by Claimant through facit procuration pertaining to the
CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with COMMERCIAL AFFIDAVIT and
FEE SCHEDULE; Private Case Number: RE 327 506 200 US dated September 29, 2020, and the NOTICE OF
FAULT AND OPPORTUNITY TO CURE dated October 26, 2020 executed by :Tarani-Alike: Johnson, :
the entire whole matter is res judicata and stare decisis and Respondents are in estoppel by Respondents’
failure to respond,

SILENCE IS ACQUIESCENCE - SPEAK NOW OR FOREVER HOLD YOUR PEACE

Failure to respond or responding with other than the demanded verified proof and full, whole and complete
accounting, via sworn affidavit, under RESPONDENTS?’ full and complete commercial liability, signing under
penalty of perjury, will be documented and memorialized with an Affidavit of Non-Response and an Affidavit of
Non-Performance and constitutes an agreement between ALL “RESPONDENTS”, Jointly and Severally,
Corporately and Personally, and their Agents, Successors, and/or Assigns, and The Claimant that:

1, ALL Respondents DO NOT have a valid claim against Claimant, :Tarani-Alike: Johnson:, a living
woman; American Freewoman, Private Citizen of the United States of America; American National,
Authorized Agent, and Sole Beneficiary of the trust known as TARANI A, JOHNSON also known as
Tarani Alike Johnson ™ ©, Federal Trademark # 88859594 also known as TARANI ALIKE
JOHNSON nor against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia,

* Pennsylvania [near 19131] therefore having no past, present or future claims against Claimant; and

2. All Respondents consent to a Zero Balance Judgment against Claimant, Defendant, Plaintiff, and a Zero
Balance Claim against the Collateral Property known as 2285 Bryn Mawr Avenue Philadelphia,
Pennsylvania [near 19134] therefore having no past, present or future claim against Claimant, leaving
:‘Tarani-Alike: Johnson:, a living woman and Authorized Agent and Sole Beneficiary for TARANI ALIKE
JOHNSON, A PRIVATE TRUST unencumbered, resulting in full and complete settlement, past, present
and future between all parties.; and

3, ALL RESPONDENTS grant Claimant specific Power of Attorney to sign any and all documents deemed
necessary to mark the alleged account to a zero balance, remove any outstanding judgments, cancel lien
against collateral, re-convey title, and cancel the trust which holds the alleged mortgage, signed by
Claimant on behalf of ALL RESPONDENTS,

4. ALL RESPONDENTS grant Administrative Judgment for Theft against All RESPONDENTS, jointly,
severally, corporately and personally, in Claimants’ favor; and award Plaintiff and Real Party in Interest
compensatory damages in the amount of One-million DOLLARS and Zero CENTS ($1,000,000.00US)
for the unreturned tender of payment that was issued to RESPONDENTS on or about April 12, 2018, and
an additional amount of One-million DOLLARS and Zero CENTS ($1,080,000.00US) for the unreturned

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tender of payment that was issued to RESPONDENTS on or about April 27, 2018; for a sum total of Two-
million DOLLARS and Zero CENTS ($2,000,000.00US) in compensatory damages, plus costs and

interest.

5. An Agreement between ALL RESPONDENTS and Claimant will be enforced to grant Administrative
Judgment for Fraudulent Misrepresentation and Unjust Enrichment against All RESPONDENTS, jointly,
severally, corporately and personally, in Claimants’ favor; and award Claimant treble-damages for antitrust
violations in the amount of Six-million DOLLARS and Zero CENTS ($6,000,000,00US) in Punitive

Damages, plus costs and interest.

6. An Agreement between ALL RESPONDENTS and Claimant will be enforced that invokes the Clayton
Antitrust Act of 1914 and grants judgment to Plaintiff for the fraudulent conveyance of language and
conspiracy to commit fraudulent conveyance of language for Defendant’s own profit by unlawfully
demanding Three-hundred Ninety-two Thousand DOLLARS and Zero CENTS ($392,000.00US) or by
taking Plaintiff's collateral property described within; and award Plaintiff treble-damages for antitrust
violations in the amount of One-million Five-hundred Sixty-Eight DOLLARS and Zero CENTS
($1,568,000.00) in punitive damages, plus costs and interest.

7. ALL “RESPONDENTS” consent to a commercial lien against “RESPONDENTS” personal assets
including but not limited to all real property, all personal property (excluding wedding photos and rings),
“RESPONDENTS” Errors and Omissions Insurance Policy, “RESPONDENTS” Liability Insurance Policy,
“RESPONDENTS” Public Bond; and

8. ALL “RESPONDENTS” consent to garnishments of Wages, Fees, Commissions, Bank Accounts, and
Retirement Accounts; and

9. ALL “RESPONDENTS” consent to interest charges and adjustments until full balance is paid; and
10.. ALL “RESPONDENTS” consent to an adjusted balance to be paid to Claimant in the amount totaling
Nine-million Five-hundred Sixty-Eight Thousand DOLLARS and Zero CENTS ($9,568,000.00).

“i, a woman commonly known as :Tarani-Alike: Johnson:, (Claimant), on my own unlimited commercial
liability, certify that I have read the above and do know that the facts contained are true, correct and
complete, not misleading, the truth, the whole truth and nothing but the truth.”

Govern Yourselves Accordingly,

IN WITNESS WHEREOF i hereunto set my hand and seal on this to™ day of November, 2020 and oot
certify all the statements made above are true, correct and complete.

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BY genase Johnson:, American Freedman $ “sole oe

Private Civilian of the United States of America: nde alas EN
Private Civilian of the Commonwealth of Pennsylv

Special and Private Inhabitant, domiciled in Philadolghta@ Shuniiy.
All Rights Reserved Without Prejudice Se nee ate

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Enclosures:

1,

True Certified Copy of CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE dated September 29", 2020; AND

Copy of Proof of Delivery of CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE
WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE via USPS Certified Mail 7017 3380 0000
9203 2296 and USPS Certified Mail 7017 3380 0000 9203 2302; AND

True Certified Copies of AFFIDAVIT OF NON-PERFORMANCE and AFFIDAVIT OF

NON- RESPONSE dated October 26", 2020; AND

Copy of FOX ROTHSCHILD LLP INSUFFICIENT RESPONSE dated October 19th 2020

(2 Original Insufficient Responses from FOX ROTHSCHILD LLP returned directly back to sender); AND
True Certified Copy of NOTICE OF FAULT and OPPORTUNITY TO CURE dated October 26",
2020; AND _ : , ,

Copies of Proof of Delivery of true certified copies of CONSTRUCTIVE NOTICE OF CONDITIONAL
ACCEPTANCE WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE, NOTICE OF FAULT
and OPPORTUNITY TO CURE, AFFIDAVITS OF NON-PREFORMANCE and NON-RESPONSE
dated October 26" 2020, and FOX ROTHSCHILD LLP INSUFFICIENT RESPONSE dated

October 19", 2020 via USPS Certified Mail 7020 1290 0000 6327 2568, 7020 1290 0000 6327 2582, and

-7020 1290 0000 6327 2575; AND .

Copies of Proof of Delivery of the true certified copies of CONSTRUCTIVE NOTICE OF
CONDITIONAL ACCEPTANCE WITH COMMERCIAL AFFIDAVIT and FEE SCHEDULE,
NOTICE OF FAULT and OPPORTUNITY TO CURE, AFFIDAVITS OF NON-PREFORMANCE
and NON-RESPONSE dated October 26" 2020, and FOX ROTHSCHILD LLP INSUFFICIENT
RESPONSE dated October 19", 2020 via FEDEX PRIORITY OVERNIGHT personal delivery No.
398400946049, No. 398401054737, and No. 398401207120; AND .

True Certified Copies of AFFIDAVIT OF NON-PERFORMANCE and AFFIDAVIT OF NON-
RESPONSE dated November 10", 2020

Invoice for Financial Injury due and payable by WELLS FARGO BANK, N.A,, POWERS KIRN &
ASSOCIATES LLC, and FOX ROTHSCHILD LLP et al to Tarani-Alike Johnson; Invoice No. WFB2285-1

10. True Certified Copy of ESTOPPEL BY ACQUIESCENCE

Notice to Agent is notice to Principal, Notice to Principal is notice to Agent.
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NOTICE OF DEFAULT and CONSENT TO JUDGMENT
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Copies to:
The Honorable Governor, Tom Wolf, in care of 225 Main Capitol Building Harrisburg, Pennsylvania 17120,
and

The Honorable Attorney General of Pennsylvania, Josh Shapiro, in care of Strawberry Square, Harrisburg
Pennsylvania 17120; and

The Honorable Governor, Andrew M. Cuomo in care of New York State, State Capitol Building, Albany,
New York 12224; and

The Honorable Attorney General of New York, Letitla James, in care of The Capitol, Albany, New York
12224; and

The Honorable Governor of Callfornia, Gavin Newsom, in care of 1303 10" Street, Suite 1173, Sacramento,
California, 95814, Harrisburg Pennsylvania 17120; and

The Honorable Attorney General of California, Xavier Becerra, in care of 1300 “1 Street, Sacramento
California 95814,

Verification and Acknowledgement

United States of America )
Commonwealth of Pennsylvania ) 5. a.
Philadelphia County )
Subscribed and sworn (or affirmed) before me on this (do day of November, 2020,
By: :Tarani-Alike: Johnson:
Personally known to me.

Witness 1

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Frodatal etic tunes pani. Gee Goek suet Nes Yoel
(name and‘address of witnéss) Cuusil (name and address of witness) toni]

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EVIDENCE

ATTACHMENT
E

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AFFIDAVIT OF NON-RESPONSE

Notice to Agent is Notice to Principal
Notice to Principal is Notice to Agent

Private Case Number: RE 327 506 200 US

SENT VIA REGISTERED MAIL; RE 327 506 227 US; RE 327 506 235 US; and RE 327 506 244 US
SENT VIA FED EX

SENT VIA USPS CERTIFIED MAIL RECEIPT

On this 10" day of November 2020, for the purpose of verification, i, :Tarani-Alike: Johnson:, do certify
that I am of legal age, of sound mind, will testify to the veracity of my statements, and have NOT

_ received a RESPONSE from Harry Burnett Reese, Acting as HARRY BURNETT REESE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; AND Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, AND Prince Altee Thomas, Acting
as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; AND Martha B, Chovanes, Acting as MARTHA B.
CHOVANES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; AND .

ALL Agents for POWERS KIRN & ASSOCIATES LLC, and/or Successors, and/or Assigns; AND
ALL Agents for WELLS FARGO BANK, N.A., and/or Successors, and/or Assigns; AND

ALL Agents for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Successors, and/or .

Assigns;

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AFFIDAVIT OF NON-RESPONSE
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regarding the rebuttal of the Constructive Notice of Conditional Acceptance and attached Commercial
Affidavit by a real party of Respondents; labeled herein as Private Case No. RE 327 506 200 US; ona
point-by-point basis, via sworn affidavit, under Respondent’s full and unlimited commercial liability,
signing under penalty of perjury, that the facts contained therein are true, correct, complete and not
misleading, OR refund of tender in full in the adjusted amount of on one million and zero cents
($1,000,000;000US) sent via Registered Mail RE 327463 756 US on or about April 12, 2018; and
refund of tender in full in the adjusted amount of on one million and zero cents ($1,000,000,000US) sent
via Registered Mail RE 475 578 147 US on or about

April 27, 2018; and refund of tender in full in the adjusted amount of on one million and zero cents
($1,000,000,000US) sent via Registered Mail RE 327 506 160 US on September 21, 2020, OR

conveyance of title.

Such document described above referenced by Private Case Number: RE 327 506 200 US was sent
along with a true certified copy of NOTICE OF FAULT and OPPORTUNITY TO CURE dated
October 26, 2020; true certified copy of AFFIDAVIT OF NON-PERFORMANCE dated October 26,
2020; true certified copy of AFFIDAVIT OF NON-RESPONSE dated October 26, 2020, Copy of

- Proof of the CONSTRUCTIVE NOTICE OF CONDITONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE; and true certified copy of FOX
ROTHSCHILD LLP ‘s INSUFFICIENT RESPONSE dated October 19, 2020 via FEDEX
PRIORITY OVERNIGHT delivery No. 398400946049, 398401054737, and 398401207120; and USPS
Certified Mail Number(s) 7020 1290 0000 6327 2568, and 7020 1290 0000 6327 2582, 7020 1290 0000
6327 2575 on October 30, 2020 to:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO

BANK, N.A,, and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

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AFFIDAVIT OF NON-RESPONSE
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Sarah E. Powers, Acting as SARAH E, POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

William MLE. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Edward W. Kirn, I, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A,, and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and

Sarah K. McCaffery, Acting as SARAH K. MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex,
Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
[19053]; and

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A,, and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A,, and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, UI, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

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AFFIDAVIT OF NON-RESPONSE
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Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Jeanette Jacqueline O’Donnell, Acting as JEANETTE JACQUELINE O’DONNELL ATTORNEY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/ot Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNBY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
{08057}; and .

Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

William M.E. Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William M.E. Powers, Jr., Acting as WILLIAM M.E. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

William M.E. Powers, ITI, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

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AFFIDAVIT OF NON-RESPONSE
Private Case Number: RE 327 506 200 US

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Prihce Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M. BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
19103); and

Catherine T. Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael J. Bassett, Acting as MICHAEL J. BASSETT ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ‘

Ryant T. Becker, Acting as RYAN T. BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brian A, Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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AFFIDAVIT OF NON-RESPONSE
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Brétt A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael S. Bookbinder, Acting as MICHAEL S, BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buehter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Manra L. Burke, Acting as MAURA L, BURKE ATTORNEY, and Agent for WELLS FARGO BANK, NLA,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ‘

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David H, Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

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lan‘M. Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, JR, ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103}; and

David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and ,

Jean A, Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ‘

Andrew S. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Matket Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Tristram R. Fall, HY, Acting as TRISTRAM R. FALL, II] ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L. Finger, Acting as CRAIG L. FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and :

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Barbara R. Flacker, Acting as BARBARA R. FLACKER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and :

Howard R, Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

’ David M, Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Kdward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John L. Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania {19103}; and

Debra L. Gruenstein, Acting as DEBRA L, GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robert W. Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" R loor,
Philadelphia, Pennsylvania [19103]; and

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jesse M, Harris, Acting as ESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

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Dytan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J, HAYES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103); and

Gary A, Hecht, Acting as GARY A. HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Gabriel B. Herman, Acting as GABRIEL B, HERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20“ Floor, Philadelphia,
Pennsylvania [19103]; and

Kelley B. Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

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Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J, Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B. Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and-

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J, Leonard, Acting as MICHAEL J, LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20"" Floor, Philadelphia,
Pennsylvania [19103]; and .

Olufunke O. Leroy, Acting as OLUFUNKE O, LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jane E. Lessner, Acting as JANE E. LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

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Brian J. Levin, Acting as BRIAN J, LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor; Philadelphia,
Pennsylvania [19103]; and

Sidney S, Liebesman, Acting as SIDNEY 8S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K, Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

James A. Matthews III, Acting as JAMES A. MATTHEWS Ili ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floar,
Philadelphia, Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Lauren P. McKenna, Acting as LAUREN P, MCKENNA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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AFFIDAVIT OF NON-RESPONSE
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lait D. Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael G. Menkowitz, Acting as MICHAEL G. MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" F loot, Philadelphia,
Pennsylvania [19103]; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO
_BANK,N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and:

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Carrie B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ramon R. Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D. OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian J. O’Neill, Acting as BRIAN J. O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Joseph F, Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Eric E. Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and . .

Abraham C. Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A, and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103];-and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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BrAdley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and :

Michelle S. Rosenberg, Acting as MICHELLE S, ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, {n care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20” Floor, Philadelphia,
Pennsylvania [19103]; and

Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD J. SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Silow, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David B. Snyder, Acting:as DAVID B, SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

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_ Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

William H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stein, Acting as TRISHA B, STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and . °

Robert S. Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter I Tucci, Acting as PETER J. TUCC] ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for: WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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. Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A: and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Beth L. Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gregory B, Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L. Williams, Acting as RONALD L, WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and.

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
- 999 Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [19422]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N, Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and
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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
321 North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2501 North Harwood Street, Suite 1800, Dallas, Texas [75201]; and +

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1225 17" Street, Suite 2200, Denver, Colorado [80202]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
747 Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
230 North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and ,

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [55402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
101 Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
BNY Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
434 Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1001 Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and
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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
8300 Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2700 Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and °

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1030 15" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and -

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
777 South 1700 West Tower, West Palm Beach, Florida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
919 North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and:

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT,
CHIEF FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S, Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent
for WELLS FARGO BANK, N.A.,, and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION
and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]: and

David C, Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

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Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104);and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Scott Ef, Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Julie L. Scammahorn, Acting as JULIE t SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN,
SENIOR EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Michael S, Weinbach, Acting as MICHAEL $. WEINBACH, SENIOR EVP, CEO OF CONSUMER
LENDING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G. WEISS, SENIOR EVP, CEO OF CORPORATE &
INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; and

EXPERIAN CORPORATION; and

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‘ AFFIDAVIT OF NON-RESPONSE
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TRANSUNION CORPORATION; and
JOHN OR JANE DOES 1-50;
JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

In care of:

Ne ce a ag

2285 Bryn Mawr Avenue, Philadelphia Pennsylvania [19131] Nepsesloge 10 Rene

SENT VIA REGISTERED MAIL; RE 327 506 227 US; RE 327 506 235 US; and RE 327 506 244 US

Sent via FEDEX
Sent via USPS Certified Mail Number

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Never bac 19, Qoene Bu: slags tou Sect oO :
Date Tarani-Alike: Johnson, a Living V bmg)
Agent for TARANI ALIKE {Of SS 5 aR.

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Ot epraraasto™ we

Verification and Acknowledgement

United States of America ):
Commonwealth of Pennsylvania ) Sa.
Philadelphia County )

Subscribed and sworn (or affirmed) before me on this IO day of November, 2020.
By: :Tarani-Alike: Johnson:
Personally known to me.

Witness 1 Witness 2

+ WRivd

es IGAl
(name and adavess of witness)“

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AFFIDAVIT OF NON-RESPONSE
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‘ JURAT

A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not thé truthfulness, accuracy, or validity of

that document,

Commonwealth of Pennsylvania

County of Delaware
Subsoribed and sworn to (or affirmed) before me on this io” day of Al Warmer, Q@2AO by
ike: Johnson: proved to me on the basis of satisfactory evidence to be the person(s) who
appeared before me.
SS my han

lotary a the Commonwealth of Pennsylvania

My commission expires: 31, D0 Bon 7

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sR ae
sy Conveioen beoire hath 21, 2002
Corinission Number 1053343

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EVIDENCE

ATTACHMENT
E

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Nests e \ d» , B20

AFFIDAVIT OF NON-PERFORMANCE

Notice to Agent is Notice to Principal
Notice to Principal is Notice to Agent

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SENT VIA REGISTERED MAIL; RE 327 506 227 US; RE 327 506 235 US; and RE 327 506 244 US
SENT VIA FED EX

SENT VIA USPS CERTIFIED MAIL RECEIPT

On this 10" day of November 2020, for the purpose of verification, i, :Tarani-Alike: Johnson:, do certify
that I am of legal age, of sound mind, will testify to the veracity of my statements, and have NOT
received PERFORMANCE from Harry Burnett Reese, Acting as HARRY BURNETT REESE
ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns; AND Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, AND Prince Altee Thomas, Acting
as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns; AND Martha B. Chovanes, Acting as MARTHA B.
CHOVANES ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or Agents, Successors,
and/or Assigns; AND

ALL Agents for POWERS KIRN & ASSOCIATES LLC, and/or Successors, and/or Assigns; AND
ALL Agents for WELLS FARGO BANK, N.A., and/or Successors, and/or Assigns; AND

ALL Agents for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Successors, and/or

Assigns;

regarding the rebuttal of the CONSTRUCTIVE NOTICE OF CONDITIONAL ACCEPTANCE and
attached COMMERCIAL AFFIDAVIT by a real party of Respondents; labeled herein as

Private Case No. RE 327 506 200 US; on a point-by-point basis, via sworn affidavit, under
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Respondent’s full and unlimited commercial liability, signing under penalty of perjury, that the facts
contained therein are true, correct, complete and not misleading, OR refund of tender in full in the
adjusted amount of on One-million and zero cents ($1,000,000,000US) sent via Registered Mail RE
327463 756 US on or about April 12, 2018; and refund of tender in full in the adjusted amount of on one
million and zero cents ($1,000,000,000US) sent via Registered Mail RE 475 578147 US on or about

April 27, 2018; and refund of tender in full in the adjusted amount of on One-million and zero cents
($1,000,000,000US) sent via Registered Mail RE 327 506 160 US on September 21, 2020, OR

conveyance of title.

Such document described above referenced by Private Case Number: RE 327 506 200 US was sent
along with a true certified copy of NOTICE OF FAULT and OPPORTUNITY TO CURE dated
October 26, 2020; true certified copy of AFFIDAVIT OF NON-PERFORMANCE dated October 26,
2020; true certified copy of AFFIDAVIT OF NON-RESPONSE dated October 26, 2020, Copy of
Proof of the CONSTRUCTIVE NOTICE OF CONDITONAL ACCEPTANCE with
COMMERCIAL AFFIDAVIT and FEE SCHEDULE; and true certified copy of FOX
ROTHSCHILD LLP ‘s INSUFFICIENT RESPONSE dated October 19, 2020 via FEDEX
PRIORITY OVERNIGHT delivery No. 398400946049, 398401054737, and 398401207120; and USPS
Certified Mail Number(s) 7020 1290 0000 6327 2568, and 7020 1290 0000 6327 2582, 7020 1290 0000
6327 2575 on October 30, 2020 to:

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO

BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Harry B. Reese, Acting as HARRY B, REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Sarah E. Powers, Acting as SARAH E. POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose,
Pennsylvania [19053]; and

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AFFIDAVIT OF NON-PERFORMANCE
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William M.E. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Edward W. Kirn, II, Acting as EDWARD W. KIRN, II] ATTORNEY, and Agent for WELLS FARGO BANK,
N.A,, and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville
Trevose, Pennsylvania [19053]; and ,

Sarah K. McCaffery, Acting as SARAH K, MCCAFFERY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Jolanta M. Pekalska, Acting as JOLANTA M. PEKALSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215,
Feasterville Trevose, Pennsylvania [19053]; and

Matthew James Mcdonnell, Acting as MATTHEW JAMES MCDONNELL ATTORNEY, and Agent for .
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 8 Neshaminy Interplex,
Suite 215, Feasterville Trevose, Pennsylvania [19053]; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Feasterville Trevose, Pennsylvania, and/or
Successors, and/or Assigns, In care of 8 Neshaminy Interplex, Suite 215, Feasterville Trevose, Pennsylvania
{19053]; and .

Harry Burnett Reese, Acting as HARRY BURNETT REESE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Harry B. Reese, Acting as HARRY B. REESE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
_and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Angela C Pattison, Acting as ANGELA C PATTISON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

‘Edward Kirn, Acting as EDWARD KIRN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Edward W. Kirn, III, Acting as EDWARD W. KIRN, III ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
{08057]; and

Frances M Kelly, Acting as FRANCES M KELLY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

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Jeanette Jacqueline O’Donnell, Acting as JEANETTE JACQUELINE O'DONNELL ATTORNEY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway
Moorestown, New Jersey [08057]; and

Jill Manuel-Coughlin, Acting as JILL MANUEL-COUGHLIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

Mathew James Forrester, Acting as MATHEW JAMES FORRESTER ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

Sarah Ellis Powers, Acting as SARAH ELLIS POWERS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
[08057]; and

Sarah Powers, Acting as SARAH POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

William Me Shah, Acting as WILLIAM ME SHAH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey
(08057); and

William MLE, Powers, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William M.E. Powers, Jr., Acting as WILLIAM M.E. POWERS, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown,
New Jersey [08057]; and

William M.E. Powers, III, Acting as WILLIAM M.E. POWERS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A., and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New
Jersey [08057]; and

William Powers, Acting as WILLIAM POWERS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057}; and

ALL AGENTS for POWERS KIRN & ASSOCIATES LLC at Moorestown, New Jersey, and/or Successors,
and/or Assigns, In care of 728 Marne Highway Moorestown, New Jersey [08057]; and

Prince Altee Thomas, Acting as PRINCE ALTEE THOMAS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Gerald W. Arth, Acting as GERALD E. ARTH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jerald David August, Acting as JERALD DAVID AUGUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott M. Badami, Acting as SCOTT M, BADAMI ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ahmed Bahgat, Acting as AHMED BAHGAT ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Catherine T, Barbieri, Acting as CATHERINE T. BARBIERI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Alexis Barron, Acting as ALEXIS BARRON ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and |

Michael J, Bassett, Acting as MICHAEL J. BASSETT ATTORNBY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and f

Herbert Bass, Acting as HERBERT BASS ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ryant T, Becker, Acting as RYAN T. BECKER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Brian A. Berkley, Acting as BRIAN A. BERKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Brett A. Berman, Acting as BRETT A. BERMAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Mithael S. Bookbinder, Acting as MICHAEL S. BOOKBINDER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Nathan M. Buchter, Acting as NATHAN M. BUCHTER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Peter C. Buckley, Acting as PETER C. BUCKLEY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Maura L. Burke, Acting as MAURA L, BURKE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Kristina Neff Burland, Acting as KRISTINA NEFF BURLAND ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jacqueline M. Carolan, Acting as JACQUELINE M. CAROLAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania: [19103]; and

Frank T. Carroll, Acting as FRANK T. CARROLL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Martha B. Chovanes, Acting as MARTHA B. CHOVANES ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Stephen M. Cohen, Acting as STEPHEN M. COHEN ATTORNEY, and Agent for WELLS FARGO BANK,

-N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

Pennsylvania [19103]; and

David H. Colvin, Acting as DAVID H. COLVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ian M. Comisky, Acting as IAN M. COMISKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Andrew S. Console, Acting as ANDREW S. CONSOLE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Siana Danch, Acting as SANA DANCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

E. Gerald Donnelly, Jr., Acting as E. GERALD DONNELLY, J R. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David A. Doty, Acting as DAVID A. DOTY ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and :

Jean A. Durling, Acting as JEAN A. DURLING ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Patrick J. Egan, Acting as PATRICK J. EGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Michael Eidel, Acting as MICHAEL EIDEL ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and :

Andrew S§. Esler, Acting as ANDREW S. ESLER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Tristram R. Fall, I, Acting as TRISTRAM R. FALL, II ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Craig L. Finger, Acting as CRAIG L, FINGER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.

- and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania

{19103}; and

Barbara R. Flacker, Acting as BARBARA R, FLACKER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Howard R. Flaxman, Acting as HOWARD R. FLAXMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John Cornell Fuller, Acting as JOHN CORNELL FULLER ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Eleanor Vaida Gerhards, Acting as ELEANOR VAIDA GERHARDS ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

David M, Giles, Acting as DAVID M. GILES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Edward Gillespie, Acting as EDWARD GILLESPIE ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

John L. Grossman, Acting as JOHN L. GROSSMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Debra L. Gruenstein, Acting as DEBRA L. GRUENSTEIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and ,

Robert W: Gundlach Jr., Acting as ROBERT W. GUNDLACH JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Johns J. Haggerty, Acting as JOHN J. HAGGERTY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,

~ Pennsylvania [19103]; and

Jesse M. Harris, Acting as JESSE M. HARRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Dylan T. Hastings, Acting as DYLAN T. HASTINGS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

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Gerald M. Hatfield, Acting as GERALD M. HATFIELD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J. Hayes, Acting as EDWARD J. HAYES ATTORNEY, and'Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gary A, Hecht, Acting as GARY A. HECHT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Gabriel B. Herman, Acting as GABRIEL B. HERMAN ATTORNEY, and Agent for WELLS FARGO BANK, .
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Philip L. Hinerman, Acting as PHILIP L. HINERMAN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kelley B. Hodge, Acting as KELLEY B. HODGE ATTORNEY, and Agent for WELLS FARGO BANK, NAL
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and .

Joshua Horn, Acting as JOSHUA HORN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nathan Huddel, Acting as NATHAN HUDDELL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103}; and

Theodore H. Jobes, Acting as THEODORE H. JOBES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Edward J, Kabala, Acting as EDWARD J. KABALA ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Odia Kagan, Acting as ODIA KAGAN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Stephen H. Kalis, Acting as STEPHEN H. KALIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jessica Labella Kitain, Acting as JESSICA LABELLA KITAIN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successot's, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Gregory J. Kleiber, Acting as GREGORY J. KLEIBER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20° Floor, Philadelphia,
Pennsylvania [19103]; and

Michael J. Kornacki, Acting as MICHAEL J. KORNACKI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Lisa B. Lane, Acting as LISA B. LANE ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Mathew D. Lee, Acting as MATTHEW D. LEE ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and ,

Holly Lentz Kleeman, Acting as HOLLY LENTZ KLEEMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" F loor, Philadelphia,
Pennsylvania [19103]; and

Michael J. Leonard, Acting as MICHAEL J. LEONARD ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Olufunke O. Leroy, Acting as OLUFUNKE O. LEROY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Jane E, Lessner, Acting as JANE E, LESSNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Brian J. Levin, Acting as BRIAN J. LEVIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Matthew A. Levitsky, Acting as MATTHEW A. LEVITSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sidney S. Liebesman, Acting as SIDNEY S. LIEBESMAN ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Steven K. Ludwig, Acting as STEVEN K. LUDWIG ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Andrew M. Macdonald, Acting as ANDREW M. MACDONALD ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Jason C. Manfrey, Acting as JASON C. MANFREY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

Robin B. Matlin, Acting as ROBIN B. MATLIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and .

James A. Matthews III, Acting as JAMES A. MATTHEWS II] ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and

Mark G. McCreary, Acting as MARK G. MCCREARY, CIPP/US ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Brian McGinnis, Acting as BRIAN MCGINNIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Lauren P. McKenna, Acting as LAUREN P, MCKENNA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Jan D. Meklinsky, Acting as IAN D. MEKLINSKY ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Michael G. Menkowitz, Acting as MICHAEL G, MENKOWITZ ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ryan North Miller, Acting as RYAN NORTH MILLER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Sarah K. Minteer, Acting as SARAH K. MINTEER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Catherine M. Monte, Acting as CATHERINE M. MONTE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Morris, Acting as MARK L. MORRIS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Sanford K. Mozes, Acting as SANFORD K. MOZES ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Carrie B. Nase-Poust, Acting as CARRIE B. NASE-POUST ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Marc E. Needles, Acting as MARC E. NEEDLES ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Ramon R, Obod, Acting as RAMON R. OBOD ATTORNEY, and Agent fot WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

Jay G. Ochroch, Acting as JAY G. OCHROCH ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20” Floor, Philadelphia, Pennsylvania
[19103]; and

Christopher D. Olszyk, Jr., Acting as CHRISTOPHER D, OLSZYK, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

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Brian J. O'Neill, Acting as BRIAN J. O’NEILL ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103]; and

Thomas D. Paradise, Acting as THOMAS D. PARADISE ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania {19103}; and

Joseph F. Posillico, Acting as JOSEPH F. POSILLICO ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David S. Rasner, Acting as DAVID S. RASNER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Eric E. Reed, Acting as ERIC E. REED ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Abraham C. Reich, Acting as ABRAHAM C. REICH ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Dan Reitter, Acting as DAN REITER ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and ,

Stephanie Resnick, Acting as STEPHANIE RESNICK ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Kristen Poetzel Ricci, Acting as KRISTEN POETZEL RICCI ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Michael Rinehart, Acting as MICHAEL RINEHART ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Bradley S. Rodos, Acting as BRADLEY S. RODOS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

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Michelle S. Rosenberg, Acting as MICHELLE S. ROSENBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Barnett Satinsky, Acting as BARNETT SATINSKY ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Magdalena Schardt, Acting as MAGDALENA SCHARDT ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsyivania [19103]; and

Kevin B. Scott, Acting as KEVIN B. SCOTT ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Jacqueline G. Segal, Acting as JACQUELINE G. SEGAL ATTORNEY, and Agent for WELLS FARGO
BANK, N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald J. Shaffer, Acting as RONALD IJ. ‘SHAFFER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Mark L. Silow, Acting as MARK L. SILOW ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Nevena Simidjiuska, Acting as NEVENA SIMIDJIUSKA ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

David B. Snyder, Acting as DAVID B. SNYDER ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

David S. Sokolow, Acting as DAVID S. SOKOLOW ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Shelly A. Solomon, Acting as SHELLY A. SOLOMON ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20 Floor, Philadelphia,
Pennsylvania [19103]; and

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Wiliam H. Stassen, Acting as WILLIAM H. STASSEN ATTORNEY, and Agent for WELLS FARGO BANK,
N.A, and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Trisha B. Stein, Acting as TRISHA B. STEIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
{19103}; and

Paul Straub, Acting as PAUL STRAUB ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

John J. Stubbs, Acting as JOHN J. STUBBS ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Julia Swain, Acting as JULIA SWAIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A., and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
119103]; and

Michael L. Temin, Acting as MICHAEL L. TEMIN ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
(19103); and

Robert S. Tintner, Acting as ROBERT S. TINTNER ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and ,

Craig R. Tractenberg, Acting as CRAIG R. TRACTENBERG ATTORNBY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103}; and ,

Peter J, Tucci, Acting as PETER J. TUCCI ATTORNEY, and Agent for WELLS FARGO BANK, N.A. and/or
Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Michael K. Twersky, Acting as MICHAEL K. TWERSKY ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Scott L. Vernick, Acting as SCOTT L. VERNICK ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania .
{19103}; and

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Michael J. Viscount, Jr., Acting as MICHAEL J. VISCOUNT, JR. ATTORNEY, and Agent for WELLS
FARGO BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor,
Philadelphia, Pennsylvania [19103]; and

Marvin L. Weinberg, Acting as MARVIN L. WEINBERG ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Beth L. Weisser, Acting as BETH L. WEISSER ATTORNEY, and Agent for WELLS FARGO BANK, N.A,
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20"" Floor, Philadelphia, Pennsylvania
[19103]; and

Stephen P. Weiss, Acting as STEPHEN P. WEISS ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

Gregory B. Williams, Acting as GREGORY B. WILLIAMS ATTORNEY, and Agent for WELLS FARGO
BANK, N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania [19103]; and

Ronald L. Williams, Acting as RONALD L. WILLIAMS ATTORNEY, and Agent for WELLS FARGO BANK,
N.A. and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia,
Pennsylvania.[19103]; and

Adam R. Young, Acting as ADAM R. YOUNG ATTORNEY, and Agent for WELLS FARGO BANK, N.A.
and/or Agents, Successors, and/or Assigns, In care of 2000 Market Street, 20" Floor, Philadelphia, Pennsylvania
[19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, and/or Assigns, In care of 2000 Market
Street, 20" Floor, Philadelphia, Pennsylvania [19103]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
999 Peachtree Street NE, Suite 1500, Atlanta Georgia [30309]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 1301 Atlantic Avenue Midtown Building, Suite 400, Atlantic City, New Jersey [08401}; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns and/or
Assigns, In care of 10 Sentry Parkway, Suite 200, Post Office Box 3001, Blue Bell, Pennsylvania [1 9422); and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of YS
AT LAW, and/or Assigns, In care of 101 N. Tryon Street, Suite 1300, Charlotte, North Carolina [28246]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
321 North Clark Street, Suite 1600, Chicago, Illinois [60654]; and

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ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2501 North Harwood Street, Suite 1800, Dallas, Texas [75201]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1225 17" Street, Suite 2200, Denver, Colorado [80202]; and ’

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
747 Constitution Drive, Suite 100, Post Office Box 673, Exton, Pennsylvania [19341]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
230 North Elm Street, Suite 1200, Greensboro, North Carolina [27401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 2
West Washington Street, Suite 110, Greenville, South Carolina [29601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Summerlin Office Building, 1980 Festival Plaza Drive, Suite 700, Las Vegas, Nevada [89135]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
10250 Constellation Boulevard, Suite 900, Los Angeles, California [ 90067]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
One Biscayne Tower, 2 South Biscayne Boulevard, Suite 2750, Miami, Florida [33131]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Campbell Mithun Tower, 222 South Ninth Street, Suite 2000, Minneapolis Minnesota [85402]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of 49
Market Street, Morristown, New Jersey [07960]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
101 Park Avenue, 17" Floor, New York, New York [10178]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
BNY Mellon Center, 500 Grant Street, Suite 2500, Pittsburgh Pennsylvania [15219]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
Princeton Pike Corporate Center 997 Lenox Drive, Lawrenceville, New Jersey [08648]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
434 Fayetteville Street, Suite 2800, Raleigh, North Carolina [27601]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1001 Fourth Avenue, Suite 4500, Seattle Washington, [98154]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
8300 Greensboro Drive, Suite 1000, Tysons Virginia, [22102]; and
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ALI AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
2700 Kelly Road, Suite 300, Warrington, Pennsylvania [18976]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
1030 15" Street North West, Suite 380 East, Washington, District of Columbia [20005]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
777 South 1700 West Tower, West Palm Beach, Florida [33401]; and

ALL AGENTS for FOX ROTHCHILD, LLP ATTORNEYS AT LAW, Successors, and/or Assigns, In care of
919 North Market Street, Suite 300, Post Office Box 2323, Wilmington, Delaware [19899]; and

Charles W. Scharf, Acting as CHARLES W. SCHARF, CHIEF EXECUTIVE OFFICER, PRESIDENT, and
Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EXECUTIVE VICE PRESIDENT, CHIEF
OPERATING OFFICE, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

John R. Shrewsberry, Acting as JOHN R. SHREWSBERRY, SENIOR EXECUTIVE VICE PRESIDENT,
CHIEF FINANCIAL OFFICER, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Muneera S, Carr, Acting as MUNEERA S. CARR, EVP, CHIEF ACCOUNTING OFFICER, CONTROLLER,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California (94104); and

William M. Daley, Acting as WILLIAM M. DALEY, VICE CHAIRMAN OF PUBLIC AFFAIRS, and Agent
for WELLS FARGO BANK, N.A.., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Derek A. Flowers, Acting as DEREK A. FLOWERS, SENIOR EVP, HEAD OF STRATEGIC EXECUTION
and OPERATIONS, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104}: and

David C. Gallorees, Acting as DAVID C. GALLOREES, SENIOR EVP, HEAD OF HUMAN RESOURCES,
and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

Mary T. Mack, Acting as MARY T. MACK, SENIOR EVP, CEO OF CONSUMER & SMALL BUSINESS
BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

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Amanda G. Norton, Acting as AMANDA G. NORTON, SENIOR EVP, CHIEF RISK OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Lester J. Owens, Acting as LESTER J. OWENS, SENIOR EVP, HEAD OF OPERATIONS, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104];and

Ellen R. Patterson, Acting as ELLEN R. PATTERSON, SENIOR EVP, GENERAL COUNSEL, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Perry G. Pelos, Acting as PERRY G. PELOS, SENIOR EVP, CEO OF COMMERCIAL BANKING, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Scott E. Powell, Acting as SCOTT E. POWELL, SENIOR EVP, CHIEF OPERATING OFFICER, and Agent for
WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery Street,
San Francisco, California [94104]; and

Julie L. Scammahorn, Acting as JULIE L. SCAMMAHORN, ACTING AS JULIE L. SCAMMAHORN,
SENIOR EVP, CHIEF AUDITOR, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors,
and/or Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

Barry Sommers, Acting as BARRY SOMMERS, SENIOR EVP, CEO OF WEALTH & INVESTMENT
MANAGEMENT, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In
Care of 420 Montgomery Street, San Francisco, California [94104]; and

Saul Van Beurden, Acting as SAUL VAN BEURDEN, SENIOR EVP, HEAD OF TECHNOLOGY, and Agent
for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420 Montgomery
Street, San Francisco, California [94104]; and

Michael S. Weinbach, Acting as MICHAEL S. WEINBACH, SENIOR EVP, CEO OF CONSUMER
LENDING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of
420 Montgomery Street, San Francisco, California [94104]; and

Jonathan G. Weiss, Acting as JONATHAN G, WEISS, SENIOR EVP, CEO OF CORPORATE &
INVESTMENT BANKING, and Agent for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or
Assigns, In Care of 420 Montgomery Street, San Francisco, California [94104]; and

ALL AGENTS for WELLS FARGO BANK, N.A., and/or Agents, Successors, and/or Assigns, In Care of 420
Montgomery Street, San Francisco, California [94104]; and

EQUIFAX CORPORATION; and

EXPERIAN CORPORATION; and

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AFFIDAVIT OF NON-PERFORMANCE
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TRANSUNION CORPORATION; and
JOHN OR JANE DOES 1-50;

JOINTLY AND SEVERALLY, CORPORATELY AND PERSONALLY;

In care of:

2285 Bryn Mawr Avenue, Philadelphia Pennsylvania [19131]

Nowwnbee U3 A638

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SENT VIA REGISTERED MAIL; RE 327 506 227 US; RE 327 506 235 US; and RE 327 506 244 US

Sent via FEDEX
Sent via USPS Certified Mail Number

Neowembec loth Dd odr% ef vas vn
Date ig: 3
Agent for TARANI i SOHNSON £
a * <
Verification and Acknowledgement al oe
United States of America ) -
Commonwealth of Pennsylvania ) 8. a.
Philadelphia County )

Subscribed and sworn (or affirmed) before me on this _{ g day of November, 2020.
By: :Tarani-Alike: Johnson:

‘Personally known to me.

Witness 1

at

co. Corake TX

(name and address of witness) , \ins a (name and address of witness)

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AFFIDAVIT OF NON- PERFORMANCE
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A notary public or other officer completing this certificate verifies only the identity of the individual who
signed the document to which this certificate is attached, and not the truthfulness, accuracy, or validity of
that document.

Commonwealth of Pennsylvania

County of Delaware
Subscribed and swom to (or affirmed) before me on this {9 Mey of Ne wernber 5 QO __ by
i-Alike: on: Proved to me on the basis of satisfactory evidence to be the person(s) who
append before me,
SS my hand and

My commission expires: oH 20 Bon <

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SHERRY A. FUER, Beary

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Comneniasion Number 1089043

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